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                            UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NORTH DAKOTA


In Re:                                                    Case No.: 17-30112

                                                          Chapter 11
Vanity Shop of Grand Forks, Inc.,

                      Debtor.


             DEBTOR’S SECOND PLAN OF LIQUIDATION DATED APRIL 9, 2018


                                              ARTICLE I.
                                              SUMMARY

       Vanity Shop of Grand Forks, Inc. (“Debtor”), debtor-in-possession in the above-captioned
Chapter 11 case, hereby proposes the following Chapter 11 plan of liquidation pursuant to the provisions
of Chapter 11 of the Bankruptcy Code.

       For a discussion of the Debtor’s history, business, property, and a summary and analysis of the
Plan, stakeholders of the Debtor should review the Disclosure Statement filed with the Bankruptcy
Court to which the Plan is attached. ALL CLAIMHOLDERS AND INTERESTHOLDERS ARE
ENCOURAGED TO READ THE PLAN AND THE DISCLOSURE STATEMENT IN THEIR
ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE PLAN.

        The Plan provides for the wind down of the Debtor’s affairs, continued liquidation and
conversion of all of the Debtor’s remaining assets and the distribution of the net proceeds realized to
creditors holding Allowed Claims in accordance with the relative priorities established in the
Bankruptcy Code. The Plan does not provide for a distribution to holders of Equity Interests, and their
votes are not being solicited. The Plan contemplates the appointment of a Plan Administrator to, among
other things, finalize the wind down of the Debtor’s affairs, resolve Disputed Claims, pursue any Causes
of Action, implement the terms of the Plan and make Distributions to holders of Allowed Claims. This
Plan also provides for the payment of Administrative Claims in full on the Effective Date of the Plan or
pursuant to agreement with the claimant.

        The Debtor expressly reserves its right to alter, amend or modify the Plan, one or more times,
before its substantial consummation, subject to the restrictions on modification set forth in section 1127
of the Bankruptcy Code and Bankruptcy Rule 3019 and as otherwise set forth in this Plan.

                                             ARTICLE II.
                                            DEFINITIONS

       2.1    Scope of definitions and rules of construction. For purposes of the Plan, except as
expressly provided or unless the context otherwise requires:
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         a.    all Defined Terms shall have the meanings ascribed to them in Section 2.2 of the Plan;

         b.    any term used in the Plan that is not a Defined Term, but that is used in the Bankruptcy
               Code or Bankruptcy Rules has the meaning assigned to such term in the Bankruptcy
               Code or Bankruptcy Rules, as applicable, unless the context requires otherwise;

         c.    whenever the context requires, terms shall include the plural as well as the singular
               number, the masculine gender shall include the feminine, and the feminine gender shall
               include the masculine;

         d.    any reference in the Plan to an existing document, instrument, or exhibit means such
               document, instrument, or exhibit as it may be amended, modified, or supplemented from
               time to time;

         e.    any reference to a specific Person includes any successors or assigns of such Person, and
               all rights, benefits, interests, and obligations of any Person named or referred to in the
               Plan shall be binding on, and shall inure to the benefit of, any heir, executor,
               administrator, trustee, liquidator, rehabilitator, conservator, successor, or assign of such
               Person;

         f.    unless otherwise indicated, the phrase “under the Plan” and similar words or phrases refer
               to the Plan in its entirety rather than to only a particular portion of the Plan;

         g.    whenever the Plan uses the word “including,” such reference shall be deemed to mean
               “including, without limitation,”;

         h.    captions and headings to articles and sections are inserted for convenience of reference
               only and are not intended to be a part of or to affect the interpretation of the Plan;

         i.    whenever the Plan provides that a document or thing must be “acceptable” or
               “satisfactory” to any Person, such requirement shall in each case be subject to a
               reasonableness qualifier;

         j.    the definition given to any term or provision in the Plan supersedes and controls any
               different meaning that may be given to that term or provision in the Disclosure
               Statement, on any Ballot, or in any other document; and

         k.    all other rules of construction set forth in Bankruptcy Code section 102 and in the
               Bankruptcy Rules shall apply; and

         l.    unless otherwise expressly provided herein, in computing any period of time prescribed
               or allowed by the Plan, the provisions of Bankruptcy Rule 9006(a) shall apply.

         2.2   Definitions. The following Defined Terms shall have the respective meanings specified
below.

       2.201 “Administrative Claim” means a claim for payment of an administrative expense of a
kind specified in section 503(b) of the Bankruptcy Code and entitled to priority pursuant to section


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507(a)(1) of the Bankruptcy Code, including, but not limited to, (a) the actual, necessary costs and
expenses, incurred after the Petition Date, of preserving the Estate and operating the businesses of the
Debtor, including wages, salaries or commissions for services rendered after the commencement of the
Chapter 11 case, (b) Professional Fee Claims, and (c) all fees and charges assessed against the Estate
under chapter 123 of title 28, United States Code.

       2.202 “Administrative Claim Bar Date” means the first Business Day that is thirty (30)
calendar days after the Effective Date.

       2.203 “Administrative Tax Claim” means a claim for any tax of a kind specified in section
503(b)(1)(B) and (C) of the Bankruptcy Code and entitled to priority pursuant to section 507(a)(1) of the
Bankruptcy Code.

        2.204 “Allowed Claim” means a Claim or any portion thereof (a) that has been allowed by a
Final Order, or (b) as to which, on or by the Effective Date, (i) no proof of claim has been filed with the
Bankruptcy Court and (ii) the liquidated and noncontingent amount of which is scheduled, other than a
Claim that is scheduled in an unknown amount or as disputed, or (c) for which a proof of claim in a
liquidated amount has been timely filed with the Bankruptcy Court pursuant to the Bankruptcy Code,
any Final Order of the Bankruptcy Court or other applicable bankruptcy law, and as to which either
(i) no objection to its allowance has been filed within the periods of limitation fixed by the Plan, the
Bankruptcy Code or by any order of the Bankruptcy Court or (ii) any objection to its allowance has been
settled or withdrawn, or has been denied by a Final Order, or (d) that is expressly allowed in a liquidated
amount in the Plan. The amount of an Allowed Claim shall be the lesser of the amount stated in a proof
of claim filed for such Claim (if less than the amount scheduled for such Claim), the amount agreed to in
a written settlement, or the amount allowed by a Final Order. All Distributions on account of an
Allowed Claim will be made to the Claimholder of record on the Record Date.

       2.205 “Avoidance Actions” means, unless otherwise released under a prior Order of the
Bankruptcy Court or under the Plan, Causes of Action against Persons arising under sections 502, 510,
541, 542, 544, 545, 547, 548, 549, 550, 551 and 553 of the Bankruptcy Code, or under related state or
federal statutes and common law, including fraudulent transfer laws, whether or not litigation is
commenced to prosecute such Avoidance Actions.

        2.206 “Ballot” means the ballot form(s) that are distributed with the Disclosure Statement to
Claimholders with Claims in Classes that are impaired under the Plan and entitled to vote under
Articles III and V hereof in connection with the solicitation of acceptances of the Plan.

       2.207 “Bar Date” means the date or dates established by the Bankruptcy Court and/or
Bankruptcy Rule 3002 by which Proofs of Claim must be filed. The general bar date for proofs of claims
was July 3, 2017 for most creditors and governmental entities.

       2.208 “Business Day” means any day, excluding Saturdays, Sundays and legal holidays, on
which commercial banks are open for business in Fargo, North Dakota.

       2.209 “Causes of Action” means, unless otherwise released under a prior Order of the
Bankruptcy Court or under the Plan, any and all actions, causes of action, suits, accounts, controversies,
agreements, promises, rights (including rights to legal remedies, equitable remedies, and payment),
claims, cross claims, third-party claims, interests, damages, debts, judgments, demands, obligations,


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liabilities, defenses, offsets, powers, privileges, licenses, liens, indemnities, guaranties, and franchises of
any kind or character whatsoever, whether known, unknown, foreseen, unforeseen, existing, hereinafter
arising, reduced to judgment, not reduced to judgment, liquidated, unliquidated, fixed, contingent, non-
contingent, matured, unmatured, suspected, unsuspected, disputed, undisputed, secured, or unsecured,
and whether asserted or assertable directly or derivatively, arising before, on, or after the Petition Date,
in contract, tort, law, equity, or pursuant to any other theory of law or otherwise. Causes of Action also
include: (a) any rights of setoff, counterclaim, or recoupment and any claims under contracts or for
breaches of duties imposed by law or in equity; (b) the right to object to or otherwise contest Claims or
Equity Interests; (c) claims pursuant to section 362 or Chapter 5 of the Bankruptcy Code; (d) any claims
or defenses, including fraud, mistake, duress, and usury, and any other defenses set forth in section 558
of the Bankruptcy Code; and (e) any state law fraudulent transfer claim. For the avoidance of doubt, all
Avoidance Actions and Preserved Claims are Causes of Action.

       2.210 “Claim” means a claim against the Debtor, whether or not asserted, as defined in section
101(5) of the Bankruptcy Code.

       2.211 “Claim Objection Deadline” means the date that is the first Business Day that is at least
180 calendar days after the Effective Date. For the avoidance of doubt, the Claim Objection Deadline
may be extended one or more times by the Bankruptcy Court.

       2.212 “Claims Agent” means Kurtzman Carson Consultants, LLC, the claims and noticing
agent of the Debtor.

       2.213 “Claimholder” means a holder of a Claim.

       2.214 “Claims Reserve” means remaining cash funds and Revested Assets held by the Plan
Administrator after payment in full of all Plan Administration Expenses, Allowed Administrative
Claims (including Professional Fee Claims and Administrative Tax Claims), Allowed Priority Tax
Claims, Allowed Claims in Class 2, and the First Interim Distribution to Class 3.

       2.215 “Class” means a category of Claimholders or Interestholders described in Article III and
V of the Plan.

       2.216 “Confirmation Date” means the date of entry of the Confirmation Order.

       2.217 “Confirmation Hearing” means the hearing before the Bankruptcy Court on
confirmation of the Plan and related matters under section 1128 of the Bankruptcy Code.

       2.218 “Confirmation Hearing Notice” means the notice of, among other things, the time for
submitting Ballots to accept or reject the Plan, the date, time and place of the Confirmation Hearing and
the time for filing objections to the confirmation of the Plan.

        2.219 “Confirmation Order” means the order entered by the Bankruptcy Court confirming in
all respects all of the provisions, terms and conditions of this Plan.

        2.220 “Creditors’ Committee” means the Official Committee of Unsecured Creditors
consisting of the Persons appointed to such Committee in the Chapter 11 case pursuant to section
1102(a) of the Bankruptcy Code and their appointed successors, as amended from time to time.


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       2.221 “Disallowed Claim” means a Claim, or any portion thereof, that (a) has been disallowed
by a Final Order or (b) is scheduled at zero or as contingent, disputed or unliquidated and as to which a
Bar Date has been established, but no proof of claim has been filed or deemed timely filed with the
Bankruptcy Court pursuant to either the Bankruptcy Code or any Final Order of the Bankruptcy Court or
otherwise deemed timely filed under applicable law.

       2.222 “Disclosure Statement” means the written disclosure statement that relates to the Plan, as
approved by the Bankruptcy Court pursuant to section 1125 of the Bankruptcy Code and Bankruptcy
Rule 3017, as such disclosure statement may be amended, modified or supplemented from time to time.

        2.223 “Disclosure Statement Approval Order” means a Final Order approving, among other
things, the Disclosure Statement.

        2.224 “Disputed Claim” means a Claim, or any portion thereof, that is neither an Allowed
Claim nor a Disallowed Claim, and includes, without limitation, a Claim that (a) has not been Scheduled
or is scheduled by the Debtor as unknown or as contingent, unliquidated or disputed for which a proof of
claim has been filed or (b) is the subject of an objection filed with the Bankruptcy Court and which
objection has not been withdrawn or resolved by a Final Order of the Bankruptcy Court. For the
avoidance of doubt, Statutory Insider Claims are Disputed Claims.

       2.225 “Distribution” means any distribution provided for in this Plan to holders of Allowed
Claims in full or partial satisfaction of such Allowed Claims.

       2.226 “Distribution Dates” means collectively, the First Distribution Date, any Subsequent
Distribution Date and the Final Distribution Date.

        2.227 “Effective Date” means the first Business Day that is thirty (30) calendar days following
the date of the entry of the entry of the order of confirmation. But if a stay of the confirmation order is in
effect on that date, the effective date will be the first Business Day after that date on which no stay of the
confirmation order is in effect, provided that the confirmation order has not been vacated.

         2.228 “Effective Date Unsecured Claim” means a Claim that is an unsecured Allowed Claim
that is that will be subject to treatment as Class 3 under the Plan.

       2.229 “Estate Assets” means all of the right, title and interest of the Debtor in and to property of
whatever type or nature (real, personal, mixed, tangible or intangible), including property of the
Debtor’s Estate. For the avoidance of doubt, all Causes of Action, Preserved Claims and Avoidance
Actions are included within Estate Assets.

      2.230 “Estate” means the bankruptcy estate of the Debtor arising pursuant to section 541 of the
Bankruptcy Code.

        2.231 “Exculpated Claim” means any Claim related to any act or omission in connection with,
derived from, based upon, related to or arising from the Debtor’s in or out-of-court sale and restructuring
efforts, the Chapter 11 Case, including the negotiation and performance of the IP Asset Sales, the sale
and liquidation of assets, formulation, preparation, dissemination, negotiation, filing, confirmation,
approval, implementation or administration of the Disclosure Statement, the Plan, the filing of the
Chapter 11 case, the pursuit of confirmation and consummation and the administration and


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implementation of the Plan, or the Distribution of property under the Plan or any other related
agreement.

        2.232 “Exculpated Party” means each of: (a) the Debtor and (b) Creditors’ Committee and its
members in their capacity as such and with respect to clauses (a) through (b) such entities’ predecessors,
participants, successors and assigns, subsidiaries, affiliates, beneficial owners, managed accounts or
funds, current and former officers, directors, managers, principals, shareholders, direct and indirect
equity holders, members, partners (general and limited), employees, agents, advisory board members,
financial advisors, attorneys, accountants, investment bankers, consultants, representatives, management
companies, fund advisors and other Professionals.

         2.233 “Face Amount” means (a) when used in reference to a Disputed or Disallowed Claim, the
full stated amount claimed by the Claimholder in any proof of claim filed with the Bankruptcy Court,
and (b) when used in reference to an Allowed Claim, the allowed amount of such Claim.

      2.234 “Final Decree” means the order entered pursuant to section 350, of the Bankruptcy Code
and Bankruptcy Rule 3022 closing the Chapter 11 case.

        2.235 “Final Distribution Date” means the date(s) on which a final Distribution is made to
holders of Allowed Claims entitled to Distributions. The Final Distribution Date(s) shall be one or more
dates, as determined by the Plan Administrator, which is after the liquidation of all Estate Assets (other
than those assets abandoned by the Debtor, Liquidating Debtor or the Plan Administrator, as applicable)
and the collection of other sums due or otherwise remitted or returned to the Estate.

       2.236 “Final Order” means an order or judgment, the operation or effect of which has not been
stayed, reversed or amended and as to which order or judgment (or any revision, modification or
amendment thereof) the time to appeal or seek review or rehearing has expired and as to which no
appeal or petition for review or rehearing was filed or, if filed, remains pending.

       2.237 “First Interim Distribution” means the initial Distribution to be made to holders of Class
3 Allowed Claims.

        2.238 “First Distribution Date” means with respect to a Claim that is Allowed as of the
Effective Date (i.e., Class 3 - Effective Date Unsecured Claims), the Effective Date or the date that is as
soon as reasonably practicable after the Effective Date.

        2.239 “Impaired” refers to any Claim or Equity Interest that is impaired within the meaning of
section 1124 of the Bankruptcy Code.

        2.240 “Equity Interest” means the rights of any current or former holder or owner of any shares
of common stock, preferred stock or any other equity securities of the Debtor authorized and issued
prior to the Confirmation Date, exclusive of any such interests held in treasury by the Debtor.

       2.241 “Interestholder” means a holder of an Equity Interest.

       2.242 “Internal Revenue Code” means the Internal Revenue Code of 1986, as amended.

       2.243 “Liquidating Debtor” means the Debtor on and after the Effective Date.


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       2.244 “Person” means an individual, corporation, partnership, joint venture, association, joint
stock company, limited liability company, limited liability partnership, trust, estate, unincorporated
organization or other entity.

     2.245 “Petition Date” means March 1, 2017, which is the date Debtor filed its petition
commencing its Chapter 11 case.

        2.246 “Plan” means the plan which is proposed by the Debtor for the resolution of outstanding
Claims and Equity Interests in the Chapter 11 case, as such plan may be amended or modified from time
to time in accordance with the Bankruptcy Code.

         2.247 “Plan Administration Expenses” means any and all reasonable and documented fees,
costs, and expenses incurred by the Plan Administrator (or any Person engaged by the Plan
Administrator to effect Distributions or otherwise assist the Plan Administrator with its duties under the
Plan) in connection with any of its duties under the Plan, including (i) any administrative fees;
(ii) attorneys’ or other professionals’ fees and expenses of the Plan Administrator; (iii) insurance fees;
(iv) taxes; (v) fees payable under 28 U.S.C. § 1930; (vi) costs associated with any maintenance,
liquidation, and administration of any going concern as part of the wind down of the Debtor’s business
operations; (vii) costs to maintain any Revested Assets while they are held for sale or otherwise
liquidated; (viii) fees incurred in connection with the making of Distributions; and (ix) fees, costs, and
expenses incurred in prosecution of Causes of Action, Preserved Claims and Avoidance Actions.

       2.248 “Plan Administrator” means the Person designated for such position in the Plan
Supplement or such other Person appointed in accordance with Section 7.2(a) of the Plan, acting
pursuant to the authority granted under Section 7.2(c) of the Plan.

       2.249 “Plan Supplement” means the compilation of documents and forms of documents,
schedules and Exhibits to the Plan to be filed no later than seven (7) days before the Confirmation
Hearing, on notice to parties in interest, and additional documents filed before the Effective Date as
supplements or amendments to the Plan Supplement. The Debtor shall have the right to amend the
documents contained in, and Exhibits to, the Plan Supplement through the Effective Date.

        2.250 “Preserved Claims” means all Causes of Action (including Avoidance Actions) of the
Debtor or the Estate, but excluding all Causes of Action that are expressly waived, relinquished,
released, compromised, or settled in the Plan, pursuant to the Confirmation Order, or pursuant to any
other order of the Bankruptcy Court. The failure to specifically identify in the Disclosure Statement or
the Plan any potential or existing Causes of Action as a Preserved Claim is not intended to and shall not
limit the rights of the Plan Administrator to pursue any such Causes of Action. The Debtor expressly
reserves all Causes of Action, other than those Causes of Action that are expressly waived, relinquished,
released, compromised, or settled in the Plan, pursuant to the Confirmation Order, or pursuant to any
other order of the Bankruptcy Court, as Preserved Claims for later adjudication, and no preclusion
doctrine (including the doctrines of res judicata, collateral estoppel, judicial estoppel, equitable estoppel,
issue preclusion, claim preclusion, and laches) shall apply to such Causes of Action as Preserved Claims
on or after the Effective Date.

       2.251 “Post-Effective Date Unsecured Claim” means a Claim that is an unsecured Disputed
Claim that is that will be subject to treatment as Class 4 under the Plan.



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       2.252 “Priority Claim” means an unsecured Claim that is entitled to payment before other
unsecured creditors in accordance with section 507 of the Bankruptcy Code.

         2.253 “Priority Non-Tax Claim” means any Claim of a kind specified in section 507(a)(3), (4),
(5), (6), (7) or (9) of the Bankruptcy Code.

       2.254 “Priority Tax Claim” means any Claim of a governmental unit of the kind specified in
sections 502(i) or 507(a)(8) of the Bankruptcy Code.

        2.255 “Pro Rata” means, at any time, the proportion that the Face Amount of a Claim in a
particular Class bears to the aggregate Face Amount of all Claims (including Disputed Claims, but
excluding Disallowed Claims) in such Class, unless the Plan provides otherwise.

       2.256 “Professional” means a professional retained in the Chapter 11 case pursuant to sections 327,
328 and 1103 of the Bankruptcy Code, or otherwise.

       2.257 “Professional Fee Claim” means a Claim of a Professional for compensation or
reimbursement of costs and expenses relating to services rendered after the Petition Date and prior to
and including the Effective Date.

       2.258 “Record Date” means the date that is two (2) Business Days after the entry of an order by
the Bankruptcy Court approving the Disclosure Statement.

         2.259 “Released Party” means each of: (a) the Debtor; (b) the Creditors’ Committee and its
members in their capacity as such; and (c) with respect to each of the foregoing entities in clauses (a)
through (b), each and all of such entities’ direct and indirect current and former: equity holders,
affiliates, predecessors, participants, successors and assigns, parents, subsidiaries, partners (including
general partners and limited partners), managed accounts or funds, management companies, fund
advisors, investors, beneficial owners, managing members, directors, managers, officers, principals,
advisory board members, controlling persons, employees, agents, financial advisors, partners, attorneys,
accountants, investment bankers, consultants, representatives and other professionals, advisors, and
representatives, and each and all of their respective heirs, successors, and legal representatives.

        2.260 “Releasing Parties” means each of (a) Wells Fargo, (b) the Interestholders, (c) all holders
of Claims or Equity Interests; and (c) with respect to each of the foregoing entities in clauses (a) through
(b), each and all of such entities’ direct and indirect current and former: equity holders, affiliates,
predecessors, participants, successors and assigns, parents, subsidiaries, partners (including general
partners and limited partners), managed accounts or funds, management companies, fund advisors,
investors, beneficial owners, managing members, directors, managers, officers, principals, advisory
board members, controlling persons, employees, agents, financial advisors, partners, attorneys,
accountants, investment bankers, consultants, representatives and other professionals, advisors, and
representatives, and each and all of their respective heirs, successors, and legal representatives.

       2.261 “Revested Assets” means all Estate Assets and includes Causes of Action, Preserved
Claims and Avoidance Actions.

      2.262 “Statutory Insider” means any individual or entity within the meaning of Section
101(31) of the Bankruptcy Code and includes but is not limited to the following for purposes of this


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Plan: Anderson, Bottrell, Sanden, & Thompson Law firm, Barrier Lake Investments, LLC Diamond B
Technology Solutions, LLC, Sales Floor Live, LLC, TGC, LP, and Vanity, Inc.

        2.263 “Statutory Insider Claim” means a Claim by a Statutory Insider, including but not
limited to for purposes of this Plan the Claims of TGC, LP filed as proof of claim number 281, Sales
Floor Live, LLC filed as proof of claim numbers 284 and 303, Diamond B Technology Solutions, LLC
filed as proof of claim numbers 280 and 299, Bottrell Family Investments, LP filed as proof of claim
numbers 285 and 304.

      2.264 “Subsequent Interim Distribution” means a Distribution made by the Plan
Administrator subsequent to the First Interim Distribution.

       2.265 “Subsequent Distribution Date” means any date, as determined by the Plan
Administrator which is after the First Distribution Date and prior to the Final Distribution Date, on
which the Plan Administrator commences a Distribution to Holders of Allowed Claims pursuant to the
Plan.

        2.266 “Tax Refunds” means the Claim of the Debtor for a refund of state or federal income
taxes other than any refund of state income taxes received by a Debtor prior to the Petition Date.

       2.267 “Unimpaired” refers to any Claim which is not Impaired.

      2.268 “U.S. Trustee” means the Office of the United States Trustee for the District of North
Dakota.

        2.269 “Wind Down End Date” means the date on which (a) the Plan Administrator determines
that the pursuit of additional Preserved Claims is not likely to yield sufficient additional proceeds to
justify further pursuit of such Preserved Claims or determines to abandon any remaining Revested
Assets, (b) all objections to Disputed Administrative Claims, Post-Effective Date Unsecured Claims,
and Disputed Priority Claims are fully resolved, (c) all Distributions required to be made by the Plan
Administrator have been made, (d) the Revested Assets have been liquidated, abandoned, or otherwise
administered under the Plan, and (e) the Plan Administrator either has obtained authority from the
Bankruptcy Court for the entry of the Final Decree or has been relieved of further duties pursuant to the
Plan.

        2.3    Governing Law. Unless a rule of law or procedure is supplied by federal law (including
the Bankruptcy Code and Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State
of North Dakota, without giving effect to the principles of conflict of laws, shall govern the rights,
obligations, construction, and implementation of the Plan, any agreements, documents, instruments, or
contracts executed or entered into in connection with the Plan (except as otherwise set forth in those
agreements, in which case the governing law of such agreement shall control).

        2.4    Exhibits. All exhibits are incorporated into and are a part of the Plan as if set forth in full
herein and as may be filed with the Plan Supplement.




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                                      ARTICLE III.
                        CLASSIFICATION OF CLAIMS AND INTERESTS

        Pursuant to section 1122 of the Bankruptcy Code, set forth below is a designation of classes of
Claims against and Equity Interests in the Debtor. A Claim or Equity Interest is placed in a particular
Class for the purposes of voting on the Plan and receiving Distributions pursuant to the Plan only to the
extent that such Claim or Equity Interest is an Allowed Claim in that Class and such Claim or Equity
Interest has not been paid, released or otherwise settled prior to the Effective Date. In accordance with
section 1123(a)(1) of the Bankruptcy Code, Administrative Claims and Priority Tax Claims have not
been classified and their treatment is set forth in Article IV below.

       All Allowed Claims and Equity Interests are consolidated into the Classes set forth below.

         Class                  Description                Impairment                 Voting Status

      Unclassified         Administrative Claims            Unimpaired             Not entitled to vote

      Unclassified        Professional Fee Claims           Unimpaired             Not entitled to vote

      Unclassified           Priority Tax Claims            Unimpaired             Not entitled to vote

                                                                                   Not entitled to vote
        Class 1              Wells Fargo Bank               Unimpaired
                                                                                   (deemed to accept)

                            Convenience Class –
        Class 2              General Unsecured               Impaired                Entitled to Vote
                                  Claims

                           Effective Date Allowed
        Class 3                                              Impaired                Entitled to Vote
                             Unsecured Claims

                             Post-Effective Date
        Class 4                                              Impaired                Entitled to Vote
                             Unsecured Claims

                                                                                   Not Entitled to Vote
        Class 5                Equity Interests              Impaired
                                                                                    (deemed to reject)

                            ARTICLE IV.
TREATMENT OF UNCLASSIFIED ADMINISTRATIVE, PROFESSIONAL, AND PRIORITY
                            TAX CLAIMS

       4.1    Administrative Claims -- Professional Claims.

                a.     Final Professional Fee Claim Applications. All final requests for payment of
       Professional Fee Claims pursuant to Bankruptcy Code sections 327, 328, 330, 331, 363, 503(b),
       or 1103 must be made by application filed with the Bankruptcy Court and served on counsel to
       the Plan Administrator, counsel to the Creditors’ Committee, and the U.S. Trustee no later than
       the first Business Day that is thirty (30) calendar days after the Effective Date, unless otherwise


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       ordered by the Bankruptcy Court (the "Administrative Claim Bar Date"). Objections to such
       applications must be filed and served on counsel to the Plan Administrator, counsel to the
       Creditors’ Committee, the U.S. Trustee, and the requesting Professional on or before the date
       that is twenty-one (21) calendar days after the date on which the applicable application was
       served (or such longer period as may be allowed by order of the Bankruptcy Court or by
       agreement with the requesting Professional). Any Professional Fee Claim not timely filed and
       asserted will be forever barred and discharged.

              b.     Payment of Professional Fee Claims. All Professional Fee Claims shall be paid by
       the Plan Administrator to the extent approved by order of the Bankruptcy Court within five (5)
       Business Days after entry of such order.

               c.     Post-Effective Date Services. After the Effective Date, any requirement that
       Professionals comply with sections 327 through 331 of the Bankruptcy Code in seeking retention
       or compensation for services rendered after such date shall terminate. The Plan Administrator
       shall pay any Professionals for Post-Effective Date services requested by the Plan Administrator.

        4.2    Administrative Claims –Administrative Tax Claims under section 503(b)(1)(B) and
(C) of the Bankruptcy Code. Allowed Administrative Claims under section 503(b)(1)(B) and (C) of
the Bankruptcy Code shall be paid in full by the Plan Administrator as soon as reasonably practicable
after the Effective Date. Creditors with Allowed Administrative Claims as of the Record Date are
identified on Exhibit A.

        4.3    Priority Tax Claims. In full satisfaction, settlement, and release of and in exchange for
such Claims, Allowed Priority Tax Claims shall be paid by the Plan Administrator, at the Plan
Administrator’s option, as follows: (a) cash funds equal to the unpaid portion of the Face Amount of
such Allowed Priority Tax Claim on the later of the Effective Date or thirty (30) calendar days following
the date on which such Priority Tax Claim becomes an Allowed Priority Tax Claim; or (b) such other
treatment as to which the holder of an Allowed Priority Tax Claim and the Plan Administrator shall have
agreed upon in writing. Creditors with Allowed Administrative Claims as of the Record Date are
identified on Exhibit A.

        4.4     All Other Administrative Claims. Any person or entity who requests compensation or
expense reimbursement in the Chapter 11 case pursuant to section 503 of the Bankruptcy Code (other
than Professional Fee Claims, Administrative Tax Claims and Priority Tax Claims) must file an
application with the clerk of the Bankruptcy Court and serve such application on counsel for the Plan
Administrator and the U.S. Trustee no later than the first Business Day that is thirty (30) calendar days
after the Effective Date, unless otherwise ordered by the Court (the “Administrative Claim Deadline”),
or be forever barred from seeking such compensation or expense reimbursement. For the avoidance of
doubt, Section 503(b)(9) Claims are subject to this section 4.4 of the Plan and requesting claimants must
file an application unless its treatment is Allowed as of the Record Date as identified on Exhibit A.
Unless the Plan Administrator objects to an Administrative Claim, such Administrative Claim shall be
deemed an Allowed Administrative Claim in the amount requested. Objections to such applications must
be filed and served on counsel to the Plan Administrator, the U.S. Trustee, and the requesting claimant
on or before the date that is twenty-one (21) calendar days after the date on which the applicable
application was served (or such longer period as may be allowed by order of the Bankruptcy Court or by
agreement with the requesting claimant). All Allowed Administrative Claims (other than Professional


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Fee Claims, Administrative Tax Claims and Priority Tax Claims) shall be paid by the Plan
Administrator within thirty (30) days of allowance by the Bankruptcy Court, unless appealed by the Plan
Administrator. Creditors with Allowed Administrative Claims as of the Record Date are identified on
Exhibit A

                                     ARTICLE V.
                      TREATMENT OF CLAIMS AND EQUITY INTERESTS

       5.1      Class 1 (Wells Fargo Bank, N.A.). Wells Fargo Bank, N.A. was paid in full during the
pendency of the Chapter 11 case. Wells Fargo has no further claim against the Debtor and will not
receive a Distribution under the Plan.

        5.2    Class 2 (Convenience Unsecured Claims). This class shall consist of unsecured
Allowed Claims not entitled to priority where the total of the unsecured Allowed Claim does not exceed
$1,500.00. Any unsecured creditor whose claim exceeds $1,500.00 may elect by voting on the Plan to be
treated as a Class 2 Convenience Class creditor by electing to reduce their Claim to $1,500.00. The
holders of Class 2 Allowed Claims will be paid a total of 50% of their Allowed Claims as soon as
reasonably practicable after the Effective Date. Such payments shall be in full satisfaction of each Class
2 Allowed Claim. The Debtor estimates that there are approximately $105,000 in Allowed Claims in
Class 2. Creditors with Class 2 Allowed Claims as of the Record Date are identified on Exhibit B.

        5.3     Class 3 (Effective Date Unsecured Claims). Except to the extent that a holder of a
Class 3 Allowed Claim agrees to a less favorable treatment, each holder of a Class 3 Allowed Claim
shall receive its Pro Rata share of the First Interim Distribution after payment in full of (or reserve for)
Plan Administration Expenses, all Allowed Administrative Claims as set forth in Article IV above
(including Professional Fee Claims, Administrative Tax Claims, and Priority Tax Claims), Allowed
Claims in Class 2, and the Claims Reserve. Subsequent Distributions on Class 3 Allowed Claims shall
be made as soon as reasonably practicable after the Effective Date and after the reconciliation of all
Class 4 Claims, unless the Plan Administrator, in its sole discretion, determines that an earlier
Distribution is practicable consistent with the Plan. Such Distributions shall be in full satisfaction of
each Class 3 Allowed Claim with the effective date of the satisfaction being the Final Distribution Date.
The holders of Allowed Claims in Class 3 and Class 4 shall be paid Pro Rata based on the aggregate
Face Amount of all Allowed Claims in both classes. Creditors with Class 3 Allowed Claims as of the
Record Date are identified on Exhibit C.

         5.4     Class 4 (Post-Effective Date Unsecured Claims). Except to the extent that a holder of a
Class 4 Claim agrees to a less favorable treatment, each holder of a Class 4 Claim that becomes an
Allowed Claim shall receive its Pro Rata share of the Subsequent Interim Distributions after payment in
full of (or reserve for) Plan Administration Expenses, all Allowed Administrative Claims as set forth in
Article IV above (including Professional Fee Claims, Administrative Tax Claims, and Priority Tax
Claims), Allowed Claims in Class 2, and the First Interim Distribution on Class 3 Claims. Distributions
on Class 4 Allowed Claims shall be made as soon as reasonably practicable after the Effective Date and
after the reconciliation of all Class 4 Claims, unless the Plan Administrator, in its sole discretion,
determines that an earlier Distribution is practicable consistent with the Plan. Such Distributions shall be
in full satisfaction of each Class 4 Allowed Claim with the effective date of the satisfaction being the
Final Distribution Date. The holders of Allowed Claims in Class 3 and Class 4 shall be paid Pro Rata
based on the aggregate Face Amount of all Allowed Claims in both classes. For avoidance of doubt, all


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Class 4 Claims and Statutory Insider Claims are considered Disputed Claims. Creditors with Class 4
Claims as of the Record Date are identified on Exhibit D.

       5.5     Class 5 (Equity Interests). The holders of Equity Interests in Class 5 shall have their
Equity Interests against the Debtor extinguished as of the Effective Date and shall receive no
Distributions under this Plan.

                                   ARTICLE VI.
                    UNEXPIRED LEASES AND EXECUTORY CONTRACTS

       6.1    Assumed Executory Contracts and Unexpired Leases. The Debtor assumes the
following executory contracts and/or unexpired leases still in effect upon the Effective Date of the Plan:

                      NONE

        6.2    Deemed Rejection on the Effective Date. On the Effective Date, the Debtor’s executory
contracts and unexpired leases will be conclusively deemed rejected. Section 6.2 does not apply to
executory contracts or unexpired leases that (a) were previously assumed or rejected by the Debtor or
are the subject of a pending assumption or rejection motion; (b) expired or terminated pursuant to their
own terms; or (c) are identified in Section 6.1 above as an executory contract to be assumed. The
Confirmation Order shall constitute an order of the Bankruptcy Court approving such rejections,
pursuant to section 365 of the Bankruptcy Code.

        6.3     Rejection Bar Date. If the rejection by the Debtor, pursuant to the Plan or otherwise, of
an executory contract or unexpired lease results in a Claim, then such Claim shall be forever barred and
shall not be enforceable against the Debtor, the Liquidating Debtor, the Plan Administrator or the
properties of any of them unless a proof of claim was filed with the Claims Agent within the time
allowed by the Bar Date or the Bankruptcy Court’s applicable order authorizing the Debtor to reject an
executory contract or unexpired lease; provided, however, that notwithstanding the foregoing, in the case
of an executory contract or unexpired lease "deemed rejected" pursuant to Section 6.2 of this Plan which
results in a Claim, such Claim shall be forever barred and shall not be enforceable against the Debtor,
the Liquidating Debtor, the Plan Administrator, the Estate or the properties of any of them unless a proof
of claim is filed with the Claims Agent and served upon counsel to the Plan Administrator within
thirty (30) days after the Effective Date.

                                     ARTICLE VII.
                        MEANS FOR IMPLEMENTATION OF THE PLAN

        After the Effective Date, the Plan will be implemented by, among other things, the establishment
of the Plan Administrator, and the making of Distributions by the Plan Administrator, as applicable, in
accordance with the Plan.

       7.1     The Debtor’s Post-Effective Date Corporate Affairs.

       a.      Debtor’s Existing Directors, Officers, and Managers. On the Effective Date, the Debtor’s
       existing directors, officers, and managers shall be terminated automatically without the need for
       any corporate action or approval and without the need for any corporate filings, and shall have



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 no continuing obligations to the Debtor or the Estate following the occurrence of the Effective
 Date.

 b.     Wind Down and Dissolution of the Debtor.

                (i) On the Effective Date, all Equity Interests shall be cancelled and one new
        share of Debtor’s common stock shall be issued to the Plan Administrator which will
        hold such share for the benefit of the holders of such former Equity Interests consistent
        with their former economic entitlements. Each holder of an Equity Interest shall neither
        receive nor retain any property or interest in property on account of such Equity Interests;
        provided however, that in the event that all Allowed Claims in Classes 2 through 4 have
        been satisfied in full in accordance with the Bankruptcy Code and the Plan, each holder
        of an Equity Interest may receive a pro rata equity share of any remaining assets of the
        Debtor consistent with such holder’s rights of priority of payment existing immediately
        prior to the Petition Date. The rights of the holders of former Equity interests in Debtor
        shall be nontransferable. Unless otherwise determined by the Plan Administrator, on the
        date that Debtor’s Chapter 11 case is closed, all such former Equity Interests in Debtor
        shall be deemed cancelled and of no force and effect provided that such cancellation does
        not adversely impact the Debtor’s Estate.

                (ii) After the Effective Date, the Plan Administrator may decide to (i) maintain
        the Debtor as a corporation in good standing until such time as all aspects of the Plan
        pertaining to Debtor have been completed, or (ii) at such time as the Plan Administrator
        considers appropriate and consistent with the implementation of the Plan, merge,
        dissolve, or otherwise terminate the existence of the Debtor and complete the winding
        down of the Debtor without the necessity for any other or further actions to be taken by
        or on behalf of the dissolving Debtor or any other Person or any payments to be made in
        connection therewith.

                (iii) On and after the Effective Date, pursuant to the Plan, the Plan Administrator
        shall have the right, but not the obligation, to wind down, sell, and otherwise liquidate all
        Revested Assets, including the Causes of Action, Preserved Claims and Avoidance
        Actions.

 c.     Corporate Documents and Corporate Authority.

               (i) As of the Effective Date, the certificate of incorporation, bylaws, or articles of
        organization, as applicable, of the Debtor and the Liquidating Debtor shall be deemed
        amended to the extent necessary to carry out the provisions of the Plan.

                (ii) The entry of the Confirmation Order shall constitute authorization for the
        Debtor, the Liquidating Debtor, and the Plan Administrator to take or cause to be taken
        all actions (including, if applicable, corporate actions) necessary or appropriate to
        implement all provisions of, and to consummate, the Plan prior to, on, and after the
        Effective Date and all such actions taken or caused to be taken shall be deemed to have
        been authorized and approved by the Bankruptcy Court without further approval, act, or
        action under any applicable law, order, rule, or regulation.



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 7.2    The Plan Administrator.

         a.      Appointment. On and after the Effective Date, the initial Plan Administrator
 identified in the Disclosure Statement shall become and serve as Plan Administrator. Mr. David
 Velde, an attorney with Velde Moore, LTD, 1118 Broadway, Alexandria, MN 56308 has been
 selected as the initial Plan Administrator.

         b.      Vesting of Revested Assets. On the Effective Date, the Debtor and its Estate shall
 irrevocably vest in the Liquidating Debtor for purposes of administration, by the Plan
 Administrator, of all of its respective rights, title, and interest in and to all Revested Assets, and
 in accordance with section 1141 of the Bankruptcy Code. For the avoidance of doubt, the
 Revested Assets include Causes of Action, Avoidance Actions and Preserved Claims. Except as
 specifically provided in the Plan or the Confirmation Order, the Revested Assets shall
 automatically vest in the Liquidating Debtor free and clear of all Claims, Liens, encumbrances,
 or interests, and such vesting shall be exempt from any stamp, real estate transfer, other transfer,
 mortgage reporting, sales, use, or other similar tax. The Plan Administrator shall be the exclusive
 representative of the Estate appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy Code
 regarding all Revested Assets.

         c.     Authority. The Plan Administrator shall have the sole authority and right on
 behalf of the Debtor, the Liquidating Debtor, and its Estate, without the need for Bankruptcy
 Court approval (unless otherwise indicated), to carry out and implement all provisions of the
 Plan, including to:

                i.       proceed to liquidate the Debtor’s estate for the best interests of the
                         creditors;

                ii.      review, reconcile, compromise, settle, or object to Administrative Claims
                         (including Professional Fee Claims, Administrative Tax Claims, and
                         Priority Tax Claims) and Claims in Class 2, Class 3, and Class 4 and
                         resolve such objections as set forth in the Plan;

                iii.     calculate the amount of Distributions to be made to holders of Allowed
                         Administrative Claims (including Professional Claims, Administrative
                         Tax Claims, and Priority Tax Claims) and Allowed Claims in Class 2,
                         Class 3, Class 4, and Class 5 Claims in accordance with the Plan, and use
                         cash funds to make Distributions in accordance with the Plan;

                iv.      review, reconcile, enforce, collect, compromise, settle, or elect not to
                         pursue any or all Causes of Action, Avoidance Actions and Preserved
                         Claims or similar actions;

                v.       provide a quarterly report to a three (3) person consultative committee of
                         unsecured creditors as established in section 10.2, identifying Causes of
                         Action, Avoidance Actions and Preserved Claims or similar actions that
                         were pursued, settled and/or compromised;




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                vi.     retain, compensate, and employ Professionals and other Persons to
                        represent the Plan Administrator with respect to and in connection with its
                        rights and responsibilities;

                vii.    establish, maintain, and administer all documents and accounts of the
                        Liquidating Debtor as appropriate, which shall be segregated to the extent
                        appropriate in accordance with the Plan;

                viii.   maintain, conserve, supervise, prosecute, collect, settle, and protect the
                        Revested Assets (subject to the limitations described herein);

                ix.     sell, liquidate, transfer, assign, distribute, abandon, or otherwise dispose of
                        the Revested Assets or any part thereof upon such terms as the Plan
                        Administrator determines to be necessary, appropriate, or desirable in its
                        sole discretion;

                x.      invest cash funds of the Liquidating Debtor and the Estate, including any
                        cash realized from the liquidation of the Revested Assets;

                xi.     pay the Plan Administration Expenses;

                xii.    the winding down of the remaining affairs of the Debtor (including, to the
                        extent not already terminated, the 401K and other employee health and
                        benefit plans of the Debtor);

                xiii.   prepare and file any and all informational returns, reports, statements,
                        returns, and other documents or disclosures relating to the Debtor or the
                        Liquidating Debtor that are required under the Plan, by any governmental
                        unit, or by applicable law;

                xiv.    take such actions as are necessary or appropriate to close or dismiss the
                        Chapter 11 case;

                xv.     comply with the Plan, exercise the Plan Administrator’s rights, and
                        perform the Plan Administrator’s obligations;

                xvi.    exercise such other powers as deemed by the Plan Administrator to be
                        necessary and proper to implement the provisions of the Plan;

                xvii.   execute any and all documents and instruments necessary to effectuate the
                        provisions of the Plan;

                xviii. amendment of any Liquidating Debtor’s organizational documents and
                       dissolution of the Liquidating Debtor under applicable state law; and

                xix.    To the extent necessary to give full effect to its exclusive administrative
                        rights and duties under the Plan, the Plan Administrator shall be deemed to
                        be vested with all rights, powers, privileges, and authorities of (i) a board


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                         of directors or an appropriate corporate officer of the Liquidating Debtor
                         under any applicable non-bankruptcy law and (ii) a “trustee” of the
                         Liquidating Debtor under sections 704 and 1106 of the Bankruptcy Code.

        d.      Tax Reporting.

                i.       The Plan Administrator shall file any and all tax returns for the
                         Liquidating Debtor and the Estate, as applicable, provided however, the
                         Plan Administrator shall have no personal liability for the signing or
                         accuracy of the Debtor’s or Liquidating Debtor’s tax returns that are due
                         to be filed after the Effective Date or for any tax liability related thereto.

                ii.      The Plan Administrator shall be responsible for payment, out of the
                         Revested Assets, of any taxes imposed on the Liquidating Debtor or the
                         Revested Assets.

                iii.     The Plan Administrator shall distribute such tax-related notices to the
                         applicable holders of Allowed Claims as the Plan Administrator
                         determines are necessary or desirable.

         e.    Disbursing Agent. The Plan Administrator shall serve as the disbursing agent for
 all Allowed Claims under the Plan.

        f.      Preservation of All Causes of Action, Avoidance Actions, and Preserved Claims.
 The Plan Administrator shall have the exclusive right, on behalf of the Estate, to institute, file,
 prosecute, enforce, abandon, settle, compromise, release, or withdraw any and all Causes of
 Action, Avoidance Actions and Preserved Claims without any further order of the Bankruptcy
 Court. From and after the Effective Date, the Plan Administrator, in accordance with section
 1123(b)(3) of the Bankruptcy Code, shall serve as a representative of the Estate with respect to
 any and all Causes of Action, Avoidance Actions, and Preserved Claims and shall retain and
 possess the right to commence, pursue, settle, compromise, or abandon, as appropriate, any and
 all Causes of Acton, Avoidance Actions, and Preserved Claims in any court or other tribunal.

         g.      Removal of the Plan Administrator. The Plan Administrator may be removed for
 cause, as determined by an order of the Bankruptcy Court pursuant to a regularly-noticed motion
 by a party in interest in the Chapter 11 case.

        h.     Resignation of the Plan Administrator. The Plan Administrator may resign by
 giving not less than thirty (30) calendar days’ prior notice thereof in a notice filed in the
 Chapter 11 case.

         i.    Successor Plan Administrator. In the event the Plan Administrator is removed or
 resigns, or if the Plan Administrator otherwise vacates the position, a successor Plan
 Administrator shall be nominated by the Liquidating Debtor, with the appointment of such
 nominee as successor Plan Administrator effective upon filing a notice with the Bankruptcy
 Court. Any successor Plan Administrator appointed hereunder shall execute an instrument
 accepting such appointment and shall deliver such acceptance to the Bankruptcy Court.
 Thereupon, such successor Plan Administrator shall, without any further act, become vested with


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       all the estates, properties, rights, powers, trusts, and duties of the predecessor Plan Administrator
       with like effect as if originally named herein; provided, however, that a removed or resigning
       Plan Administrator shall, nevertheless, when requested in writing by the successor Plan
       Administrator, execute and deliver any reasonable instrument or instruments conveying and
       transferring to such successor Plan Administrator all the estates, properties, rights, powers, trusts,
       and duties of such removed or resigning Plan Administrator.

             j.      Termination of the Plan Administrator. The Plan Administrator’s role as Plan
       Administrator shall be terminated on the Wind Down End Date.

                              ARTICLE VIII.
       PROVISIONS GOVERNING OBJECTIONS TO CLAIMS AND DISTRIBUTIONS

        8.1     Claims Administration Responsibility. The Plan Administrator shall retain sole
responsibility for administering, disputing, objecting to, compromising or otherwise resolving issues
related to Distributions to holders of all Claims.

        8.2    Resolution of Disputed Claims Exceeding $250,000. On and after the Effective Date,
the Plan Administrator shall have the authority to compromise, settle, otherwise resolve, or withdraw
any objections to Administrative Claims or Claims and to compromise, settle, or otherwise resolve any
disputed Administrative Claims and Disputed Claims without approval of the Bankruptcy Court, other
than with respect to Administrative Claims relating to compensation of Professionals. Notwithstanding
the foregoing, the Plan Administrator shall not have the authority to compromise, settle, or otherwise
resolve any Disputed Claims where the Face Amount of such Disputed Claim exceeds $250,000 without
the majority agreement of the Post-Confirmation Advisory Committee, if said committee can be formed,
and subject to Bankruptcy Court approval if the compromise or settlement is not approved by a majority
of the Post-Confirmation Advisory Committee.

        8.3     Interest on Claims. Unless otherwise specifically provided for in the Plan or
Confirmation Order, or as required by section 506 of the Bankruptcy Code, post-Petition Date interest
shall not accrue or be paid on Claims, and no Claimholder shall be entitled to interest accruing on or
after the Petition Date on any Claim. Interest shall not accrue or be paid upon any Disputed Claim in
respect of the period from the Petition Date to the date a final Distribution is made thereon if and after
such Disputed Claim becomes an Allowed Claim.

         8.4    Withholding, Payment and Reporting Requirements Regarding Distributions. All
Distributions under the Plan shall, to the extent applicable, comply with all tax withholding, payment
and reporting requirements imposed by any federal, state, provincial, local or foreign taxing authority,
and all Distributions shall be subject to any such withholding, payment and reporting requirements. The
Plan Administrator shall be authorized to take any and all actions that may be necessary or appropriate
to comply with such withholding, payment and reporting requirements including requiring each
Claimholder to provide a completed Form W-9 (or, if applicable, Form W-8) as set forth in Section 8.4
of this Plan. Notwithstanding any other provision of the Plan, (i) each Claimholder of an Allowed Claim
that is to receive a Distribution pursuant to the Plan shall have sole and exclusive responsibility for the
satisfaction and payment of any tax obligations imposed by a governmental unit, including income,
withholding and other tax obligations on account of such Distribution, and including, in the case of a
holder of a Disputed Claim that has become an Allowed Claim, any tax obligation that would be


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imposed on the Revested Assets or Liquidating Debtor, as applicable, in connection with such
Distribution, and (ii) no Distribution shall be made to or on behalf of such holder pursuant to the Plan
unless and until such holder has made arrangements reasonably satisfactory to the Plan Administrator, as
applicable, for the payment and satisfaction of such withholding tax obligations or such tax obligation
that would be imposed in connection with such Distribution.

        8.5     Payments and Distributions With Respect to Classes 3 and 4; Claims Reserve. On
the Effective Date, the Plan Administrator shall establish the Claims Reserve. The Claims Reserve shall
vest in the Plan Administrator and shall be maintained by the Plan Administrator in accordance with the
Plan. Any recovery from Causes of Action, Avoidance Actions or Preserved Claims will be included in
the Claims Reserve.

        The Plan Administrator shall hold the Claims Reserve for the benefit of holders of Class 3 and
Class 4 Creditors whose Claims are Allowed and for the benefit of other parties entitled thereto under
the Plan. The amount of the Claims Reserve will be equal to the funds held in the Debtor in Possession
account as of the Effective Date, less the amounts on reserve for Plan Administration Expenses,
Allowed Administrative Claims as set forth in Article IV above (including Professional Fee Claims,
Administrative Tax Claims and Priority Tax Claims) and Allowed Class 2 Claims multiplied by the
percentage that represents the Face Amount of Class 4 Claims compared to the Face Amount of Claims
in Classes 3 and 4. Upon the allowance of any Class 4 Claims a Distribution on said Claims will be
made from the Claims Reserve equal to the percentage Pro Rata distribution received by Class 3 Claims
as a result of the First Interim Distribution. Allowed Claims in Class 3 and Class 4 shall be paid Pro
Rata based on the aggregate Face Amount of all Allowed Claims in both classes.

        Notwithstanding anything in the Plan to the contrary, if any portion of a Claim is a Disputed
Claim, no payment or distribution provided under the Plan shall be made on that portion of the Claim
that is Disputed unless and until such portion is Allowed.

        8.6     Delivery of Distributions. Distributions to holders of Allowed Claims, other than
Professional Fee Claims, shall be delivered by the Plan Administrator, (a) to the addresses set forth on
the proofs of claim filed by such Claimholders (or the address reflected in the Schedules if no proof of
claim is filed), (b) to the addresses set forth in any written notices of address changes delivered to the
Plan Administrator and filed with the Bankruptcy Court after the date of any related proof of claim, or
(c) in the case of a Claimholder whose Claim is governed by an agreement and is administered by an
agent or servicer, to the agent or servicer which shall then be responsible for making delivery of the
Distribution to such Claimholder.

       8.7     Uncashed Checks. Cash payments in the form of checks shall be null and void if not
cashed within sixty (60) calendar days after the date of issuance. Distributions in respect of such voided
checks shall be treated as unclaimed or undeliverable Distributions as provided in Section 8.8 of the
Plan. Requests for reissuance of any check must be made in writing to the Plan Administrator by the
Claimholder that originally was issued such check, which request shall be made within sixty (60)
calendar days after the date of issuance thereof.

       8.8    Unclaimed or Undeliverable Distributions. If the Distribution of any Claimholder,
other than Professional Fee Claims, is returned as undeliverable, no further Distributions to such
Claimholder shall be made unless and until the Plan Administrator is notified of such Claimholder’s


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then-current address, provided, however, that unless a Claimholder asserts a claim for an undeliverable
Distribution within 60 days after such Distribution is returned as undeliverable, such Distribution shall
be deemed unclaimed property under section 347(b) of the Bankruptcy Code and all title to and
beneficial interest in such undeliverable Distribution shall revert to and/or remain in either the Revested
Assets automatically and without any need for further order by the Bankruptcy Court for all purposes,
including for redistribution to other holders of Allowed Claims, notwithstanding any federal, provincial
or state escheat, abandoned or unclaimed property laws to the contrary. If a Claimholder timely provides
the Plan Administrator the necessary information within the period specified herein, all missed
Distributions shall be made to the Claimholder as soon as is practicable, without interest.

       8.9    Minimum Distribution. Notwithstanding any other provision of the Plan, the Plan
Administrator or other disbursing agent will not be required to make Distributions of Cash less than
$50.00 in value with the exception of Claimholders in Class 2 – Convenience General Unsecured
Claims.

        8.10 Manner of Payment Under this Plan. The Distributions made pursuant to this Plan
shall be made by checks drawn on domestic banks selected by the Plan Administrator or in the Plan
Administrator’s sole discretion, by wire transfer from a domestic bank selected by the Plan
Administrator.

       8.11 Post-Final Distribution Assets. Any assets received by the Plan Administrator after the
final Distribution is made shall be distributed Pro Rata to the holders of Class 3 and Class 4 Allowed
Claims unless the Plan Administrator determines, in his, her or its sole discretion, that the remaining
Revested Assets are insufficient or it is otherwise impracticable to make any further or supplemental
Distribution.

                                   ARTICLE IX.
                   RETENTION OF COUNSEL BY PLAN ADMINISTRATOR

         9.1     Retention of Counsel. On and after the Effective Date, the Plan Administrator shall
retain the counsel as necessary and appropriate to analyze, object to, and/or prosecute the Claims,
Causes of Action, and to take such other actions as are required to permit the Plan Administrator to
fulfill his or her duties under the Plan.

                                  ARTICLE X.
           SETTLEMENT, RELEASE, INJUNCTION AND RELATED PROVISIONS

        10.1 Compromise and Settlement of Claims, Interests and Controversies. Pursuant to
section 363 of the Bankruptcy Code and Bankruptcy Rule 9019 and in consideration for the
Distributions and other benefits provided pursuant to the Plan, the provisions of the Plan shall constitute
(a) a good faith compromise of all Claims, Equity Interest, and controversies relating to the contractual,
legal and subordination rights that a holder of a Claim may have with respect to any Allowed Claim or
any Distribution to be made on account of such Allowed Claim with the effective date of the
compromise of any Claim being the date of the final Distribution on the same, and (b) a good faith
compromise of all Claims and Causes of Action the Debtor, Creditors’ Committee or any Person that
could bring such Cause of Action on their behalf against the Released Parties. The entry of the
Confirmation Order shall constitute the Bankruptcy Court’s approval of the compromise or settlement of



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all such Claims, Equity Interests and controversies, as well as a finding by the Bankruptcy Court that
such compromise or settlement is in the best interest of the Debtor, its Estate and holders, and is fair,
equitable and reasonable. In accordance with the provisions of the Plan, pursuant to section 363 of the
Bankruptcy Code and Bankruptcy Rule 9019(a), without any further notice to or action, order or
approval of the Bankruptcy Court, after the Effective Date, the Plan Administrator may compromise and
settle Claims against the Debtor and Causes of Action against other Persons including Statutory Insiders,
subject to the provisions of Sections 8.2 and 10.2.

        10.2 Post-Confirmation Advisory Committee. Within ten (10) days after entry of the
Confirmation Order, the Debtor, in consultation with the Creditors’ Committee, will establish a Post-
Confirmation Advisory Committee consisting of three (3) unsecured creditor representatives that are
willing to serve in an advisory capacity to the Plan Administrator. The Post-Confirmation Advisory
Committee members will agree to serve free of charge and may retain counsel at their own cost which
shall not be passed along to the Debtor’s Estate. The Plan Administrator will provide a quarterly report
to the Post-Confirmation Advisory Committee and will consult and receive the majority approval of the
Post-Confirmation Advisory Committee members of any compromise or settlement where the amount of
such Disputed Claim or Cause of Action exceeds $250,000, subject to Bankruptcy Court approval if the
compromise or settlement is not approved by a majority of the Post-Confirmation Advisory Committee.

        10.3 Release of Liens. Except as otherwise provided in the Plan or in any contract,
instrument, release or other agreement or document created pursuant to the Plan, on the Effective Date
and concurrently with the applicable Distributions made pursuant to the Plan, all liens, pledges, or other
security interests against any property of the Estate shall be fully released, and all of the right, title and
interest of any holder of such lien, pledges or other security interest shall revert to the Estate and its
successors and assigns.

     10.4 Releases by Holders. OTHER THAN AS TO THE RIGHTS AND LIABILITIES
PROVIDED FOR IN THE PLAN, AS OF THE EFFECTIVE DATE OF THE PLAN, EACH AND
ALL OF THE RELEASING PARTIES SHALL BE DEEMED TO CONCLUSIVELY,
ABSOLUTELY, EXPRESSLY, UNCONDITIONALLY, IRREVOCABLY, GENERALLY AND
INDIVIDUALLY AND COLLECTIVELY, RELEASE, AND ACQUITTED EACH AND ALL OF
THE RELEASED PARTIES AND THEIR RESPECTIVE PROPERTY FROM ANY AND ALL
ACTIONS, CLAIMS, EQUITY INTERESTS, OBLIGATIONS, RIGHTS, SUITS, DAMAGES,
CAUSES OF ACTION, REMEDIES AND LIABILITIES WHATSOEVER, INCLUDING ANY
DERIVATIVE CLAIMS ASSERTED OR ASSERTABLE AGAINST OR ON BEHALF OF ANY
OR ALL OF THE RELEASED PARTIES, WHETHER KNOWN OR UNKNOWN, FORESEEN
OR UNFORESEEN, MATURED OR UNMATURED, EXISTING OR HEREAFTER ARISING,
IN LAW, EQUITY, CONTRACT, TORT OR OTHERWISE, BY STATUTE OR OTHERWISE,
THAT SUCH RELEASING PARTY (WHETHER INDIVIDUALLY OR COLLECTIVELY)
EVER HAD, NOW HAS OR HEREAFTER CAN, SHALL OR MAY HAVE, BASED ON OR
RELATING TO, OR IN ANY MANNER ARISING FROM, IN WHOLE OR IN PART, THE
DEBTOR, THE DEBTOR’S LIQUIDATION, THE CHAPTER 11 CASE, THE SUBJECT
MATTER OF, OR THE TRANSACTIONS OR EVENTS GIVING RISE TO, ANY CLAIM OR
INTEREST THAT IS TREATED IN THE PLAN, THE BUSINESS OR CONTRACTUAL
ARRANGEMENTS BETWEEN THE DEBTOR AND ANY RELEASED PARTY, THE
RESTRUCTURING OF CLAIMS AND INTERESTS BEFORE OR DURING THE CHAPTER
11 CASE, INCLUDING THE NEGOTIATION, FORMULATION, PREPARATION OR


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PERFORMANCE OF THE STORE CLOSING SALES, THE IP ASSET SALES, THE PLAN,
THE DISCLOSURE STATEMENT, OR RELATED AGREEMENTS, INSTRUMENTS OR
OTHER DOCUMENTS OR ANY OTHER ACT OR OMISSION, TRANSACTION,
AGREEMENT, EVENT OR OTHER OCCURRENCE TAKING PLACE ON OR BEFORE THE
EFFECTIVE DATE OF THE PLAN RELATING TO THE DEBTOR OR THE DEBTOR’S
ESTATES, EXCEPT FOR ANY CLAIMS AND CAUSES OF ACTION FOR ACTUAL FRAUD,
WILLFUL MISCONDUCT OR GROSS NEGLIGENCE. THE EFFECTIVE DATE OF SUCH
RELEASE AS TO ANY CLAIM SHALL BE THE DATE OF THE FINAL DISTRIBUTION ON
THE CLAIM. FOR THE AVOIDANCE OF DOUBT, THE DEBTOR IS NOT A “RELEASING
PARTY” AND IS NOT RELEASING ANY CLAIMS AGAINST THIRD PARTIES OR THE
STATUTORY INSIDERS.

       10.5 Liabilities to, and Rights of, Governmental Units. Nothing in the Plan or
Confirmation Order shall release, or preclude: (1) any liability to a Governmental Unit that is not a
Claim; (2) any Claim of a Governmental Unit arising on or after the Effective Date; (3) any liability to
a Governmental Unit on the part of any Person or Entity other than the Debtor or Plan Administrator;
(4) any valid right of setoff or recoupment by a Governmental Unit; or (5) any criminal liability.
Nothing in the Plan or Confirmation Order shall enjoin or otherwise bar any Governmental Unit
from asserting or enforcing, outside the Bankruptcy Court, any liability described in the preceding
sentence. The injunction provisions contained in the Plan and Confirmation Order are not intended
and shall not be construed to bar any Governmental Unit from, after the Effective Date, pursuing
any police or regulatory action.

     10.6 Exculpation. EXCEPT AS OTHERWISE SPECIFICALLY PROVIDED IN THE
PLAN, NO EXCULPATED PARTY SHALL HAVE OR INCUR, AND EACH EXCULPATED
PARTY IS HEREBY RELEASED AND EXCULPATED FROM ANY EXCULPATED CLAIM,
OBLIGATION, CAUSE OF ACTION OR LIABILITY FOR ANY EXCULPATED CLAIM,
EXCEPT FOR FRAUD, GROSS NEGLIGENCE OR WILLFUL MISCONDUCT, BUT IN ALL
RESPECTS SUCH ENTITIES SHALL BE ENTITLED TO RAISE ANY AFFIRMATIVE
DEFENSES, INCLUDING REASONABLE RELIANCE UPON THE ADVICE OF COUNSEL
WITH RESPECT TO THEIR DUTIES AND RESPONSIBILITIES PURSUANT TO THE PLAN.
THE DEBTOR (AND ITS RESPECTIVE AFFILIATES, AGENTS, DIRECTORS, OFFICERS,
EMPLOYEES, ADVISORS AND ATTORNEYS) HAVE PARTICIPATED IN GOOD FAITH
AND IN COMPLIANCE WITH THE APPLICABLE LAWS AND PROVISIONS OF THE
BANKRUPTCY CODE WITH REGARD TO THE SOLICITATION OF VOTES AND
TRANSFER OF DEBTOR’S ESTATE ASSETS PURSUANT TO THE PLAN AND,
THEREFORE, ARE NOT, AND ON ACCOUNT OF SUCH TRANSFER SHALL NOT BE,
LIABLE AT ANY TIME FOR THE VIOLATION OF ANY APPLICABLE LAW, RULE OR
REGULATION GOVERNING THE SOLICITATION OF ACCEPTANCES OR REJECTIONS
OF THE PLAN OR THE TRANSFER OF ESTATE ASSETS PURSUANT TO THE PLAN.

     10.7 Injunction. FROM AND AFTER THE EFFECTIVE DATE, EXCEPT AS
OTHERWISE EXPRESSLY PROVIDED IN THE PLAN OR RELATED DOCUMENTS, ALL
ENTITIES ARE PERMANENTLY ENJOINED FROM COMMENCING OR CONTINUING IN
ANY MANNER, ANY CAUSE OF ACTION RELEASED OR TO BE RELEASED PURSUANT
TO THE PLAN OR THE CONFIRMATION ORDER. EXCEPT AS OTHERWISE EXPRESSLY
PROVIDED IN THE PLAN OR RELATED DOCUMENTS, OR IN OBLIGATIONS ISSUED


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PURSUANT TO THE PLAN, ALL ENTITIES WHO HAVE HELD, HOLD OR MAY HOLD
CLAIMS OR EQUITY INTERESTS THAT HAVE BEEN RELEASED PURSUANT TO
SECTION 10.4 OF THE PLAN, OR ARE SUBJECT TO EXCULPATION PURSUANT TO
SECTION 10.6 OF THE PLAN ARE PERMANENTLY ENJOINED, FROM AND AFTER THE
EFFECTIVE DATE, FROM TAKING ANY OF THE FOLLOWING ACTIONS: (1)
COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR OTHER
PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN CONNECTION WITH OR WITH
RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (2) ENFORCING, ATTACHING,
COLLECTING OR RECOVERING BY ANY MANNER OR MEANS ANY JUDGMENT,
AWARD, DECREE OR ORDER AGAINST SUCH ENTITIES ON ACCOUNT OF OR IN
CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (3)
CREATING, PERFECTING OR ENFORCING ANY ENCUMBRANCE OF ANY KIND
AGAINST SUCH ENTITIES OR THE PROPERTY OR ESTATE OF SUCH ENTITIES ON
ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS
OR INTERESTS; (4) ASSERTING ANY RIGHT OF SETOFF, SUBROGATION, OR
RECOUPMENT OF ANY KIND AGAINST ANY OBLIGATION DUE FROM SUCH ENTITIES
OR AGAINST THE PROPERTY OF SUCH ENTITIES ON ACCOUNT OF OR IN
CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS
UNLESS SUCH HOLDER HAS FILED A MOTION REQUESTING THE RIGHT TO
PERFORM SUCH SETOFF ON OR BEFORE THE EFFECTIVE DATE, AND
NOTWITHSTANDING AN INDICATION OF A CLAIM OR INTEREST OR OTHERWISE
THAT SUCH HOLDER ASSERTS, HAS, OR INTENDS TO PRESERVE ANY RIGHT OF
SETOFF PURSUANT TO APPLICABLE LAW OR OTHERWISE; AND (5) COMMENCING
OR CONTINUING IN ANY MANNER ANY ACTION OR OTHER PROCEEDING OF ANY
KIND ON ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH
CLAIMS OR EQUITY INTERESTS RELEASED OR SETTLED PURSUANT TO THE PLAN.

     10.8 FROM AND AFTER THE EFFECTIVE DATE, TO THE EXTENT OF THE
RELEASE AND EXCULPATION GRANTED IN ARTICLE X OF THE PLAN, THE DEBTOR
AND HOLDERS OF CLAIMS OR EQUITY INTERESTS SHALL BE PERMANENTLY
ENJOINED FROM COMMENCING OR CONTINUING IN ANY MANNER AGAINST THE
RELEASED PARTIES AND THE EXCULPATED PARTIES AND THEIR ASSETS AND
PROPERTIES, AS THE CASE MAY BE, ANY SUIT, ACTION OR OTHER PROCEEDING,
ON ACCOUNT OF OR RESPECTING ANY CLAIM, DEMAND, LIABILITY, OBLIGATION,
DEBT, RIGHT, CAUSE OF ACTION, INTEREST OR REMEDY RELEASED OR TO BE
RELEASED PURSUANT TO ARTICLE X OF THE PLAN.

     10.9 THE RIGHTS AFFORDED IN THE PLAN AND THE TREATMENT OF ALL
CLAIMS OR EQUITY INTERESTS HEREIN SHALL BE IN EXCHANGE FOR AND IN
COMPLETE SATISFACTION OF CLAIMS OR EQUITY INTERESTS OF ANY NATURE
WHATSOEVER, INCLUDING ANY INTEREST ACCRUED ON CLAIMS FROM AND AFTER
THE PETITION DATE, AGAINST THE DEBTOR OR ANY OF ITS ASSETS, OR ESTATE
ASSETS. ON THE EFFECTIVE DATE, ALL SUCH CLAIMS AGAINST THE DEBTOR
SHALL BE FULLY RELEASED AND THE EQUITY INTERESTS SHALL BE CANCELLED.
THE EFFECTIVE DATE OF SUCH SATISFACTION AS TO ANY CLAIM SHALL BE THE
DATE OF THE FINAL DISTRIBUTION ON THE CLAIM.



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     10.10 EXCEPT AS OTHERWISE EXPRESSLY PROVIDED FOR HEREIN OR IN
OBLIGATIONS ISSUED PURSUANT HERETO FROM AND AFTER THE EFFECTIVE
DATE, ALL CLAIMS SHALL BE FULLY RELEASED, AND THE INTERESTS SHALL BE
CANCELLED, AND THE DEBTOR’S LIABILITY WITH RESPECT THERETO SHALL BE
EXTINGUISHED COMPLETELY, INCLUDING ANY LIABILITY OF THE KIND SPECIFIED
UNDER SECTION 502(G) OF THE BANKRUPTCY CODE. THE EFFECTIVE DATE OF
SUCH RELEASE AS TO ANY CLAIM SHALL BE THE DATE OF THE FINAL
DISTRIBUTION ON THE CLAIM.

     10.11 ALL ENTITIES SHALL BE PRECLUDED FROM ASSERTING AGAINST THE
DEBTOR, THE DEBTOR’S ESTATE, THE CREDITORS’ COMMITTEE THE PLAN
ADMINISTRATOR, EACH OF THEIR RESPECTIVE SUCCESSORS AND ASSIGNS AND
EACH OF THEIR ASSETS AND PROPERTIES, ANY OTHER CLAIMS OR INTERESTS
BASED UPON ANY DOCUMENTS, INSTRUMENTS OR ANY ACT OR OMISSION,
TRANSACTION OR OTHER ACTIVITY OF ANY KIND OR NATURE THAT OCCURRED
BEFORE THE EFFECTIVE DATE. WITHOUT LIMITING THE GENERALITY OF THE
FOREGOING, ON OR AFTER THE EFFECTIVE DATE, EXCEPT AS OTHERWISE
PROVIDED HEREIN OR IN A PRIOR ORDER OF THE BANKRUPTCY COURT, A CLAIM
MAY NOT BE FILED OR AMENDED WITHOUT THE PRIOR AUTHORIZATION OF THE
BANKRUPTCY COURT OR THE CONSENT OF THE PLAN ADMINISTRATOR. ABSENT
SUCH AUTHORIZATION OR CONSENT, ANY NEW OR AMENDED CLAIM FILED SHALL
BE DEEMED DISALLOWED IN FULL AND EXPUNGED WITHOUT FURTHER ORDER OF
THE BANKRUPTCY COURT.

       10.12 Term of Injunctions or Stays. Unless otherwise provided in the Plan or in the
Confirmation Order, all injunctions or stays in effect in the Chapter 11 case pursuant to sections 105 or
362 of the Bankruptcy Code or any order of the Bankruptcy Court, and extant on the Confirmation Date
(excluding any injunctions or stays contained in the Plan or the Confirmation Order), shall remain in full
force and effect until the Effective Date. All injunctions or stays contained in the Plan or the
Confirmation Order shall remain in full force and effect in accordance with their terms.

        10.13 Compromises and Settlements. Pursuant to Bankruptcy Rule 9019(a), the Debtor may
compromise and settle various (a) Claims against it, and (b) Causes of Action that it may have against
other Persons. The Debtor expressly reserves the right (with Bankruptcy Court approval, following
appropriate notice and opportunity for a hearing) to compromise and settle up to and including the
Effective Date, Claims against it and Causes of Action that it may have against other Persons. After the
Effective Date, such right shall pass exclusively to the Plan Administrator to which such claims shall be
conveyed pursuant to the Plan.

        10.14 Cancellation of Agreements. On the Effective Date, except to the extent of a right to
receive a Distribution under this Plan and as otherwise provided herein, any note, bond, indenture or
other instrument or document evidencing or creating any indebtedness or obligation of the Debtor shall
be deemed automatically cancelled; provided, however, that each agreement that governs the rights of
the Claimholder and that is administered by an agent or a servicer, shall continue in effect solely for the
purposes of allowing such agent or servicer to make the Distributions to be made on account of such
Claims or Equity Interests under the Plan.



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       10.15 Objections to Claims. The failure by the Debtor, Liquidating Debtor or the Plan
Administrator to object to, or examine, any Claim or Equity Interest for purposes of voting shall not be
deemed a waiver of any such entities’ right to object to (to the extent of any Claim that is not expressly
Allowed in the Plan) or reexamine the Claim or Equity Interest in whole or in part for any other purpose,
including but not limited to, distribution of property.

        10.16 Setoff. Notwithstanding anything herein, in no event shall any Claimholder be entitled to
setoff any Claim against any claim, right, or cause of action of the Debtor, unless such Claimholder
preserves its right to set off by (i) including in a timely-filed proof of claim that it intends to preserve
any right of setoff pursuant to section 553 of the Bankruptcy Code or otherwise or (ii) filing a motion for
authority to effect such setoff on or before the Confirmation Date (regardless of whether such motion is
heard prior to or after the Confirmation Date).

                                          ARTICLE XI.
                                     CONDITIONS PRECEDENT

       11.1 Conditions to Confirmation. The following are conditions precedent to confirmation of
the Plan that may be satisfied or waived in accordance with Section 11.3 of the Plan:

       a.      The Plan and Confirmation Order shall be in form and substance reasonably acceptable to
               the Debtor;

       b.      The Plan Supplement shall have been filed;

       c.      The Plan Administrator shall have been selected and shall have indicated his or her
               agreement to serve under the terms of the Plan; and

        11.2 Conditions to Effective Date. The following are conditions precedent to the occurrence
of the Effective Date, each of which may be satisfied or waived in accordance with Section 11.3 of the
Plan:

       a.      The Confirmation Order shall have been entered by the Bankruptcy Court and such
               Confirmation Order and have become a Final Order (unless the Final Order requirement
               is waived by the Debtor); and

       b.      No stay shall be in effect with respect to the Confirmation Order.

        11.3 Waiver of Conditions to Confirmation and Effective Date. The conditions set forth in
Sections 11.1 and 11.2 of the Plan may be waived by the Debtor, without any notice to any other parties
in interest or the Bankruptcy Court and without a hearing. The failure to satisfy or waive any condition
to the Confirmation Date or the Effective Date may be asserted by the Debtor regardless of the
circumstances giving rise to the failure of such condition to be satisfied (including any action or inaction
by the Debtor). The failure of the Debtor to exercise any of the foregoing rights shall not be deemed a
waiver of any other rights, and each such right shall be deemed an ongoing right, which may be asserted
at any time.




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                                        ARTICLE XII.
                                  RETENTION OF JURISDICTION

       12.1 Pursuant to sections 105(a) and 1142 of the Bankruptcy Code, the Bankruptcy Court shall
have exclusive jurisdiction of all matters arising out of, and related to, the Chapter 11 case and the Plan,
including, among other things, the following matters:

       a.      to hear and determine pending motions for the assumption and assignment of or rejection
               of executory contracts or unexpired leases to which the Debtor is a party or with respect
               to which the Debtor may be liable, and to hear and determine the allowance of Claims
               resulting therefrom;

       b.      to adjudicate any and all adversary proceedings, applications and contested matters that
               may be commenced or maintained pursuant to the Chapter 11 case or the Plan, including,
               without limitation, any actions to recover any transfers, assets, properties or damages to
               which the Debtor may be entitled under applicable contract provisions, the provisions of
               this Plan or under applicable provisions of the Bankruptcy Code or any other federal,
               state or local laws;

       c.      to ensure that Distributions to Allowed Claimholders are accomplished as provided
               herein;

       d.      to hear and determine any and all objections to the allowance or estimation of Claims
               filed both before and after the Confirmation Date, including any objections to the
               classification of any Claim or Equity Interest, and to allow or disallow any Claim in
               whole or in part;

       e.      to determine requests for the payment of Claims entitled to priority under section
               507(a)(2) of the Bankruptcy Code, including compensation of and reimbursement of
               expenses of parties entitled thereto;

       f.      to enter and implement such orders as may be appropriate if the Confirmation Order is
               for any reason stayed, revoked, modified or vacated;

       g.      to hear and determine disputes arising in connection with the interpretation,
               implementation or enforcement of the Plan, including disputes arising under agreements,
               documents or instruments executed in connection with the Plan or regarding the rights of
               the Plan Administrator;

       h.      to issue orders in aid of execution, implementation or consummation of the Plan;

       i.      to consider any modifications of the Plan, to cure any defect or omission, or to reconcile
               any inconsistency in any order of the Bankruptcy Court, including, without limitation, the
               Confirmation Order;

       j.      to hear and determine all applications for compensation and reimbursement of
               Professional Claims under the Plan or under sections 330, 331, 503(b), 1103 and
               1129(a)(4) of the Bankruptcy Code;


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       k.      to hear and determine matters concerning state, local and federal taxes in accordance with
               sections 346, 505 and 1146 of the Bankruptcy Code;

       l.      to hear any other matter not inconsistent with the Bankruptcy Code;

       m.      to hear and determine all disputes involving the existence, nature or scope of the releases
               provided for in the Plan;

       n.      to hear and determine any Claims of or against the Debtor;

       o.      to enforce all orders previously entered by the Bankruptcy Court; and

       p.      to enter a final decree closing the Chapter 11 case.

       Notwithstanding anything contained herein to the contrary, the Bankruptcy Court retains
exclusive jurisdiction to hear and determine disputes concerning Claims, Equity Interests, Causes of
Action, Avoidance Actions, Preserved Claims and any motions to compromise or settle such disputes.
Despite the foregoing, if the Bankruptcy Court is determined not to have jurisdiction with respect to the
foregoing, or if the Plan Administrator chooses to pursue any Causes of Action, Avoidance Action, or
Preserved Claim in another court of competent jurisdiction, the Plan Administrator will have authority to
bring such action in any other court of competent jurisdiction.

                            ARTICLE XIII.
  ACCEPTANCE OR REJECTION OF THE PLAN; EFFECT OF REJECTION BY ONE OR
           MORE IMPAIRED CLASSES OF CLAIMS OR INTERESTS

        13.1 Impaired Classes of Claims and Interests Entitled to Vote. Claimholders in each
Impaired Class of Claims are entitled to vote as a class to accept or reject the Plan. The Claims Agent
will tabulate votes on the Plan.

        13.2 Acceptance by an Impaired Class. In accordance with section 1126(c) of the
Bankruptcy Code and except as provided in section 1126(e) of the Bankruptcy Code, an Impaired Class
of Claims shall have accepted the Plan if the Plan is accepted by the holders of at least two-thirds in
dollar amount and more than one-half (½) in number of the Allowed Claims of such Class that have
timely and properly voted to accept or reject the Plan.

        13.3 Presumed Acceptances by Unimpaired Classes. Class 1 Wells Fargo is Unimpaired by
the Plan. Under section 1126(f) of the Bankruptcy Code, Wells Fargo is conclusively presumed to
accept the Plan, and Wells Fargo’s vote will not be solicited.

       13.4 Class Deemed to Reject Plan. Holders of Class 5 Equity Interests will not receive any
Distribution, are not entitled to vote on the Plan and are conclusively presumed to have rejected the Plan
pursuant to section 1126(g) of the Bankruptcy Code.

        13.5 Non-Consensual Confirmation. In the event that less than all Classes entitled to vote to
accept the Plan, the Debtor will seek Confirmation of the Plan under section 1129(b) of the Bankruptcy
Code.



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        13.6 Confirmability and Severability of the Plan. The confirmation requirements of section
1129 of the Bankruptcy Code must be satisfied. A determination by the Bankruptcy Court that the Plan
is not confirmable pursuant to section 1129 of the Bankruptcy Code shall not limit or affect the Debtor’s
ability to modify the Plan to satisfy the confirmation requirements of section 1129 of the Bankruptcy
Code.

                                        ARTICLE XIV.
                                  MISCELLANEOUS PROVISIONS

        14.1 Binding Effect. The Plan shall be binding upon and inure to the benefit of the Debtor, the
Plan Administrator, all present and former Claimholders, all present Interestholders, other parties in
interest and their respective successors and assigns to the fullest extent permitted by section 1141(a) of
the Bankruptcy Code.

       14.2 Modification and Amendments. The Debtor may alter, amend or modify the Plan or
any Exhibits thereto under section 1127(a) of the Bankruptcy Code at any time prior to the Confirmation
Hearing. After the Confirmation Date and prior to the Effective Date, the Debtor, may, under section
1127(b) of the Bankruptcy Code, institute proceedings in the Bankruptcy Court to remedy any defect or
omission or reconcile any inconsistencies in the Plan, the Disclosure Statement or the Confirmation
Order, and such matters as may be necessary to carry out the purposes and effects of the Plan, so long as
such proceedings do not materially adversely affect the treatment of Claimholders or Interestholders
under the Plan; provided, however, that prior notice of such proceedings shall be served in accordance
with the Bankruptcy Rules or order of the Bankruptcy Court. From and after the Effective Date and prior
to substantial consummation of the Plan (as defined in section 1101(2) of the Bankruptcy Code), the
Plan Administrator may seek non-material modification or amendment of the Plan pursuant to this
paragraph.

        14.3 Creditors’ Committee. The Creditors' Committee shall continue in existence until the
Effective Date to exercise those powers and perform those duties specified in section 1103 of the
Bankruptcy Code, and shall perform such other duties as it may have been assigned by the Bankruptcy
Court prior to the Effective Date. From and after the Effective Date, the Creditors’ Committee shall exist
for the sole purposes of: (a) matters relating to any appeals or other challenges or matters with respect to
the Confirmation Order; (b) pursuing the Creditors’ Committee’s Professional Fee Claims; and
(c) appearing before and being heard by the Bankruptcy Court and other courts of competent jurisdiction
in connection with the above duties. Upon the conclusion of the foregoing duties, the Creditors'
Committee shall automatically dissolve and its members, Professionals and agents shall be deemed
released of all their duties, responsibilities and obligations in connection with the Chapter 11 case or the
Plan and its implementation, and the retention or employment of the Creditors’ Committee's attorneys
and other agents shall terminate. All expenses of Creditors' Committee members and the fees and
expenses of their Professionals through the Effective Date shall be paid in accordance with the terms and
conditions of this Plan and any order of the Bankruptcy Court.

       14.4 Causes of Action, Preserved Claims and Avoidance Actions. Unless otherwise
released under a prior Order of the Bankruptcy Court or under the Plan, all Causes of Action, Preserved
Claims and Avoidance Actions are hereby preserved for prosecution and enforcement by the Plan
Administrator. The Plan Administrator shall have no obligation to pursue any Causes of Action,
Preserved Claims or Avoidance Actions.


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       14.5 Substantial Consummation. The Plan shall be deemed to be substantially consummated
on the first date Distributions are made in accordance with the terms of this Plan to any holders of
Allowed Claims of any Class.

       14.6 Revocation, Withdrawal or Non-Consummation Right to Revoke or Withdraw. The
Debtor reserves the right to revoke or withdraw the Plan at any time prior to the Effective Date.

        14.7 Severability of Plan Provisions. If prior to Confirmation any term or provision of this
Plan which does not govern the treatment of Claims or Equity Interests or the conditions to the Effective
Date is held by the Bankruptcy Court to be invalid, void or unenforceable, the Bankruptcy Court shall
have the power to alter and interpret such term or provision to make it valid and enforceable to the
maximum extent practicable, consistent with the original purpose of the term or provision held to be
invalid, void, or unenforceable, and such term or provision shall then be applicable as altered or
interpreted. Notwithstanding any such holding, alteration or interpretation, the remainder of the terms
and provisions of this Plan will remain in full force and effect and will in no way be affected, impaired,
or invalidated by such holding, alteration, or interpretation. The Confirmation Order shall constitute a
judicial determination and shall provide that each term and provision of this Plan, as it may have been
altered or interpreted in accordance with the foregoing, is valid and enforceable pursuant to its terms.

        14.8 U.S. Trustee’s Fees. All fees due and owing under 28 U.S.C. §1930 shall be paid on the
Effective Date and thereafter, as due, until the cases are closed, converted or dismissed and final
decreed, from the Revested Assets. After confirmation, the Liquidating Debtor through the Plan
Administrator will file quarterly reports in the prescribed format for each quarter or part thereof that the
Chapter 11 case remains open.

        14.9 Notices. Pursuant to Bankruptcy Rule 2002 and any applicable local Bankruptcy Rules,
notice of all Post-Effective Date matters for which notice is required to be given shall be deemed
sufficient if served upon the U.S. Trustee's Office, the Plan Administrator, counsel to the Plan
Administrator, and all persons on the Debtor’s Bankruptcy Rule 2002 service list. Any notice required
or permitted to be provided to the Debtor or the Plan Administrator under the Plan shall be in writing
and served by (a) certified mail, return receipt requested, (b) hand delivery, or (c) overnight delivery
service, to be addressed as follows:

       If to the Plan Administrator:

       David Velde
       Velde Moore, LTD
       1118 Broadway
       Alexandria, MN 56308
       dave@veldemoore.com

       with a copy to:

       Jon Brakke
       Caren Stanley
       Vogel Law Firm
       218 NP Ave.



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                                 EXHIBIT A

                            (Administrative Claims)
                                                       Administrative Claims & Priority Tax Claims
                                                                 SCHEDULE E/F                      PROOF OF                                                                          ALLOWED CLAIM
 NO.                         CREDITOR NAME                                      SCHEDULED AMOUNT               DATE POC FILED                                    CLAIM AMOUNT
                                                                  CREDITOR #                       CLAIM NO.                                                                            AMOUNT

ADMINISTRATIVE CLAIMS
  1 B.E. Capital Management Fund LP                                                                   42          3/31/2017                                             $16,124.35      $16,124.35
       (Kash Apparel)
  2 Euler Hermes Agent for Project 28 Clothing                      3.467              $1,896.00     44           3/31/2017                                              $3,557.50      $1,950.00
  3 Cavalini Inc. dba Ci Sono                                       3.112            $171,430.98     233           6/6/2017                                            $177,004.50     $40,362.50
  4 Edgemine Inc.                                                   3.193             $70,182.35     198          5/16/2017                                             $86,166.00     $18,428.50




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  5 Fantas Eyes Inc.                                                3.203             $43,452.63     300          6/30/2017                                            $48,856.78      $13,268.47
      Lozier Corporation                                            3.343             $26,708.34     298         06/29/2017                                            $204,290.18     $14,510.56
  6 Lux Accessories Ltd                                             3.345             $14,997.95     266          6/20/2017                                             $15,622.87     $11,966.62
  7 Poof Apparel                                                    3.455              $9,028.44     205          5/19/2017                                              $5,220.00       $846.00
  8 Rosenthal & Rosenthal Inc.                                                                       135           5/8/2017                                            $146,264.30    $146,264.30
       *Bemine NYC, Inc. ‐ $3,300.00
       *David & Young Group ‐ $2,016.00




                                                                                                                                                Doc 646
       *Fashion Ave Sweater Knits/It's Our Time ‐ $20,400.00
       *GMA Accessories, Inc./Capelli ‐ $25,345.00
       *Jodi Kristopher, LLC/City Triangles ‐ $18,587.25
       *Second Generation BEBOP ‐ $24,913.50
       *Tempted Apparel ‐ $51,702.55




                                                                                                                            Document
                                                                                                                            Filed 04/11/18 Entered 04/11/18 10:07:26
  9 Sun Ban Fashions Inc.                                           3.567              $6,245.01     275          6/22/2017                                              $6,368.90       $3,380.12
PRIORITY TAX CLAIMS
 10 Arkansas: Sebastian County Tax Collector                        2.231                  $0.00     17          03/20/2017                                               $747.08          $186.77
 11 Arkansas: Washington County Tax Collector                       2.285                  $0.00     116         05/01/2017                                               $629.80          $131.19
 12 Colorado: El Paso Treasurer                                                                                                                                           $757.41          $189.35
 13 Colorado: Mesa County Treasurer                                                                                                                                       $511.20          $127.80




                                                                                                                                          Page 32 of 69
 14 Colorado: Pueblo County Treasurer                                                                                                                                    $3,025.66         $756.42
 15 Idaho: Bonneville County Treasurer                               2.19                  $0.00     21          03/20/2017                                               $800.34         $466.87
 16 Idaho: Kootenai County Treasurer                                2.141                  $0.00     210         05/19/2017                                                 $90.75          $22.69
 17 Idaho: Twin Falls County Treasurer                                                                                                                                      $10.40           $2.34
 18 Idaho: Ada County Treasurer                                                                                                                                           $612.38          $153.10
 19 Indiana: Allen County Treasurer                                  2.5                   $0.00     195         05/16/2017                                               $772.80          $225.43
 20 Kansas: Saline County Treasurer                                                                                                                                         $44.60          $11.15
 21 Kansas: Ellis County Treasurer                                                                                                                                        $183.92           $45.98
 22 Michigan: Meridian Charter Township                             2.157                  $0.00     165         05/10/2017                                               $561.10          $140.28
 23 Michigan: City of Sterling Heights                                                                                                                                    $504.84          $126.21
 24 Michigan: City of Sterling Heights                                                                                                                                      $88.81          $22.20
 25 Michigan: Charter Township of Flint                                                                                                                                   $214.50           $53.63


                                                                                                                                                Desc Ma
                                                      Administrative Claims & Priority Tax Claims
                                                                SCHEDULE E/F                      PROOF OF                                                                         ALLOWED CLAIM
NO.                          CREDITOR NAME                                     SCHEDULED AMOUNT               DATE POC FILED                                    CLAIM AMOUNT
                                                                 CREDITOR #                       CLAIM NO.                                                                           AMOUNT

26    Michigan: City of Auburn Hills                                                                                                                                    $977.88         $285.21
27    Michigan: City of Grandville                                                                                                                                     $1,710.37        $427.59
28    Michigan: City of Auburn Hills                                                                                                                                    $527.19         $153.76
29    Michigan: Frenchtown Charter Township                                                                                                                            $1,386.89        $346.72
30    Michigan: Charter Township of Flint                                                                                                                               $126.05           $31.51
31    Missouri: Collector for County of Buchanan                                                                                                                          $48.33          $12.08




                                                                                                                                               Case 17-30112
32    Missouri: Jasper County Collector                                                                                                                                   $65.38          $16.35
33    Missouri: St. Louis County Treasurer                                                                                                                              $288.76           $72.19
34    Missouri: Greene County Treasurer                                                                                                                                 $216.92           $54.23
35    Missouri: Boone County Collector of Revenue                                                                                                                       $752.45         $188.11
36    Missouri: Jackson County Collector                                                                                                                                $604.65         $151.16
37    Missouri: St. Charles Collector of Revenue                                                                                                                       $1,433.66        $358.42
38    Montana: Yellowstone County Treasurer                        2.303                  $0.00     334         08/07/2017                                              $163.09           $47.57




                                                                                                                                               Doc 646
39    Montana: Butte‐Silver Bow Treasurer                                                                                                                               $110.48           $27.62
40    Montana: Missoula County Clerk                                                                                                                                    $216.59           $63.17
41    North Carolina: Guilford County Tax Department                                                                                                                   $2,660.12        $554.10
42    North Carolina: Forsyth County Tax Collector                                                  361            3/5/2018                                            $2,275.22        $461.24
43    North Carolina: Buncombe County Tax Department                                                                                                                   $1,404.15        $292.48




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44    Nebraska: Madison County Treasurer                                                                                                                                  $65.94          $16.49
45    Nebraska: Hall County Treasurer                                                                                                                                   $223.14           $55.79
46    Nebraska: Buffalo County Treasurer                                                                                                                                  $19.38           $4.85
47    Oklahoma: Tulsa County Treasurer                             2.274                  $0.00      55         03/23/2017                                             $1,889.00       $1,889.00
48    Oklahoma County Treasurer                                    2.207                  $0.00      63         04/03/2017                                             $3,031.28       $3,031.28
49    Oklahoma: Tulsa County Treasurer                                                                                                                                 $1,623.00        $405.75




                                                                                                                                         Page 33 of 69
50    Oklahoma: Garfield County Treasurer                                                                                                                              $1,171.00        $292.75
51    Department of the Treasury ‐ Internal Revenue Service         2.12                  $0.00     72          04/10/2017                                             $7,208.74       $1,877.19
52    Tennessee Department of Revenue                              2.263                  $0.00     309         07/03/2017                                            $10,810.00      $10,810.00
53    Tennessee: Montgomery County Trustee                                                                                                                              $220.00           $55.00
54    Tennessee: Murfreesboro City Tax Collector                                                                                                                          $17.00           $4.25
55    Tennessee: Rutherford County Trustee                                                                                                                                $38.00           $9.50
56    Tennessee: Washington County Tax Collector                                                                                                                        $106.12           $26.53
57    Tennessee: Johnson City Recorder                                                                                                                                    $84.00          $21.00
58    Texas: Gregg County                                          2.102                  $0.00 106 and 347      4/24/2017                                             $1,267.93       $1,267.93
                                                                                                                & 11/14/17




                                                                                                                                               Desc Ma
                                                            Administrative Claims & Priority Tax Claims
                                                                      SCHEDULE E/F                       PROOF OF                                                                          ALLOWED CLAIM
 NO.                          CREDITOR NAME                                          SCHEDULED AMOUNT                DATE POC FILED                                    CLAIM AMOUNT
                                                                       CREDITOR #                        CLAIM NO.                                                                            AMOUNT

 59    Texas: Lubbock Central Appraisal District                         2.148                  $0.00    9 and 343     3/10/2017                                               $1,558.46        $389.62
                                                                                                                      & 10/13/17
 60    Texas: Taxing Districts Collected by Potter County                2.217                  $0.00   22 and 344       3/20/17                                               $3,238.09        $809.52
                                                                                                                    & 10/27/2017
 61    Texas: Smith County                                               2.238                  $0.00   28 and 348     3/24/2017                                                $415.06           $86.46
                                                                                                                      & 11/27/17




                                                                                                                                                      Case 17-30112
 62    Texas: Jefferson County                                           2.129                  $0.00   91 and 349     4/17/2017                                               $1,800.08        $450.02
                                                                                                                       & 12/4/17
 63    Texas: Tom Green County Appraisal District                        2.268                  $0.00       196       05/16/2017                                               $1,400.00        $350.00
 64    Texas: Tyler Independent School District                                                         336 and 345    8/18/2017                                                $757.41         $157.77
                                                                                                                       & 11/2/17
 65    Texas: Tyler Independent School District                                                         336 and 345    8/18/2017                                                $757.41         $157.77
                                                                                                                       & 11/2/17




                                                                                                                                                      Doc 646
 66 Texas: Midland Central Appraisal District                                                                                                                                  $1,151.07        $186.01
 67 Washington: Benton County Treasurer                                  2.16                   $0.00      95          04/18/2017                                                $365.20        $240.24
 68 Wisconsin: City of Brookfield                                        2.25                   $0.00      264         06/19/2017                                                $383.50        $383.50
 69 Wisconsin: City of Brookfield                                                                                                                                              $1,737.38        $174.32
 70 Wisconsin: City of Madison Treasurer                                                                   346         11/13/2017                                              $1,562.96        $390.74




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 71 Wisconsin: City of LaCrosse                                                                                                                                                  $681.57        $170.39
 72 Wisconsin: City of Eau Claire                                                                                                                                                $508.12        $148.20
 73 Wisconsin: Brown County Treasurer                                                                                                                                          $1,576.00        $394.00
 74 Wisconsin: City of Wausau                                                                                                                                                    $192.36         $48.09
 75 Wisconsin: Town of Grand Chute                                                                                                                                               $169.17         $42.29
 76 Wisconsin: Village of Greendale, Milwaukee City                                                                                                                              $443.96        $110.99




                                                                                                                                                Page 34 of 69
 77 Wisconsin: Village of Ashwaubenon, Green Bay                                                                                                                               $1,607.52        $401.88
 78 Wisconsin: Fond Du Lac County Treasurer                                                                                                                                      $612.65        $153.16
 79 Wisconsin: City of Janesville                                                                                                                                                $397.04         $99.26
 80 West Virginia: Wood County Treasurer                                                                                                                                       $1,063.30        $265.83
 81 West Virginia: Monongalia County Treasurer                                                                                                                                   $556.81        $278.41
 82 Wyoming: Natrona County Treasurer                                    2.184                  $0.00       12         03/13/2017                                                $224.72         $56.18
 83 Wyoming: Larimore County Treasurer                                                                                                                                           $354.07         $88.52
TOTAL:                                                                                    $343,941.70                                                                        $785,287.59    $297,168.17




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Case 17-30112   Doc 646   Filed 04/11/18 Entered 04/11/18 10:07:26   Desc Main
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                                 EXHIBIT B

            Class 2 (Convenience Class – General Unsecured Claims)
                               Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                  (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                          SCHEDULE E/F                  PROOF OF                                                                          ALLOWED CLAIM
  NO.                   CREDITOR NAME                                  SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                           CREDITOR #                   CLAIM NO.                                                                            AMOUNT
GIFT CARD HOLDERS, EMPLOYEES
    1   Abby Loss                                                   3.1                      214        05/23/2017                                               $30.00           $30.00
    2   Adde Schroader                                           3.501             $19.61                                                                                         $19.61
    3   Alexis Perez                                             3.446             $14.51                                                                                         $14.51
    4   Alfa Arreguin                                             3.51             $15.80                                                                                         $15.80




                                                                                                                                         Case 17-30112
    5   Alicai Harris                                            3.254             $31.93                                                                                         $31.93
    6   Alyssa Sonksen                                           3.530             $32.08                                                                                         $32.08
    7   Amanda D. Ramsey                                            3.1                      115        04/28/2017                                               $25.00           $25.00
    8   Amanda Murphy                                            3.393            $16.04                                                                                          $16.04
    9   Amanda Thibault                                          3.589            $18.14                                                                                          $18.14
   10 Amber Bosset                                                3.86           $116.64                                                                                         $116.64
   11 Anna Gibbs                                                 3.234            $15.80                                                                                          $15.80




                                                                                                                                         Doc 646
   12 Anne Wiedel                                                3.630            $36.76                                                                                          $36.76
   13 Annmarie Downey                                            3.181            $13.18                                                                                          $13.18
   14 Ashleigh Sympson                                           3.572            $13.68                                                                                          $13.68
   15 Ashley Smith                                               3.525           $177.66                                                                                         $177.66
   16 Betha Vandelft                                             3.601            $19.00                                                                                          $19.00




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   17 Brandy Kinney                                              3.323            $16.30                                                                                          $16.30
   18 Breana Levins                                                 3.1                       89        04/13/2017                                               $26.93           $26.93
   19 Brianna Cannon                                             3.106             $10.60                                                                                         $10.60
   20 Britt Sorenson                                             3.531             $12.61                                                                                         $12.61
   21 Brittany Roesch                                               3.1                      209        05/19/2017                                               $42.99           $42.99




                                                                                                                                   Page 36 of 69
   22 Brook Bokowski                                              3.84             $20.00                                                                                         $20.00
   23 Carly Walsh                                                   3.1                      138        05/08/2017                                               $50.00           $50.00
   24 Carol Dahlinger                                            3.162             $16.95                                                                                         $16.95
   25 Cassandra Nguyen                                           3.408             $31.78                                                                                         $31.78
   26 Cassie Hoiness                                                3.1                      216        05/22/2017                                               $75.00           $75.00
   27 Catherine D. Meinke                                           3.1                      176        05/15/2017                                              $100.00          $100.00
   28 Chekila Simmon                                             3.521             $24.08                                                                                         $24.08
   29 Chelsie Canida                                             3.104              $3.80                                                                                          $3.80
   30 Chera Nichols                                                 3.1                      245        06/16/2017                                               $50.00           $50.00
   31 Chera Nichols                                                 3.1                      246        06/16/2017                                               $50.00           $50.00




                                                                                                                                         Desc Ma
                              Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                 (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                         SCHEDULE E/F                  PROOF OF                                                                          ALLOWED CLAIM
NO.                    CREDITOR NAME                                  SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                          CREDITOR #                   CLAIM NO.                                                                            AMOUNT
32    Cindy J Cantero                                              3.1                      276        06/23/2017                                               $42.83           $42.83
33    Corene Gurno                                              3.247             $13.99                                                                                         $13.99
34    Corrin McKegue                                            3.363             $20.00                                                                                         $20.00
35    Courtney Seekins                                          3.508             $48.10                                                                                         $48.10
36    Danielle McClure                                          3.361             $40.04                                                                                         $40.04




                                                                                                                                        Case 17-30112
37    Darala Magpie                                             3.348             $42.49                                                                                         $42.49
38    Desiree Perez                                             3.447             $13.43                                                                                         $13.43
39    Devanna Simpson                                           3.523             $13.03                                                                                         $13.03
40    Domini Roberts                                            3.485             $16.15                                                                                         $16.15
41    Donna Walker                                              3.614             $12.12                                                                                         $12.12
42    Dorrine Gardipee                                             3.1                      231        06/05/2017                                               $50.00           $50.00
43    Dusty Cissell                                             3.134             $31.25                                                                                         $31.25




                                                                                                                                        Doc 646
44    Elizabeth Johnson                                         3.306             $15.70                                                                                         $15.70
45    Elsa Rivera                                               3.482             $19.42                                                                                         $19.42
46    Emily Peterson                                               3.1                      220        05/26/2017                                              $100.00          $100.00
47    Esperan Jaquez                                            3.287             $27.89                                                                                         $27.89
48    Gina M. Pantaleo                                             3.1                       46        03/31/2017                                               $50.00           $50.00




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49    Hanna Shatila                                             3.513             $14.39                                                                                         $14.39
50    Heather Baumgartner                                        3.65             $62.70                                                                                         $62.70
51    Heather Costa                                             3.155             $13.00                                                                                         $13.00
52    Heather Kluck                                             3.324             $16.66                                                                                         $16.66
53    Holly Hasbrouck                                           3.257             $16.10                                                                                         $16.10




                                                                                                                                  Page 37 of 69
54    Holly Nelson                                              3.403             $12.40                                                                                         $12.40
55    Hope Woolf                                                3.640             $10.33                                                                                         $10.33
56    Jackie Timm                                               3.591             $21.09                                                                                         $21.09
57    Jaiden Weston                                             3.628             $59.28                                                                                         $59.28
58    Jamie Reusche                                                3.1                      213        05/22/2017                                              $116.49          $116.49
59    Jammie Ripke                                              3.481             $24.55                                                                                         $24.55
60    Jasmine Scott                                             3.504             $13.29                                                                                         $13.29
61    Je Christopher                                            3.132             $13.35                                                                                         $13.35
62    Jenn Archibald                                             3.50             $14.20                                                                                         $14.20
63    Jennifer Byrd                                             3.101             $23.83                                                                                         $23.83




                                                                                                                                        Desc Ma
                                   Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                      (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                              SCHEDULE E/F                  PROOF OF                                                                            ALLOWED CLAIM
NO.                         CREDITOR NAME                                  SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                               CREDITOR #                   CLAIM NO.                                                                              AMOUNT
64    Jennifer Giampietro                                               3.1                      85         04/10/2017                                               $100.00          $100.00
65    Jennifer Knobock                                                  3.1            $50.00    353        12/27/2017                                                $50.00            $50.00
66    Jessi Hoerth                                                      3.1                      94         04/17/2017                                                $50.00            $50.00
67    Jessi Pfaff                                                    3.450             $26.54                                                                                           $26.54
68    Jessica Hogan                                                  3.266             $54.10                                                                                           $54.10




                                                                                                                                             Case 17-30112
69    Jessica Suitter                                                   3.1                       87        04/11/2017                                              $1,200.00        $1,200.00
70    Joann Bryan                                                     3.98             $8.01                                                                                             $8.01
71    Jocelyn Dorwart                                                3.180            $15.65                                                                                            $15.65
72    Juanita Nelson                                                 3.404           $103.28                                                                                           $103.28
73    Judy Campbell                                                  3.103            $24.22                                                                                            $24.22
74    Judy Quinn                                                     3.471           $107.82                                                                                           $107.82
75    Julia Kubicek                                                     3.1           $45.31     351        12/12/2017                                                $45.31            $45.31




                                                                                                                                             Doc 646
76    Julie Soderlund                                                3.529            $19.03                                                                                            $19.03
77    Kais Kucholick                                                 3.327            $15.49                                                                                            $15.49
78    Kari Myers                                                     3.396            $15.49                                                                                            $15.49
79    Kathleen Schutte                                                  3.1                      289        06/25/2017                                               $100.00           $100.00
80    Katie Harrison                                                 3.255             $16.18                                                                                           $16.18




                                                                                                                         Document
                                                                                                                         Filed 04/11/18 Entered 04/11/18 10:07:26
81    Katie Lipscomb                                                    3.1                      244        06/16/2017                                                $67.33            $67.33
82    Katie Mosgrove                                                 3.384             $21.79                                                                                           $21.79
83    Katie Osweiler                                                    3.1                       65        04/04/2017                                               $100.00           $100.00
84    Katie Rhoden                                                   3.479            $15.88                                                                                            $15.88
85    Katie Rogalla                                                  3.489            $12.62                                                                                            $12.62




                                                                                                                                       Page 38 of 69
86    Kaycee Biggs                                                    3.76           $103.74                                                                                           $103.74
87    Kayci Patterson                                                3.441             $3.18                                                                                             $3.18
88    Kaylon Sellers                                                    3.1                      247        06/18/2017                                                $50.00            $50.00
89    Kelly Sanchez                                                  3.499             $13.00                                                                                           $13.00
90    Kelly Waykins                                                  3.621             $21.38                                                                                           $21.38
91    Kend Bettreudn                                                  3.74             $16.01                                                                                           $16.01
92    Kendal Maxwell                                                 3.359             $13.15                                                                                           $13.15
93    Kileigh Smith                                                  3.526              $8.00                                                                                            $8.00
94    Kimberly Mannon                                                   3.1                      177        05/15/2017                                               $200.00           $200.00
95    Kneessa Booker                                                    3.1                      217        05/24/2017                                                $25.00            $25.00




                                                                                                                                             Desc Ma
                               Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                  (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                          SCHEDULE E/F                  PROOF OF                                                                          ALLOWED CLAIM
NO.                     CREDITOR NAME                                  SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                           CREDITOR #                   CLAIM NO.                                                                            AMOUNT
96    Kris Stankevitz                                            3.538              $7.38                                                                                          $7.38
97    Kristie Baer                                                  3.1                      222        05/30/2017                                               $27.20           $27.20
98    Kristie Binger                                              3.77            $16.50                                                                                          $16.50
99    Lacy Mullins                                               3.389            $64.15                                                                                          $64.15
100   LaRonica M. Tomlinson                                         3.1          $100.00     350         12/9/2017                                              $100.00          $100.00




                                                                                                                                         Case 17-30112
101   Larry Marson                                               3.355            $26.53                                                                                          $26.53
102   Leanna Chapen                                              3.126            $17.31                                                                                          $17.31
103   Les Bumgardner                                             3.100            $26.73                                                                                          $26.73
104   Leslie Young                                               3.643            $26.48                                                                                          $26.48
105   Li Kruckenberg                                             3.325            $21.09                                                                                          $21.09
106   Linda Kefgley                                              3.319            $11.43                                                                                          $11.43
107   Linda Stanley                                              3.539            $26.73                                                                                          $26.73




                                                                                                                                         Doc 646
108   Lindsay N Hackett                                             3.1                      321        07/03/2017                                              $600.00          $600.00
109   Lisa Heavilin                                              3.261             $22.00                                                                                         $22.00
110   Lori Thaodorf                                              3.583             $20.48                                                                                         $20.48
111   Mallory Stubbs                                             3.563             $20.52                                                                                         $20.52
112   Manda Gentry                                               3.232             $16.26                                                                                         $16.26




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113   Manno Becklund                                              3.67             $16.97                                                                                         $16.97
114   Margaret Fornero                                           3.221             $21.44                                                                                         $21.44
115   Megan Shreeve                                              3.519             $25.44                                                                                         $25.44
116   Meghan Hammond                                             3.252             $16.44                                                                                         $16.44
117   Melissa Sapp                                               3.500             $11.64                                                                                         $11.64




                                                                                                                                   Page 39 of 69
118   Michael Davis                                                 3.1                      109        04/24/2017                                               $50.00           $50.00
119   Michael Porter                                             3.458             $32.50                                                                                         $32.50
120   Michelle Johnson                                           3.307             $77.29                                                                                         $77.29
121   Miranda Ferski                                             3.207             $14.98                                                                                         $14.98
122   Neka Gary                                                  3.229             $32.08                                                                                         $32.08
123   Nelda Wilson                                               3.634             $25.00                                                                                         $25.00
124   Nicole Crader                                                 3.1            $50.00    352        12/20/2017                                               $50.00           $50.00
125   Nicole Taylor                                              3.575             $15.88                                                                                         $15.88
126   Nikki Ross                                                 3.490             $32.56                                                                                         $32.56
127   Nyagoa Gony                                                3.238             $48.11                                                                                         $48.11




                                                                                                                                         Desc Ma
                                 Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                    (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                            SCHEDULE E/F                  PROOF OF                                                                          ALLOWED CLAIM
NO.                       CREDITOR NAME                                  SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                             CREDITOR #                   CLAIM NO.                                                                            AMOUNT
128   Olive Deandrea                                               3.169             $17.63                                                                                         $17.63
129   Paige L Holman                                                                           139        05/09/2017                                              $157.50          $157.50
130   Patri Chaffins                                               3.125             $13.66                                                                                         $13.66
131   Peg Gulbranson                                               3.246             $31.78                                                                                         $31.78
132   Rbecc Baertsch                                                3.62             $10.00                                                                                         $10.00




                                                                                                                                           Case 17-30112
133   Rebekah Dye                                                  3.189             $17.14                                                                                         $17.14
134   Rosaline Glover                                              3.235             $12.03                                                                                         $12.03
135   Rosemary Mena                                                3.365             $21.38                                                                                         $21.38
136   S. Hermelbracht                                              3.262             $10.70                                                                                         $10.70
137   Samantha Dresen                                              3.182             $14.22                                                                                         $14.22
138   Sara Buechel                                                  3.99              $3.80                                                                                          $3.80
139   Sarah Davis                                                     3.1                       98        04/20/2017                                               $50.00           $50.00




                                                                                                                                           Doc 646
140   Sarah Fouts                                                  3.223             $15.82                                                                                         $15.82
141   Sarah Halsted                                                   3.1                      215        05/23/2017                                               $50.00           $50.00
142   Sarah Ofarrio                                                3.421             $18.18                                                                                         $18.18
143   Shari Metz                                                   3.367             $91.91                                                                                         $91.91
144   Shaylinn Kaus                                                3.316             $12.28                                                                                         $12.28




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                                                                                                                       Filed 04/11/18 Entered 04/11/18 10:07:26
145   Sheena Nelson                                                3.405             $13.08                                                                                         $13.08
146   Shelby Swanson                                               3.570              $1.90                                                                                          $1.90
147   Sherri Hickman                                               3.263             $21.10                                                                                         $21.10
148   Shonnna Zuber                                                3.645              $8.69                                                                                          $8.69
149   Sindy M. Shanks                                                 3.1                      102        04/21/2017                                               $50.00           $50.00




                                                                                                                                     Page 40 of 69
150   Skylar Obrien                                                3.420             $37.80                                                                                         $37.80
151   Sonika Hamdan                                                3.251             $21.40                                                                                         $21.40
152   Stacey Stormont                                              3.562             $12.17                                                                                         $12.17
153   Stacey Wallace                                               3.615             $13.54                                                                                         $13.54
154   Stepahnie Hallich                                            3.250             $12.40                                                                                         $12.40




                                                                                                                                           Desc Ma
                                 Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                     (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                             SCHEDULE E/F                  PROOF OF                                                                            ALLOWED CLAIM
  NO.                     CREDITOR NAME                                   SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                              CREDITOR #                   CLAIM NO.                                                                              AMOUNT
  155 Stephanie Neuhaus                                             3.407             $32.08                                                                                           $32.08
  156 Tabatha McClure                                                  3.1                      90         04/13/2017                                                $25.00            $25.00
  157 Tara Bergsjo                                                     3.1                      108        04/21/2017                                               $115.00           $115.00
  158 Tiffany Larsen                                                3.332              $6.85                                                                                            $6.85
  159 Tiffany Twohill                                                  3.1                      229        06/02/2017                                               $100.00           $100.00




                                                                                                                                            Case 17-30112
  160 Tracy Powers                                                  3.459             $24.98                                                                                           $24.98
  161 Trista Fowler                                                    3.1                      242        06/14/2017                                                $52.50            $52.50
  162 Whitney McClure                                               3.362              $8.13                                                                                            $8.13
  163 Wintey Shayla                                                 3.515              $1.35                                                                                            $1.35
UTILITY COMPANIES
  164 ALP Utilities                                                  3.34            $713.65                                                                                         $713.65
  165 Ameren Illinois                                                3.35            $519.40     27        03/23/2017                                               $654.14          $654.14




                                                                                                                                            Doc 646
  166 American Electric Power                                        3.37            $654.23                                                                                          $654.23
  167 American Electric Power                                        3.38            $828.17                                                                                          $828.17
  168 Ames Municipal Utilities                                       3.41            $695.59                                                                                         $695.59
  169 Aqua Ohio Inc.                                                 3.49             $11.82                                                                                           $11.82
  170 Ashwaubenon Water & Sewer Utility                              3.54            $135.05                                                                                         $135.05




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  171 Atmos Energy Corporation                                       3.59            $222.63    297        06/29/2017                                               $143.67          $143.67
  172 Baxter, City of                                                3.66             $61.01                                                                                           $61.01
  173 Belmont County Sanitary Sewer District                         3.70             $35.00                                                                                           $35.00
  174 Bemidji Holding, LLC                                           3.71             $82.59                                                                                           $82.59
  175 Benton PUD                                                     3.73            $306.13                                                                                          $306.13




                                                                                                                                      Page 41 of 69
  176 Black Hawk Waste Disp Inc.                                     3.79            $176.55                                                                                         $176.55
  177 Black Hills Energy                                             3.80            $531.25                                                                                         $531.25
  178 Brainerd Public Utilities                                      3.87           $592.15                                                                                          $592.15
  179 Cass County Electric Coop                                     3.111           $454.11                                                                                          $454.11
  180 Cedar Falls Utilities                                         3.114          $1,082.03    208        05/19/2017                                              $1,176.82        $1,176.82
  181 Centerpoint Energy                                            3.115            $269.26                                                                                          $269.26
  182 CenturyTel of Central Missouri dba CenturyLink                                             81        04/10/2017                                                $47.10            $47.10
  183 CenturyTel of Southwest Missouri dba CenturyLink                                           80        04/10/2017                                                $76.49            $76.49
  184 CenturyTel of Wisconsin, LLC dba CenturyLink                  3.122             $36.90     78        04/10/2017                                                 $5.65             $5.65
  185 City of Fergus Falls                                          3.135             $77.00                                                                                           $77.00




                                                                                                                                            Desc Ma
                               Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                   (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                           SCHEDULE E/F                  PROOF OF                                                                          ALLOWED CLAIM
NO.                     CREDITOR NAME                                   SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                            CREDITOR #                   CLAIM NO.                                                                            AMOUNT
186   City of Lima                                                3.136            $19.02                                                                                          $19.02
187   City of Garden City                                         3.227           $352.76     272        06/21/2017                                              $352.76          $352.76
188   City of Kearney Utilities Department                        3.318           $341.80     31         03/27/2017                                              $358.52          $358.52
189   City Water and Light                                        3.139           $409.80     238        06/12/2017                                              $337.99         $337.99
190   Clarksville Department of Electricity                       3.141           $449.23                                                                                        $449.23




                                                                                                                                          Case 17-30112
191   Clarksville Gas & Water                                     3.142            $27.14                                                                                          $27.14
192   Columbia Gas of Ohio                                        3.147            $58.58     263        06/19/2017                                              $140.28          $140.28
193   Colorado Springs Utilities                                  3.146           $131.37                                                                                         $131.37
194   Consumers Energy Company                                    3.151            $56.36      40        03/30/2017                                               $58.06           $58.06
195   Detroit Lakes, City of                                      3.173           $469.57                                                                                         $469.57
196   DTE Energy                                                  3.183           $589.75                                                                                         $589.75
197   Dubuque, City of                                            3.184            $88.59                                                                                          $88.59




                                                                                                                                          Doc 646
198   Duke Energy                                                 3.186           $325.00                                                                                         $325.00
199   Duke Energy Progress                                        3.187           $828.22                                                                                         $828.22
200   Dominion Hope Gas                                           3.179           $276.05     103        04/07/2017                                              $172.16          $172.16
201   Embarq Minnesota, INC dba CenturyLink                                                   82         04/10/2017                                                $4.52            $4.52
202   Empire District                                             3.196            $608.29                                                                                        $608.29




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203   Energy West, Inc.                                           3.197           $292.79      16        03/20/2017                                              $294.10         $294.10
204   Fargo, City of                                              3.205           $341.60                                                                                        $341.60
205   Fort Dodge, City of                                         3.222             $90.62                                                                                         $90.62
206   Grand Island, City of                                       3.241            $700.06                                                                                        $700.06
207   Great Plains Natural Gas Co                                 3.243             $96.37     71        04/10/2017                                               $80.50           $80.50




                                                                                                                                    Page 42 of 69
208   Hays, City of                                               3.258             $36.78                                                                                         $36.78
209   Idaho Falls, City of                                        3.274            $376.77                                                                                        $376.77
210   Idaho Power Corporation                                     3.275            $849.82                                                                                        $849.82
211   Indiana American Water                                      3.277             $43.22     54        04/03/2017                                               $24.31           $24.31
212   Indiana Michigan Power                                      3.278          $1,058.04                                                                                      $1,058.04
213   Intermountain Gas Co.                                       3.280           $162.18      69        04/10/2017                                              $230.80          $230.80
214   Janesville Water & Waste                                    3.286             $93.72                                                                                         $93.72
215   Johnson City Power Board                                    3.304           $589.51                                                                                        $589.51
216   Johnson City Utility                                        3.305             $13.73                                                                                         $13.73
217   Kennewick, City of                                          3.320            $134.81                                                                                        $134.81




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                                 Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                     (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                             SCHEDULE E/F                  PROOF OF                                                                            ALLOWED CLAIM
NO.                      CREDITOR NAME                                    SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                              CREDITOR #                   CLAIM NO.                                                                              AMOUNT
218   KCPL Greater Missouri Corporation Inc.                        3.317           $374.59      32        03/27/2017                                               $555.65          $555.65
219   Lincoln Electric System                                       3.337           $470.68                                                                                          $470.68
220   Logan, City of                                                3.341           $281.48                                                                                          $281.48
221   Madison Gas and Electric                                      3.346            $421.46                                                                                          $421.46
222   Mid‐America Asset Management                                  3.368            $245.14                                                                                          $245.14




                                                                                                                                            Case 17-30112
223   Mid‐Nebraska Disposal                                         3.369             $91.90                                                                                           $91.90
224   MidAmerican Energy Company                                    3.370            $809.74      4        03/17/2017                                               $917.07           $917.07
225   Midwest Energy Inc                                            3.372            $822.27     59        04/03/2017                                               $829.26           $829.26
226   Willmar Municipal Utility                                     3.376            $343.42                                                                                          $343.42
227   Minnesota Energy Resources                                    3.377            $506.58                                                                                          $506.58
228   Mon Power                                                     3.380          $1,219.50                                                                                        $1,219.50
229   Montgomery County Environmental Services                      3.382             $75.19    241        06/14/2017                                               $101.82           $101.82




                                                                                                                                            Doc 646
230   Muncie Sanitary District                                      3.390             $22.38                                                                                           $22.38
231   Municipal Light and Water                                     3.391            $169.89                                                                                          $169.89
232   Murfreesboro Electric Dept.                                   3.392            $492.43     20        03/20/2017                                                $65.37            $65.37
233   Nebraska Public Power District                                3.399          $1,166.87                                                                                        $1,166.87
234   North Dakota Recycling Services, LLC                          3.412             $20.00                                                                                           $20.00




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                                                                                                                        Filed 04/11/18 Entered 04/11/18 10:07:26
235   Northern Electric Coop                                        3.413           $436.13                                                                                          $436.13
236   Northern States Power Company, a Wisconsin                    3.642           $489.27      19        03/20/2017                                               $489.27          $489.27
      Corporation, d/b/a Xcel Energy
237   O'Fallon Water & Sewer                                        3.149             $19.69                                                                                           $19.69
238   Otter Tail Power Company                                      3.436          $1,065.86     36        03/28/2017                                              $1,062.03        $1,062.03




                                                                                                                                      Page 43 of 69
239   Pederson Sanitation Corp                                      3.442             $53.50                                                                                           $53.50
240   Pellitteri Waste Systems                                      3.443             $78.54                                                                                           $78.54
241   Public Service of Colorado A Colorado Corp DBA Xcel           3.642          $4,445.99      1        03/13/2017                                               $381.10          $381.10
      Energy
242   Public Utility Commission                                     3.469           $435.30                                                                                          $435.30
243   Questar Gas Company                                           3.470             $18.16     11        03/13/2017                                                $18.94            $18.94
244   Rocky Mountain Power                                          3.488          $1,409.54                                                                                        $1,409.54
245   Scottsbluff, City of                                          3.504            $888.47                                                                                          $888.47
246   SEMCO Energy                                                  3.509            $103.37     13        03/17/2017                                               $103.37           $103.37
247   SEMCO Energy Gas Co                                           3.509           $103.37      58        03/30/2017                                               $135.55           $135.55




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                                  Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                      (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                              SCHEDULE E/F                  PROOF OF                                                                          ALLOWED CLAIM
  NO.                      CREDITOR NAME                                   SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                               CREDITOR #                   CLAIM NO.                                                                            AMOUNT
  248   St. Cloud, City of                                           3.536             $25.55                                                                                         $25.55
  249   Sterling Heights, City of                                    3.558             $80.81                                                                                         $80.81
  250   Terre Haute, City of                                         3.581             $26.87                                                                                         $26.87
  251   The Energy Cooperative                                       3.585             $60.00                                                                                         $60.00
  252   United Telephone Company of Ohio dba CenturyLink                                          77        04/10/2017                                              $500.39          $500.39




                                                                                                                                             Case 17-30112
  253   United Telephone Company of the West ‐ NE dba                3.123             $76.51     75        04/10/2017                                               $76.91           $76.91
        CenturyLink
  254   United Telephone Southeast ‐ TN dba CenturyLink              3.124           $114.48      76        04/10/2017                                               $87.77           $87.77

 255 Vectren Energy Delivery                                         3.604           $160.87                                                                                        $160.87
 256 Vectren Energy Delivery                                         3.605             $88.94                                                                                         $88.94




                                                                                                                                             Doc 646
 257 Verendrye Electric Coop                                         3.606           $261.44                                                                                        $261.44
 258 Vienna, City of                                                 3.609             $13.57                                                                                         $13.57
 259 Watertown Municipal Utilities                                   3.620           $405.17     235        06/08/2017                                              $501.49          $501.49
 260 WE Energies                                                     3.623          $1,063.71                                                                                      $1,063.71
 261 Williston, City of                                              3.633             $34.40                                                                                         $34.40




                                                                                                                         Document
                                                                                                                         Filed 04/11/18 Entered 04/11/18 10:07:26
 262 Wisconsin Public Service Corporation                            3.637           $817.20     268        05/22/2017                                              $614.66         $614.66
 263 Youngstown Water                                                3.644             $29.87                                                                                         $29.87
MERCHANTS, SERVICE PROVIDERS, AND MISC.
 264 1st Choice Electric Inc.                                           3.4          $270.00                                                                                         $270.00
 265 1st Choice Lock & Security LLC                                     3.5          $325.20      74        04/11/2017                                              $325.20          $325.20




                                                                                                                                       Page 44 of 69
 266 A & A Landscape                                                    3.7          $570.00                                                                                         $570.00
 267 A & G Electric Company                                             3.8          $183.51                                                                                         $183.51
 268 A.C. Klopf, Inc.                                                 3.11           $410.00                                                                                         $410.00
 269 A.T. Klemens                                                     3.13           $124.00                                                                                         $124.00
 270 A‐1 Lock & Key                                                     3.9           $86.51                                                                                          $86.51
 271 A‐1 Sign Co.                                                     3.10           $208.61                                                                                         $208.61
 272 AAA Heating & Sheet Metal                                        3.14           $130.00                                                                                         $130.00
 273 Aaron Parker                                                    3.440           $172.38                                                                                         $172.38
 274 ABM Building Services                                            3.15           $104.50                                                                                         $104.50
 275 AC3 Building Maintenance                                         3.16            $20.00                                                                                          $20.00




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                                 Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                     (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                             SCHEDULE E/F                  PROOF OF                                                                          ALLOWED CLAIM
NO.                      CREDITOR NAME                                    SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                              CREDITOR #                   CLAIM NO.                                                                            AMOUNT
276   Accucool Inc.                                                  3.17            $196.84                                                                                        $196.84
277   Acorn Electrical                                               3.18            $200.00                                                                                        $200.00
278   Advanced Comfort                                               3.21            $125.00                                                                                        $125.00
279   Advanced Contracting                                           3.20            $260.00                                                                                        $260.00
280   Advanced Heating & Air                                         3.22            $138.24                                                                                        $138.24




                                                                                                                                            Case 17-30112
281   Affordable Repair Service                                      3.23            $756.00                                                                                        $756.00
282   AG Cleaning Services                                           3.25             $90.00                                                                                         $90.00
283   Air Controls Billings                                          3.26            $700.19                                                                                        $700.19
284   Aire Serv of Longview                                          3.28            $311.56                                                                                        $311.56
285   AJ Sheet Metal, Inc.                                           3.29            $211.32     15        03/17/2017                                              $211.32          $211.32
286   Alliant Energy                                                 3.32            $739.08                                                                                        $739.08
287   Allied Restaurant Service                                      3.33            $133.75                                                                                        $133.75




                                                                                                                                            Doc 646
288   Ames Lock & Security                                           3.40            $123.05                                                                                        $123.05
289   Amplitel Technologies                                          3.43            $203.11                                                                                        $203.11
290   Anchor Safety, Inc.                                            3.44             $47.36                                                                                         $47.36
291   Andor, Inc.                                                    3.46            $114.79                                                                                        $114.79
292   Appollo Heating and Air Conditioning                           3.48          $1,467.45                                                                                      $1,467.45




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                                                                                                                        Filed 04/11/18 Entered 04/11/18 10:07:26
293   Ask About Windows                                              3.54             $38.00                                                                                         $38.00
294   AT&T ‐ Atlanta, GA                                             3.55            $504.08                                                                                        $504.08
295   AT&T ‐ Atlanta, GA                                             3.58            $738.55                                                                                        $738.55
296   AT&T ‐ Carol Stream, IL                                        3.56            $525.55                                                                                        $525.55
297   AT&T ‐ Carol Stream, IL                                        3.57            $772.94                                                                                        $772.94




                                                                                                                                      Page 45 of 69
298   Auman Company, Inc.                                            3.60            $119.63                                                                                        $119.63
299   Batner Pest Control, Inc.                                      3.64             $19.00                                                                                         $19.00
300   Bekins Fire & Safety                                           3.68             $40.13                                                                                         $40.13
301   Believe Electricians & Equipment Co.                           3.69            $532.43                                                                                        $532.43
302   Big Creek Crossing                                             3.75             $27.00                                                                                         $27.00
303   Biss Lock, Inc.                                                3.78            $218.82                                                                                        $218.82
304   Bob Smith Window Cleaning                                      3.83              $7.34                                                                                          $7.34
305   Bolton Construction                                            3.85            $190.10    93         04/17/2017                                              $190.10          $190.10
306   Boothill Corporation                                                                      279        06/26/2017                                              $614.55          $614.55
307   Brekke Mechanical                                              3.89             $28.19                                                                                         $28.19




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                                Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                   (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                           SCHEDULE E/F                  PROOF OF                                                                            ALLOWED CLAIM
NO.                      CREDITOR NAME                                  SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                            CREDITOR #                   CLAIM NO.                                                                              AMOUNT
308   Brite Way of the Illinois Valley                             3.90             $24.00                                                                                           $24.00
309   Brite Way Professional Window Cleaning                       3.91             $38.52                                                                                           $38.52
310   Brite‐Way Professional Window Cleaning                       3.92             $64.20                                                                                           $64.20
311   Brite‐Way Window Cleaning, Inc.                              3.93           $208.00      64        03/30/2017                                               $208.00          $208.00
312   Brite‐Way Window Cleaning, Inc.                              3.94             $70.00                                                                                           $70.00




                                                                                                                                          Case 17-30112
313   Brite‐Way Window Service                                     3.95             $31.00                                                                                           $31.00
314   Brite‐Way Window Service                                     3.96             $15.00                                                                                           $15.00
315   Callabresi Heating & Cooling                                3.102           $106.25                                                                                          $106.25
316   Cannizzo Electric Inc.                                      3.105           $359.00                                                                                          $359.00
317   Carlson JPM Store Fixtures                                  3.108           $446.04                                                                                          $446.04
318   CE Mitchell + Sons                                          3.113           $150.00     202        04/24/2017                                               $150.00          $150.00
319   Central Fire & Safety                                       3.116             $23.54                                                                                           $23.54




                                                                                                                                          Doc 646
320   Central Heating & Air Conditioning Co.                      3.117           $105.00                                                                                          $105.00
321   Chapman's Mechanical                                        3.127           $205.70                                                                                          $205.70
322   Chappell Central Inc.                                       3.128           $159.82                                                                                          $159.82
323   Chioda Quality Window Cleaning                              3.130             $80.00                                                                                           $80.00
324   Chitty Garbage Service                                      3.131           $317.79                                                                                          $317.79




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325   Cintas Fire Protection                                      3.133           $107.92                                                                                          $107.92
326   Citywide Window Services                                    3.140             $60.04                                                                                           $60.04
327   Clear View Window                                           3.143             $30.00                                                                                           $30.00
328   Clearview Window Washing                                    3.144           $105.00                                                                                          $105.00
329   Cochran Construction                                        3.145           $113.70                                                                                          $113.70




                                                                                                                                    Page 46 of 69
330   Comfort Systems USA                                         3.148           $133.00                                                                                          $133.00
331   Commercial Air & Electric                                   3.149           $140.00                                                                                          $140.00
332   Consolidated Communications                                 3.150             $85.88                                                                                           $85.88
333   Cooper Consulting & Pro Mgmt Inc.                           3.153          $1,162.20    104        04/10/2017                                              $1,162.20        $1,162.20
334   Corporate Mall Services                                     3.154             $97.00                                                                                           $97.00
335   Countwise                                                   3.156            $922.50                                                                                         $922.50
336   CR Lighting & Electric                                      3.157             $94.80                                                                                           $94.80
337   Crossby Brownlie Inc.                                       3.159            $222.48                                                                                         $222.48
338   Crystal Clear Cleaning                                      3.160             $60.00                                                                                           $60.00
339   Curt's Lock & Key Service                                   3.161           $219.33                                                                                          $219.33




                                                                                                                                          Desc Ma
                                  Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                      (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                              SCHEDULE E/F                  PROOF OF                                                                          ALLOWED CLAIM
NO.                       CREDITOR NAME                                    SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                               CREDITOR #                   CLAIM NO.                                                                            AMOUNT
340   Dakota Fire Extinguishers                                      3.163            $35.98                                                                                          $35.98
341   Damian Reiten Construction Inc.                                3.165           $375.00                                                                                         $375.00
342   Dayspring Window Cleaning                                      3.167            $32.38                                                                                          $32.38
343   Deluxe Business Forms                                          3.170            $62.69                                                                                          $62.69
344   Dependable Sanitation                                          3.171            $70.78                                                                                          $70.78




                                                                                                                                             Case 17-30112
345   Dermer Refrigeration, Inc.                                     3.172            $54.00                                                                                          $54.00
346   Diesel Dogs Trucking, LLC                                      3.175           $237.50                                                                                         $237.50
347   Doctor Door                                                    3.178           $240.00      97        04/20/2017                                              $240.00          $240.00
348   Don Slagter                                                    3.524           $265.00                                                                                         $265.00
349   Doug Jenings                                                   3.291            $25.00                                                                                          $25.00
350   Dunn Electrical Service                                        3.188           $155.95                                                                                         $155.95
351   E and H Enterprises of Alexandria, Inc                          3.19            $82.38       5        03/17/2017                                               $82.38           $82.38




                                                                                                                                             Doc 646
352   Edwards Electrical & Mechanical                                3.194           $400.00                                                                                         $400.00
353   Ensley Electrical Services                                     3.198           $313.48                                                                                         $313.48
354   Epoch                                                          3.199           $980.00                                                                                         $980.00
355   Escon Group                                                    3.200           $250.25                                                                                         $250.25
356   Executive Electric                                             3.201           $425.00                                                                                         $425.00




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357   Fargo Vacuum Sales & Service                                   3.204           $273.03     119        05/01/2017                                              $273.03          $273.03
358   Ficek Electric & Communication System                          3.208           $236.93                                                                                         $236.93
359   Fiddelke Heating & Air Conditioning, Inc.                      3.209           $117.70                                                                                         $117.70
360   Fineline Technologies Inc.                                     3.210           $232.11                                                                                         $232.11
361   Fire & Safety Equip III                                        3.212            $38.50                                                                                          $38.50




                                                                                                                                       Page 47 of 69
362   Fire Protection Specialist, LLC                                3.213            $40.09                                                                                          $40.09
363   Fire Suppression Services                                      3.214            $37.80                                                                                          $37.80
364   Fireguard Inc.                                                 3.215           $103.00                                                                                         $103.00
365   Fish Window Cleaning                                           3.216            $63.00                                                                                          $63.00
366   Fish Window Cleaning                                           3.217            $27.82                                                                                          $27.82
367   Fish Window Cleaning                                           3.218            $13.91                                                                                          $13.91
368   Fish Window Cleaning                                           3.219            $20.00      26         3/22/2017                                               $20.00           $20.00
369   Foley Electric Inc                                             3.220           $316.00                                                                                         $316.00
370   Fortney Refrigeration                                          3.223           $199.99                                                                                         $199.99
371   Freedom Electric Inc.                                          3.225           $106.05                                                                                         $106.05




                                                                                                                                             Desc Ma
                                Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                   (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                           SCHEDULE E/F                  PROOF OF                                                                          ALLOWED CLAIM
NO.                     CREDITOR NAME                                   SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                            CREDITOR #                   CLAIM NO.                                                                            AMOUNT
372   Frontier                                                    3.226            $668.50                                                                                        $668.50
373   Gary's Sewer & Drain                                        3.228            $100.00                                                                                        $100.00
374   General Repair Service Co                                   3.231            $200.00                                                                                        $200.00
375   Gering Valley Plumbing                                      3.233            $150.00                                                                                        $150.00
376   GMPC LLC                                                    3.236            $529.20                                                                                        $529.20




                                                                                                                                          Case 17-30112
377   Global Gold, Inc. (Golden Touch)                            3.237          $2,333.73    327        07/17/2017                                              $598.89          $598.89
378   Gonzales Contractors, LLC                                   3.239            $500.00                                                                                        $500.00
379   Goyette Mechanical                                          3.240            $735.00                                                                                        $735.00
380   Granite Telecommunications                                  3.242           $156.24                                                                                         $156.24
381   Greeley Lock and Key                                        3.244            $173.10    232        06/05/2017                                              $178.11          $178.11
382   Grunau Company                                              3.245             $80.44                                                                                         $80.44
383   H. E. Neumann Company                                       3.249            $196.10    322        07/06/2017                                              $832.10          $196.10




                                                                                                                                          Doc 646
384   Harrell‐Fish Inc                                            3.253            $175.00                                                                                        $175.00
385   Harvest Heating & Air Conditioning                          3.256            $188.50                                                                                        $188.50
386   Herman H. Moenkedick                                        3.379             $75.16                                                                                         $75.16
387   Hickory Tech                                                3.264             $70.02                                                                                         $70.02
388   Hindman/Person Heating & Air Conditioning                   3.265             $90.95                                                                                         $90.95




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389   Horton Electric Service                                     3.268            $208.47                                                                                        $208.47
390   Hovland's Inc                                               3.269            $150.87                                                                                        $150.87
391   Howie's Trash Service                                       3.270             $94.96                                                                                         $94.96
392   Hullinger Glass & Locks                                     3.271             $90.42                                                                                         $90.42
393   Integrated Facility Solutions                               3.279            $537.30                                                                                        $537.30




                                                                                                                                    Page 48 of 69
394   J. F. Ahern Co.                                             3.283            $258.50     68        04/07/2017                                              $258.50          $258.50
395   James Kelly's Home Improvements                             3.285            $729.74                                                                                        $729.74
396   JB's Handyman Service                                       3.288             $75.88                                                                                         $75.88
397   JC Security LLC                                             3.289            $165.90    219        05/25/2017                                              $717.15          $165.90
398   JDS Mechanical Inc.                                         3.290            $142.50                                                                                        $142.50
399   Jensen's Handyman & Remodeling                              3.293            $236.73                                                                                        $236.73
400   Jetter Clean, Inc.                                          3.294            $150.00                                                                                        $150.00
401   J‐N‐T Security Services                                     3.282             $40.50                                                                                         $40.50
402   John's Great American Window Cleaning Co.                   3.302             $44.00                                                                                         $44.00
403   John's Heating & A/C                                        3.303            $211.00                                                                                        $211.00




                                                                                                                                          Desc Ma
                                  Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                        (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                                SCHEDULE E/F                  PROOF OF                                                                          ALLOWED CLAIM
NO.                       CREDITOR NAME                                      SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                                 CREDITOR #                   CLAIM NO.                                                                            AMOUNT
404   K.C. Electric Supply                                             3.311           $260.91                                                                                         $260.91
405   Kalins Indoor Comfort Inc.                                       3.312           $246.23                                                                                         $246.23
406   Kanndo Professional Services                                     3.313           $117.70      35        03/28/2017                                              $117.70          $117.70
407   Kevin's Unlimited Service Company                                3.321            $16.25                                                                                          $16.25
408   Kimbro Mechanical                                                3.322           $162.50                                                                                         $162.50




                                                                                                                                               Case 17-30112
409   Kucera Plumbing, Heating, Cooling and Sheet Metal LLC            3.326           $240.33      33        03/27/2017                                              $240.33          $240.33
410   KW Electric Inc.                                                 3.328            $979.19                                                                                        $979.19
411   Kyle J. Sandy                                                    3.329            $240.00     41        03/30/2017                                              $240.00          $240.00
412   Larry's Window Service                                           3.330             $34.98                                                                                         $34.98
413   Larsen Property Services                                         3.331            $358.02                                                                                        $358.02
414   Limeblue                                                         3.336          $1,378.27                                                                                      $1,378.27
415   Lindsay Crystal                                                  3.338            $153.20                                                                                        $153.20




                                                                                                                                               Doc 646
416   Literati Information                                             3.339            $148.40                                                                                        $148.40
417   Lloyd's Window Washing                                           3.340             $96.00                                                                                         $96.00
418   Love By Design By Design L.L.C.                                  3.342            $176.40                                                                                        $176.40
419   Luckinbill Inc.                                                  3.334            $210.00    234        06/07/2017                                              $213.15          $213.15




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420   Malbrit Mechanical Inc.                                          3.350             $90.00                                                                                         $90.00




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421   Manhattan Town Center                                            3.352            $350.00                                                                                        $350.00
422   Marc Brick Inc                                                   3.354            $257.80                                                                                        $257.80
423   Master Electric, Inc                                             3.356            $232.00                                                                                        $232.00
424   Mathison's                                                       3.357            $334.71                                                                                        $334.71
425   Maxsent                                                          3.358            $183.03                                                                                        $183.03




                                                                                                                                         Page 49 of 69
426   MC Electric, Inc.                                                3.360            $391.65                                                                                        $391.65
427   Meister Electric Inc.                                            3.364             $82.00                                                                                         $82.00
428   Metro Waste Services Co                                          3.366             $68.57                                                                                         $68.57
429   Mike's Lock & Key Service                                        3.373            $124.00                                                                                        $124.00
430   Miller Window Service                                            3.374             $65.27    114        04/27/2017                                               $65.27           $65.27
431   Minnkota                                                         3.378            $209.87                                                                                        $209.87
432   Mount's Lock & Key Inc.                                          3.386             $90.00                                                                                         $90.00
433   Mr. Handyman                                                     3.387            $324.00                                                                                        $324.00
434   Mr. Squeegee                                                     3.388             $72.00                                                                                         $72.00
435   Muth Electric Inc.                                               3.394          $1,252.69                                                                                      $1,252.69




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                                 Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                     (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                             SCHEDULE E/F                  PROOF OF                                                                           ALLOWED CLAIM
NO.                      CREDITOR NAME                                    SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                              CREDITOR #                   CLAIM NO.                                                                             AMOUNT
436   National Security Consultant                                  3.397            $101.81                                                                                         $101.81
437   Naylor Heating and Refrigeration                              3.398             $95.44     66        04/05/2017                                                $95.44           $95.44
438   Nebraska Safety and Fire Equipment, Inc.                      3.400             $32.10                                                                                          $32.10
439   Neighborhood Services                                         3.401             $75.00                                                                                          $75.00
440   Nemont                                                        3.406             $98.29                                                                                          $98.29




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441   No Streaking                                                  3.410            $105.44                                                                                         $105.44
442   Noble Locksmith Service                                       3.411             $69.00                                                                                          $69.00
443   Northern Lakes Window Cleaning                                3.414             $29.92                                                                                          $29.92
444   Northwestern Ohio Security Systems, Inc.                      3.416            $119.93                                                                                         $119.93
445   Northwoods Construction of the Iron Range, Inc.               3.417            $328.00                                                                                         $328.00
446   O'Donnell Corporation                                         3.418            $435.00                                                                                         $435.00
447   Oliver Tri County Heating & Air, Inc.                         3.423            $168.50                                                                                         $168.50




                                                                                                                                             Doc 646
448   Olympic IV Mall Services                                      3.424            $106.25                                                                                         $106.25
449   Olympic Mall Services                                         3.425            $111.38                                                                                         $111.38
450   Oneida Realty Company                                         3.427             $10.84                                                                                          $10.84
451   Orkin                                                         3.430            $125.00                                                                                         $125.00
452   Orkin Pest Control                                            3.431             $88.00                                                                                          $88.00




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453   Orkin, Inc.                                                   3.432             $57.97                                                                                          $57.97
454   Orkin, Inc.                                                   3.433            $106.58                                                                                         $106.58
455   Orkin, Inc.                                                   3.434             $55.00                                                                                          $55.00
456   Osteen & Lemmons                                              3.435            $201.20                                                                                         $201.20
457   Overhead Door Company of Webster County                       3.437          $1,049.00                                                                                       $1,049.00




                                                                                                                                       Page 50 of 69
458   Peopleready Inc.                                              3.444            $552.61                                                                                         $552.61
459   Penn Square Mall LLC                                           2.1*            $267.81    125           5/2/2017                                              $267.81          $267.81
460   Pestbusters, Inc.                                             3.448             $48.15                                                                                          $48.15
461   Peters Heating and Air Conditioning Inc.                      3.449            $175.00                                                                                         $175.00
462   Pioneer Sewer & Drain                                         3.451            $140.00                                                                                         $140.00
463   Pither Plumbing                                               3.452            $261.23                                                                                         $261.23
464   Plumbing Perfection, Inc.                                     3.453            $166.26                                                                                         $166.26
465   Pop‐A‐Lock of Tri Cities                                      3.456             $56.94                                                                                          $56.94
466   Popular Basics                                                3.457            $574.23                                                                                         $574.23
467   Precise Filter Service                                        3.460            $195.68                                                                                         $195.68




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                                 Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                     (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                             SCHEDULE E/F                  PROOF OF                                                                          ALLOWED CLAIM
NO.                      CREDITOR NAME                                    SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                              CREDITOR #                   CLAIM NO.                                                                            AMOUNT
468   Precision Glass LLC                                           3.461             $65.00                                                                                         $65.00
469   Precision Locksmithing                                        3.462            $109.72                                                                                        $109.72
470   Premier Mechanical                                            3.464            $276.00                                                                                        $276.00
471   Presto‐X                                                      3.465             $46.43                                                                                         $46.43
472   Professional Fire                                             3.466             $23.93                                                                                         $23.93




                                                                                                                                            Case 17-30112
473   Proshield Fire & Security                                     3.468            $203.73                                                                                        $203.73
474   R&R Window Washing Service                                    3.472             $53.50                                                                                         $53.50
475   R/S Electric Construction                                     3.473          $1,099.67                                                                                      $1,099.67
476   Ralph's Electric Inc                                          3.474            $114.32                                                                                        $114.32
477   Randy's Window Cleaning                                       3.475              $5.00                                                                                          $5.00
478   Rapid Garage Door & Awning                                    3.476            $309.95                                                                                        $309.95
479   Reliable Pest Solutions                                       3.477             $43.91                                                                                         $43.91




                                                                                                                                            Doc 646
480   Richards Heating and Cooling                                  3.481             $84.00     62        04/03/2017                                               $84.00           $84.00
481   Robards Pest Control                                          3.482             $19.42                                                                                         $19.42
482   Robert's Plumbing and Heating Inc.                            3.484             $60.00                                                                                         $60.00
483   Robinson Electric                                             3.486            $115.00                                                                                        $115.00
484   Rockford Heating & Air Conditioning                           3.487            $160.75                                                                                        $160.75




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485   Ron Lepic                                                     3.334             $50.00                                                                                         $50.00
486   Roth Bros., Inc.                                              3.491             $95.00                                                                                         $95.00
487   Runyon Lock Service                                           3.493             $77.04                                                                                         $77.04
488   Ryder Truck Rental, Inc.                                      3.494            $134.12    314        07/01/2017                                              $134.12          $134.12
489   S.V.J. Electric Co., Inc.                                     3.495            $125.70                                                                                        $125.70




                                                                                                                                      Page 51 of 69
490   Sammy Phillips Electric                                       3.498            $154.79                                                                                        $154.79
491   Schwickerts Tecta America, LLC                                3.502            $302.06     30        03/27/2017                                              $302.06          $302.06
492   SCR Inc.                                                      3.505            $211.99                                                                                        $211.99
493   Sean's Window Cleaning                                        3.506             $64.65                                                                                         $64.65
494   Service Cleaning Midtown LLC                                  3.510             $60.00                                                                                         $60.00
495   Service Experts                                               3.511             $69.00                                                                                         $69.00
496   Service Specialists, Inc.                                     3.512            $301.47                                                                                        $301.47
497   Sheet Metal Specialties                                       3.516            $140.00                                                                                        $140.00
498   Shortprinter.com                                              3.518             $66.65                                                                                         $66.65
499   SimplexGrinnell                                               3.522             $72.50    273        06/22/2017                                               $72.50           $72.50




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                                 Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                    (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                            SCHEDULE E/F                  PROOF OF                                                                          ALLOWED CLAIM
NO.                      CREDITOR NAME                                   SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                             CREDITOR #                   CLAIM NO.                                                                            AMOUNT
500   Smithereen Pest                                              3.527            $36.00                                                                                          $36.00
501   Snell Services Inc.                                          3.528           $630.58                                                                                         $630.58
502   Source Refrigeration & HVAC, Inc.                            3.532           $238.61                                                                                         $238.61
503   Southwest Pesticide, Inc.                                    3.533            $92.36                                                                                          $92.36
504   Spearmint Airmasters, Inc. d/b/a/ Airmasters HVAC/R           3.27           $240.00     296        06/29/2017                                              $240.00          $240.00




                                                                                                                                           Case 17-30112
      and Sheet Metal
505   SRT                                                          3.535            $90.51                                                                                          $90.51
506   Staff Electric Co Inc.                                       3.537           $737.98                                                                                         $737.98
507   Sturm Heating & Air Conditioning                             3.564           $138.59                                                                                         $138.59
508   Suburban Electrical/ Engineers, Inc                          3.565           $293.01     270        06/08/2017                                              $293.01          $293.01
509   Summit Companies                                             3.566            $45.00     236        06/09/2017                                               $45.00           $45.00
510   Superior Mechanical                                          3.568           $532.00                                                                                         $532.00




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511   Swiftair                                                     3.571           $684.01                                                                                         $684.01
512   T&M Electric Inc.                                            3.573           $309.09                                                                                         $309.09
513   T.H. Eifert                                                  3.574           $306.25     240        06/14/2017                                              $306.25          $306.25
514   TEC Electric Company                                         3.576           $187.50                                                                                         $187.50
515   Temp Right Service Inc.                                      3.577            $99.00                                                                                          $99.00




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516   Temperature Pros, LLC                                        3.576           $105.00                                                                                         $105.00
517   Terminix Processing Center                                   3.580           $135.31                                                                                         $135.31
518   Terry's Heating & Air Conditioning                           3.582            $48.94                                                                                          $48.94
519   The Steritech Group Inc.                                     3.587            $85.00                                                                                          $85.00
520   The Window Washers                                           3.588            $64.00                                                                                          $64.00




                                                                                                                                     Page 52 of 69
521   Thorne Plumbing, Heating, Air Conditioning Inc.              3.590           $128.72                                                                                         $128.72
522   Total Clean Window                                           3.592            $20.00                                                                                          $20.00
523   Town and Country Electric                                    3.593            $91.80                                                                                          $91.80
524   Tri‐State Fire Extinguisher Company                          3.594            $66.33                                                                                          $66.33
525   Ty the Window Guy                                            3.595            $80.00                                                                                          $80.00
526   Uline                                                        3.596           $457.95                                                                                         $457.95
527   United Team Mechanical                                       3.598           $276.00                                                                                         $276.00
528   Van Ert Electric Company                                     3.600           $186.95                                                                                         $186.95
529   Vanenk Electric, Inc.                                        3.602           $673.55                                                                                         $673.55
530   Vector Security, Inc.                                        3.603            $52.06                                                                                          $52.06




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                                    Class 2 ‐ Convenience Class ‐ General Unsecured Claims under $1,500
                                        (to be paid at 50% of Allowed Claim Amount after the Effective Date of the Plan)
                                                                SCHEDULE E/F                  PROOF OF                                                                             ALLOWED CLAIM
  NO.                       CREDITOR NAME                                    SCHEDULED AMOUNT               DATE POC FILED POC CLAIM AMOUNT
                                                                 CREDITOR #                   CLAIM NO.                                                                               AMOUNT
  531    Verizon                                                       3.608            $68.72                                                                                             $68.72
  532    Village of Greendale                                          3.610            $35.00                                                                                             $35.00
  533    Volar Fashion                                                 3.611         $1,423.80                                                                                          $1,423.80
  534    W.J. Leasea Electric, Inc.                                    3.612           $161.48                                                                                            $161.48
  535    Waldinger Corporation                                         3.613           $622.98                                                                                            $622.98




                                                                                                                                               Case 17-30112
  536    Wash Away All                                                 3.616           $256.20                                                                                            $256.20
  537    Washed White                                                  3.617            $47.08                                                                                             $47.08
  538    We Do Windows                                                 3.622            $60.00                                                                                             $60.00
  539    West Central Sanitation                                       3.624           $255.74                                                                                            $255.74
  540    Western Wyoming Lock                                          3.627           $145.25                                                                                            $145.25
  541    Williams General Construction                                 3.631           $206.43                                                                                            $206.43
  542    Williams Mechanical                                           3.632           $541.19                                                                                            $541.19




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  543    Window Cleaning and Janitorial Service                        3.635            $50.00                                                                                             $50.00
  544    Windstream                                                    3.636           $244.60                                                                                            $244.60
  545    Woodman Refrigeration, Inc.                                   3.638           $123.77                                                                                            $123.77
  546    Woods Electrical Contractors Inc.                             3.639           $292.50                                                                                            $292.50
  547    WSC White Service Company                                     3.641           $135.31                                                                                            $135.31




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TOTAL:                                                                             $106,124.62                                                                        $23,600.77      $105,425.31




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Case 17-30112   Doc 646   Filed 04/11/18 Entered 04/11/18 10:07:26   Desc Main
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                                  EXHIBIT C

                   (Class 3 - Effective Date Unsecured Claims)
                                            Class 3 ‐ Effective Date Unsecured Claims
                                                   SCHEDULE E/F   SCHEDULED     PROOF OF                     POC CLAIM                                      ALLOWED CLAIM
 NO.                        CREDITOR NAME                                                   DATE POC FILED                                                                   STORE #
                                                    CREDITOR #     AMOUNT       CLAIM NO.                     AMOUNT                                           AMOUNT
LANDLORDS AND MALLS ‐ CBL
  1 Ashville Mall CMBS LLC                            2.1*          $4,958.33     181          5/15/2017      $69,416.66                                         $4,958.33    218
  2 Brookfield Square Joint Venture                   2.1*          $5,833.33     194          5/15/2017     $105,688.33                                         $5,833.33    207
  3 Burnsville Center SPE LLC                         2.1*          $6,400.28     192          5/15/2017      $83,203.64                                         $6,400.28    213
  4 CBL/Monroeville LP                                2.1*          $6,629.53     175          5/15/2017      $86,183.89                                         $6,629.53    181
  5 Cherryvale Mall LLC                               2.1*          $4,750.00     188          5/15/2017      $62,170.00                                         $4,750.00    143
  6 Dakota Square Mall CMBS LLC                       2.1*         $16,904.34     187          5/15/2017     $142,926.42                                        $16,247.34     26




                                                                                                                                     Case 17-30112
  7 Frontier Mall Assoc. LP                           2.1*          $6,713.53     186          5/15/2017      $84,274.43                                         $6,713.53    129
  8 Honey Creek Mall LLC                              2.1*         $15,739.89     190          5/15/2017     $130,255.00                                        $15,739.89    271
  9 Janesville Mall LP                                2.1*          $4,583.33     191          5/15/2017      $59,583.33                                         $4,583.33     46
 10 JG Winston‐Salem LLC                              2.1*          $8,496.08     183          5/15/2017     $110,539.12                                         $8,496.08    219
 11 Kirkwood Mall Acquisition LLC                     2.1*         $11,063.22     193          5/15/2017      $80,506.22                                        $10,569.53     4
 12 Layton Hills Mall CMBS LLC                        2.1*          $7,945.38     171          5/15/2017      $21,858.18                                         $7,945.38    94
 13 Madison/East Towne LLC                            2.1*          $9,041.67     189          5/15/2017     $121,063.08                                         $9,041.67    98
 14 Meridian Mall LP                                  2.1*          $6,464.28     182          5/15/2017      $66,287.23                                         $6,011.14     96




                                                                                                                                     Doc 646
 15 Mid Rivers Mall CMBS LLC                          2.1*          $4,770.25     172          5/15/2017      $63,255.37                                         $4,770.25    234
 16 Northpark Mall/Joplin LLC                         2.1*         $12,711.74     174          5/15/2017      $52,338.56                                        $12,711.74    236
 17 Parkdale Crossing CMBS LLC                        2.1*         $15,330.94     184          5/15/2017     $178,342.69                                        $15,330.94    174
 18 South County Shoppingtown LLC                     2.1*         $10,794.70     180          5/15/2017      $19,747.98                                        $10,794.70    235
 19 St. Clair Square SPE LLC                          2.1*          $4,687.50     178          5/15/2017      $60,937.50                                         $4,687.50    141




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LANDLORDS AND MALLS ‐ GGP
 20 Apache Mall LLC                                   2.1*         $22,684.06     161          5/10/2017     $383,010.53                                        $22,684.06    220
 21 Boise Mall LLC                                    2.1*         $13,744.90     163          5/10/2017     $178,473.78                                        $13,744.90     74
 22 Columbia Mall LLC                                 2.1*          $6,667.50     159          5/10/2017     $102,472.80                                         $5,217.72    232
 23 Florence Mall LLC                                 2.1*         $13,127.61     156          5/10/2017     $118,054.77                                        $13,127.61    148
 24 GGP‐Four Seasons LP                               2.1*          $8,151.08     154          5/10/2017      $87,500.50                                         $6,761.50    217
 25 GGP‐Glenbrook LLC                                 2.1*          $1,783.08     144          5/10/2017      $43,303.03                                         $1,783.08    108




                                                                                                                               Page 55 of 69
 26 GGP‐Grandville LLC                                2.1*          $8,689.61     153          5/10/2017     $140,626.84                                         $8,689.61     80
 27 Grand Teton Mall LLC                              2.1*         $13,393.03     145          5/10/2017     $126,696.70                                        $13,393.03     71
 28 Greenwood Mall LLC                                2.1*         $14,917.20     142          5/10/2017     $190,474.44                                        $14,917.20     92
 29 Jordan Creek Town Center LLC                      2.1*         $19,484.56     141          5/10/2017     $250,013.57                                        $18,638.21     73
 30 Lakeside Mall Property LLC                        2.1*          $9,880.46     143          5/10/2017      $79,566.51                                         $6,806.31    145
 31 North Town Mall LLC                               2.1*         $20,769.61     150          5/10/2017      $86,181.60                                        $20,769.61     75
 32 Oak View Mall LLC                                 2.1*         $10,017.80     148          5/10/2017     $128,320.66                                         $9,870.82    221
 33 Oakwood Hills Mall LLC                            2.1*         $14,772.47     149          5/10/2017     $189,518.99                                        $14,772.47    104
 34 PDC‐Eastridge Mall LLC                            2.1*         $13,356.73     157          5/10/2017     $169,092.49                                        $13,356.73    128
 35 River Hills Mall LLC                              2.1*         $15,034.91     147          5/10/2017     $164,814.94                                        $15,034.91     12




                                                                                                                                     Desc Ma
                                             Class 3 ‐ Effective Date Unsecured Claims
                                                    SCHEDULE E/F   SCHEDULED     PROOF OF                     POC CLAIM                                      ALLOWED CLAIM
NO.                     CREDITOR NAME                                                        DATE POC FILED                                                                   STORE #
                                                     CREDITOR #     AMOUNT       CLAIM NO.                     AMOUNT                                           AMOUNT
 36 Spokane Mall LLC                                   2.1*         $14,632.26     152          5/10/2017     $192,325.36                                        $14,632.26     76
 37 St. Cloud Mall LLC                                 2.1*         $24,456.61     160          5/10/2017     $360,884.99                                        $23,970.38     27
 38 Westroads Mall LLC                                 2.1*          $6,308.33     151          5/10/2017      $69,278.15                                         $6,208.33     61
LANDLORDS AND MALLS ‐ SIMON PROPERTY GROUP
 39 Battlefield Mall LLC                               2.1*         $15,403.42     124           5/3/2017     $161,056.16                                        $15,007.64    230
 40 Columbia Mall P'Ship                               2.1*         $15,657.89     128           5/3/2017     $204,931.55                                        $13,637.52    163
 41 Empire Mall, LLC                                   2.1*         $28,250.45     203          5/18/2017     $373,688.33                                        $28,250.45     11




                                                                                                                                      Case 17-30112
 42 Greenwood Park Mall LLC                            2.1*         $17,977.76     123           5/3/2017     $235,760.01                                        $16,207.17    112
 43 Mall at White Oaks LLC                             2.1*          $9,401.93     121           5/3/2017     $132,188.72                                         $8,457.59    202
 44 Simon Capital Limited P'Ship                       2.1*         $14,205.80     133           5/3/2017     $183,300.64                                        $12,831.04    106
 45 Simon Property Group LP                            2.1*         $15,219.47     130           5/3/2017     $199,259.65                                        $13,723.21      2
 46 Simon Property Group LP                            2.1*          $7,964.38     100          4/20/2017      $99,683.20                                         $4,110.64    109
 47 Simon Property Group LP                            2.1*         $13,641.23     122           5/3/2017     $118,452.71                                        $13,141.20    272
 48 Southridge Limited P'Ship                          2.1*          $6,224.49     120           5/3/2017      $68,386.66                                         $5,421.33     48
 49 SPG Independence Ctr. LLC                          2.1*         $26,059.59     126           5/3/2017     $297,212.35                                        $25,328.71     54




                                                                                                                                      Doc 646
 50 Woodland Hills Mall LLC                            2.1*          $9,505.23     127           5/3/2017      $41,189.10                                         $8,656.90    199
LANDLORDS AND MALLS ‐ WASHINGTON PRIME
 51 Dayton Mall II, LLC                                2.1*          $7,650.33     255          6/16/2017      $66,614.59                                         $5,077.33    115
 52 Glimcher MJC LLC                                   2.1*          $9,877.22     254          6/16/2017      $22,669.72                                         $9,877.22     81
 53 Glimcher Northtown Venture LLC                     2.1*         $14,019.07     253          6/16/2017     $180,648.39                                        $13,678.78    212




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 54 Grand Central Parkersburg LLC                      2.1*          $8,830.33     252          6/16/2017      $30,506.12                                         $8,830.33    183
 55 Mall at Great Lakes LLC                            2.1*          $9,041.67     248          6/16/2017     $117,993.79                                         $9,041.67     90
 56 Mall at Lima LLC                                   2.1*         $13,791.19     249          6/16/2017      $94,855.75                                        $13,791.19    116
 57 Mall at Longview, LLC                              2.1*          $6,511.32     110          4/25/2017      $87,415.86                                         $6,511.32    179
 58 Maplewood Mall LLC                                 2.1*         $12,379.93     250          6/16/2017     $160,939.09                                        $12,379.93    226
 59 MFC Beavercreek LLC                                2.1*         $15,625.00     251          6/16/2017      $91,406.25                                        $15,625.00    114
 60 Morgantown Commons LP                              2.1*         $14,038.23     260          6/16/2017      $82,899.26                                        $12,724.30    184




                                                                                                                                Page 56 of 69
 61 Muncie Mall LLC                                    2.1*         $13,985.79     259          6/16/2017     $151,457.68                                        $11,313.95    110
 62 Northwoods Shopping Center LLC                     2.1*          $8,342.97     256          6/16/2017     $109,883.17                                         $8,342.97    203
 63 SM Mesa Mall LLC                                   2.1*         $12,154.93     257          6/16/2017      $97,721.66                                        $12,154.93    167
 64 SM Rushmore Mall LLC                               2.1*         $13,996.42     258          6/16/2017     $181,090.31                                        $13,996.42     18
 65 Southern Park Mall LLC                             2.1*          $7,500.00     265          6/16/2017     $100,125.00                                         $7,500.00    117
 66 West Ridge Mall LLC                                2.1*          $8,034.18     262          6/16/2017     $106,135.14                                         $8,034.18    255
LANDLORDS AND MALLS ‐ MISC.
 67 Amarillo Mall LLC                                  2.1*          $1,414.70     166          5/11/2017      $43,747.99                                         $1,414.70    171
 68 Birchwood Mall LLC                                 2.1*          $4,200.52     287          6/26/2017       $4,559.07                                         $4,200.52    223
 69 C. Michelle Panovich as Court Receiver             2.1*          $4,583.33     243          6/15/2017      $64,421.29                                         $4,583.33     51
 70 Central Mall Realty Holding LLC                    2.1*          $7,719.11     118           5/1/2017     $372,389.29                                         $7,719.11    251




                                                                                                                                      Desc Ma
                                                            Class 3 ‐ Effective Date Unsecured Claims
                                                                    SCHEDULE E/F   SCHEDULED     PROOF OF                     POC CLAIM                                      ALLOWED CLAIM
 NO.                         CREDITOR NAME                                                                   DATE POC FILED                                                                   STORE #
                                                                     CREDITOR #     AMOUNT       CLAIM NO.                     AMOUNT                                           AMOUNT
 71 Colony Square Mall LLC                                             2.1*          $5,967.13     197          5/16/2017      $63,768.24                                         $5,967.13    152
 72 Conestoga Mall 2002 LLC                                            2.1*          $6,976.17     316           7/1/2017      $88,525.33                                         $6,976.17     65
 73 Crossroads Mall 1999 LLC                                           2.1*          $4,662.87     317           7/1/2017      $22,300.63                                         $4,662.87    132
 74 DROP‐HT LLC                                                        2.1*          $5,240.53      8           3/17/2017       $2,148.29                                         $2,148.29     66
 75 Fort Smith Mall LLC                                                2.1*         $11,299.31     167          5/11/2017     $151,720.41                                        $11,299.31    210
 76 Frenchtown Square Partnership                                      2.1*         $27,207.26     225           6/2/2017      $22,874.59                                        $22,874.59    275
 77 Great Plains Clinic Med. Enterpr. LLC                              2.1*          $5,237.23     140           5/9/2017      $69,563.35                                         $5,237.23     19




                                                                                                                                                      Case 17-30112
 78 Greeley Mall CO LLC                                                2.1*          $4,345.50     111          4/25/2017       $4,345.50                                         $4,345.50    166
 79 Hayes Mall LLC                                                     2.1*          $6,028.63      6           3/17/2017       $5,929.89                                         $5,929.89    214
 80 Kennedy Mall Ltd                                                   2.1*         $10,968.40     227           6/2/2017      $10,968.40                                        $10,968.40    138
 81 Macerich South Plains LP                                           2.1*         $11,564.95     310          6/30/2017     $150,477.60                                        $11,564.95    170
 82 Magic Valley Mall LLC                                              2.1*          $7,506.21     294          6/29/2017      $98,761.72                                         $7,279.20    72
 83 Newgate Mall Equities LLC                                          2.1*         $14,823.40     319           7/3/2017     $173,440.80                                        $14,453.40     78
 84 Nodana Petroleum Corp                                              2.1*         $31,648.88     113          4/27/2017      $29,145.00                                        $29,145.00     20
 85 North Platte Assoc. LP                                             2.1*          $3,243.59      7           3/17/2017       $3,725.95                                         $3,243.59     69




                                                                                                                                                      Doc 646
 86 NSP LLC                                                            2.1*          $4,492.74     10           3/21/2017       $4,363.94                                         $4,363.94    68
 87 Ohio Valley Mall Company                                           2.1*         $12,962.40     223           6/2/2017       $8,786.88                                         $8,786.88    100
 88 PR Valley View LP                                                  2.1*         $14,402.60     107          4/24/2017     $160,312.91                                         $2,910.72    105
 89 Quincy Mall Inc.                                                   2.1*          $8,856.35      25          3/22/2017       $8,856.35                                         $8,856.35    147
 90 Rimrock Owner LP                                                   2.1*         $18,299.46     302          6/29/2017     $278,913.46                                        $18,299.46     15




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 91 RPI Turtle Creek Mall LLC                                          2.1*         $10,001.51     286          6/26/2017     $141,602.09                                        $10,001.51    209
 92 Silver Lake Mall LLC                                               2.1*          $6,449.94     288          6/26/2017      $86,733.18                                         $6,449.94     13
 93 Southern Hills Mall LP                                             2.1*         $26,905.51     313          6/30/2017     $403,910.80                                        $21,164.00     28
 94 Star‐West Gateway LLC                                              2.1*         $13,155.84     301          6/29/2017     $291,138.40                                        $13,155.84     60
 95 Taubman Auburn Hills Assoc LP                                      2.1*         $28,291.02     169          5/12/2017     $122,570.08                                        $10,967.20     49
 96 The Marketplace                                                    2.1*          $5,575.00     164          5/10/2017      $55,404.00                                         $5,575.00    185
 97 Urbanical Manhattan Town Center LLC                                2.1*         $11,886.89     218          5/24/2017     $142,642.68                                        $11,886.89    254




                                                                                                                                                Page 57 of 69
MERCHANTS, SERVICE PROVIDERS AND MISC.
 98 AFLAC                                                               3.24         $2,074.00                                                                                   $2,074.00
 99 Alliant Energy                                                      3.31         $2,791.13                                                                                   $2,791.13
100 American Solutions for Business                                     3.39         $3,047.76     204         04/24/2017       $3,118.09                                        $3,118.09
101 Argo Partners (All Seasons Heating & Cooling)                      3.30         $23,844.00                                                                                  $23,844.00
102 Artco Global Group LLC                                             3.52         $11,931.75     29          03/27/2017      $11,926.15                                       $11,926.15
103 B.E. Capital Management Fund LP (Finesse Novelty Corp)             3.211         $5,928.21     24          03/21/2017      $16,206.90                                       $16,206.90
104 BE Capital Management Fund LP, as assignee of Anfield Apparel       3.47       $248,591.88     292                        $249,841.09                                      $249,841.09
    Group, Inc.
105 BBC Apparel Group, LLC c/o Rosenthal & Rosenthal, Inc.             3.308        $63,869.33     137         05/08/2017      $80,536.85                                        $63,869.33




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                                                               Class 3 ‐ Effective Date Unsecured Claims
                                                                      SCHEDULE E/F   SCHEDULED     PROOF OF                     POC CLAIM                                      ALLOWED CLAIM
NO.                          CREDITOR NAME                                                                     DATE POC FILED                                                                   STORE #
                                                                       CREDITOR #     AMOUNT       CLAIM NO.                     AMOUNT                                           AMOUNT
106 Bradford Capital Holding, LP ‐ (Mallory Alexander International      3.351       $138,262.49     237         06/08/2017      $44,132.22                                        $44,132.22
    Logistics NY L.L.C.)
107 Brown & Saenger                                                       3.97         $4,603.44                                                                                   $4,603.44
108 Carmichael International                                             3.109        $90,641.79                                                                                  $90,641.79
109 Cavalini Inc. dba Ci Sono                                            3.112       $171,430.98     233           6/6/2017     $177,004.50                                      $136,642.00
110 Central Temperature Equipment Service Inc.                           3.118         $2,520.21                                                                                   $2,520.21
111 Contempo Limited                                                     3.152        $22,032.05 37 and 340      03/28/2017      $23,519.19                                       $23,519.19




                                                                                                                                                        Case 17-30112
112 CRJ Solutions                                                        3.158         $1,955.46                                                                                   $1,955.46
113 D.L. Morse & Associates, Inc.                                        3.176       $137,033.32      47         04/03/2017      $12,434.40                                       $12,434.40
114 D.L. Morse & Associates, Inc.                                        3.176                        48         04/03/2017      $15,459.40                                       $15,459.40
115 D.L. Morse & Associates, Inc.                                        3.176                        49         04/03/2017      $53,154.20                                       $53,154.20
116 D.L. Morse & Associates, Inc.                                        3.176                        50         04/04/2017       $9,073.62                                        $9,073.62
117 D.L. Morse & Associates, Inc.                                        3.176                        53         04/03/2017      $46,911.70                                       $46,911.70
118 Dakota West Contracting                                              3.164         $1,525.00                                                                                   $1,525.00
119 DLA Company, LLC                                                     3.177        $77,383.00                                                                                  $77,383.00




                                                                                                                                                        Doc 646
120 Ed Grace (S&S Shambaugh)                                             3.495          $970.00      335          8/18/2017        $970.00                                          $970.00
121 Edgemine Inc.                                                        3.193        $70,182.35     198          5/16/2017      $86,166.00                                       $67,737.50
122 Euler Hermes Agent for Finance One, Inc.                                                         43           3/31/2017     $107,700.63                                      $107,700.63
123 Euler Hermes Agent for Project 28 Clothing                           3.467         $1,896.00      44          3/31/2017       $3,557.50                                        $1,607.50
124 Euler Hermes N. A. Agent for Active USA Inc.                          3.19         $2,825.04      45         03/31/2017       $3,060.00                                        $3,060.00




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                                                                                                                                    Filed 04/11/18 Entered 04/11/18 10:07:26
    Claim 000409289
125 Euler Hermes N.A. (Aimee Lynn)                                       3.42          $5,285.53     330         07/19/2017       $5,412.00                                        $5,412.00
126 Euler Hermes N.A. Agent for Bibby Financial Services                 3.88        $185,707.75     277          6/23/2017     $189,895.50                                      $189,895.50
    (Brand Headquarters, LLC)
127 Euler Hermes N.A. Agent for E.L.I.S. LLC                             3.191        $60,237.17     199          5/17/2017      $61,496.50                                       $61,496.50
128 Fantas Eyes Inc.                                                     3.203        $43,452.63     300          6/30/2017      $48,856.78                                        $35,588.31
129 Fashion Forms Ce Soir Lingerie Co. Inc.                              3.206         $2,565.15                                                                                    $2,565.15




                                                                                                                                                  Page 58 of 69
130 General Information Services                                          3.23         $3,559.00     168         05/12/2017       $3,615.00                                         $3,615.00
131 Hana Financial, Inc. (Heart & Hips)                                                              61          04/03/2017      $17,670.00                                        $17,670.00
132 Home Heating‐Plumbing Air Conditioning Inc                           3.267         $1,904.50                                                                                    $1,904.50
133 HYFVE                                                                3.272         $2,088.99                                                                                    $2,088.99
134 Jiangsu GTIG Esen Co., LTD                                           3.295        $32,591.00                                                                                   $32,591.00
135 Jiangsu Guotai Huasheng Industrial Co., Ltd.                         3.296        $95,044.10     206         05/19/2017      $95,206.10                                        $95,044.10
136 Jiangsu Guotai International Group Guomao Co., Ltd                   3.297        $59,065.00     207         05/19/2017      $88,714.53                                        $59,065.00
137 Jjiangsu Sainty Glorious Trade Co., Ltd                              3.298        $89,992.20     212         05/23/2017      $89,992.20                                        $89,992.20
138 Joe Benbasset                                                        3.301        $24,204.97                                                                                   $24,204.97
139 Just Julez Inc.                                                      3.309         $8,367.24      84         04/11/2017       $8,538.00                                         $8,367.24
140 Justin Miller                                                        3.375         $6,400.00                                                                                    $6,400.00




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                                                                  Class 3 ‐ Effective Date Unsecured Claims
                                                                           SCHEDULE E/F      SCHEDULED     PROOF OF                     POC CLAIM                                      ALLOWED CLAIM
NO.                            CREDITOR NAME                                                                           DATE POC FILED                                                                   STORE #
                                                                            CREDITOR #        AMOUNT       CLAIM NO.                     AMOUNT                                           AMOUNT
141   Karndean Designflooring                                                 3.314           $32,293.42                                                                                  $32,293.42
142   Kash Apparel, LLC                                                       3.315          $109,814.88     305         06/30/2017      $82,300.00                                       $82,300.00
143   Latitude, LLC                                                                                          51          04/03/2017      $23,500.00                                       $23,500.00
144   LeVeck Lighting Products and Maintenance                                3.335            $9,259.75     52          04/03/2017      $10,015.61                                       $10,015.61
145   Lux Accessories Ltd                                                     3.345           $14,997.95     266          6/20/2017      $15,622.87                                        $3,656.25
146   Magnetic Media Online                                                   3.347           $11,608.44                                                                                  $11,608.44
147   Majco Apparel Inc.                                                      3.349           $22,844.78      3          03/15/2017      $22,844.78                                       $22,844.78




                                                                                                                                                                Case 17-30112
148   Marco Technologies LLC                                             Schedule G ‐ 2.38                   269         05/22/2017     $125,042.55                                       $41,353.16
149   Midnite Express Incorporated                                            3.371           $34,288.85      39         03/29/2017      $34,288.85                                       $34,288.85
150   Milberg Factors, Inc.                                                                                   88         04/13/2017     $132,152.65                                      $132,152.65
       *Jade Marketing Group, Inc. ‐ $33,612.45
       *Just One ‐ $5,670.00
       *Carole Accessories ‐ $10,030.80
       *Pan Oceanic ‐ $7,846.50
       *KNY Clothing, Inc. dba Lashes ‐ $21,308.50




                                                                                                                                                                Doc 646
       *26 International Inc. ‐ $53,684.40
151   Mood Media North America                                                3.383            $4,690.92     134         05/05/2017       $4,072.15                                        $4,072.15
152   Motive Enterprise Inc.                                                  3.385           $29,917.78                                                                                  $29,917.78
153   Ningbo Seduno Import & Export Co., Ltd.                                 3.409          $134,076.90     211         05/23/2017     $134,076.90                                      $134,076.90
154   One Step Up                                                             3.426            $1,822.32                                                                                   $1,822.23




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155   Oracle America, Inc., Successor in Interest to NetSuite (Oracle)        3.428            $9,811.14     274         06/22/2017       $9,713.89                                        $9,713.89

156   Orion Fashions Inc.                                                     3.429           $18,375.99                                                                                   $18,375.99
157   Palen Kimball, LLC                                                      3.438            $7,218.00     332          7/28/2017       $8,573.76                                         $7,218.00
158   PepperJam                                                               3.445            $5,487.31                                                                                    $5,487.31
159   Pomeroy IT Solutions Sales Company, Inc.                                3.454           $39,125.66     291         06/28/2017      $20,948.56                                        $20,948.56
160   Poof Apparel                                                            3.455            $9,028.44     205          5/19/2017       $5,220.00                                         $4,374.00




                                                                                                                                                          Page 59 of 69
161   Preference Employment Solutions, Inc.                                   3.463            $1,845.16                                                                                    $1,845.16
162   Revere Electric Supply d/b/a Nelson Electric                            3.402           $58,803.82      96         04/19/2017      $58,334.08                                        $58,334.08
163   RGIS, LLC                                                               3.478           $23,851.26     117         05/01/2017      $23,851.26                                        $23,851.26
164   Rosenthal & Rosenthal, Inc.                                                                            136         05/08/2017      $53,234.00                                        $53,234.00
       *GMA Accessories, Inc /Capelli ‐ $7,830.00
       *Jodi Kristopher, LLC/City Triangles ‐ $13,496.40
       *Tempted Apparel Corp ‐ $31,907.60
165   RR Donnelley Logistics Services Worldwide Inc.                          3.492           $15,519.10                                                                                  $15,519.10
166   Shine Imports                                                           3.517            $8,749.64                                                                                   $8,749.64
167   Signorelli, Inc.                                                        3.520            $4,947.43                                                                                   $4,947.43
168   SQA & KC International, S.W.                                            3.534          $117,095.32                                                                                 $117,095.32




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                                                          Class 3 ‐ Effective Date Unsecured Claims
                                                                   SCHEDULE E/F     SCHEDULED     PROOF OF                     POC CLAIM                                      ALLOWED CLAIM
 NO.                        CREDITOR NAME                                                                     DATE POC FILED                                                                   STORE #
                                                                    CREDITOR #       AMOUNT       CLAIM NO.                     AMOUNT                                           AMOUNT
169   Star of India                                                   3.540           $4,611.88                                                                                   $4,611.88
170   Stoosh                                                          3.560           $3,240.00                                                                                   $3,240.00
171   Stored Value Systems, Inc. a division of Comdata Inc.           3.561           $9,469.45     73          04/10/2017       $9,469.45                                        $9,469.45
172   Sun Ban Fashions Inc.                                           3.567           $6,245.01     275          6/22/2017       $6,368.90                                        $2,988.78
173   Suzhou Hengrun Imp & Exp Co                                     3.569          $26,491.80                                                                                  $26,491.80
174   The CIT Group/Commercial Services, Inc.                                                        38         03/29/2017     $155,608.85                                      $155,608.85
       *Ballet Group ‐ $61,632.75




                                                                                                                                                       Case 17-30112
       *East Lion Corp ‐ $2,570.40
       *Famma Group, Inc. ‐ $35,915.10
       *IKEDDI Imports ‐ $4,009.00
       *Kash Apparel ‐ $45,676.60
       *Poof Apparel ‐ $4,008.00
       *Stony Apparel ‐ $1,797.00
 175 TRC Master Fund LLC (R.J. Acquisition, d/b/a The Ad Art          3.584          $58,205.43     329         07/17/2017      $58,205.43                                        $58,205.43
      Company)




                                                                                                                                                       Doc 646
 176 TRC Master Fund LLC (Icon Eyewear)                               3.273          $85,334.66                                                                                  $85,334.66
 177 Tyco Integrated Security, LLC                                                                  60          04/03/2017       $1,664.88                                        $1,664.88
 178 United Parcel Service, Inc.                                      3.597         $198,803.62     318         07/01/2017     $183,000.00                                      $183,000.00
 179 Veritiv Operating Co.                                            3.607           $2,365.00     201         05/08/2017       $2,365.00                                        $2,365.00
 180 UPS Supply Chain Solutions                                       3.599           $3,727.03                                                                                   $3,727.03




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 181 West Coast Trucking, Inc.                                        3.625           $3,005.00                                                                                   $3,005.00
 182 Westcoast Warehousing LLC                                        3.626           $6,414.75                                                                                   $6,414.75
 183 Westman Champlin Koehler                                         3.628           $9,012.90                                                                                   $9,012.90
UTILITY COMPANIES
 184 Ameren Missouri                                                  3.36            $1,603.34     14          03/17/2017       $1,753.41                                         $1,753.41
 185 Avista Utilities                                                 3.61            $1,514.39     320         07/05/2017       $1,631.34                                         $1,631.34
 186 CenturyLink Communications, LLC f/k/a Qwest Communications       3.119           $1,694.72      70         04/10/2017       $2,000.89                                         $2,000.89




                                                                                                                                                 Page 60 of 69
      Company, LLC
 187 City of Peru                                                     3.137           $1,533.16                                                                                    $1,533.16
 188 Dayton Power and Light Company                                   3.168           $1,271.67     293         06/28/2017       $2,298.87                                         $2,298.87
 189 Duke Energy                                                      3.185           $1,695.33                                                                                    $1,695.33
 190 Mon Power                                                        3.380           $1,219.50     325         07/07/2017       $1,214.95                                         $1,214.95
 191 Montana‐Dakota Utilities Co.                                     3.381           $1,411.65     83          04/10/2017       $2,336.70                                         $2,336.70
 192 Northern States Power Company, a Minnesota Corporation,          3.642           $4,445.99     18          03/20/2017      $14,505.46                                        $14,505.46
      d/b/a Xcel Energy
 193 Northwestern Energy                                               3.415          $1,680.50                                                                                    $1,680.50
 194 Ohio Edison                                                       3.422           $944.61      324         07/07/2017        $251.85                                           $251.85
 195 Qwest Corporation dba CenturyLink QC                         3.120 and 3.121     $2,684.99      79         04/10/2017       $3,013.29                                         $3,013.29




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                                           Class 3 ‐ Effective Date Unsecured Claims
                                                  SCHEDULE E/F      SCHEDULED      PROOF OF                       POC CLAIM                                      ALLOWED CLAIM
 NO.                       CREDITOR NAME                                                       DATE POC FILED                                                                     STORE #
                                                   CREDITOR #        AMOUNT        CLAIM NO.                       AMOUNT                                           AMOUNT
 196 The Illuminating Company                         3.586            $585.43       326         07/07/2017            $280.57                                          $280.57
 197 Waste Management                            3.618 and 3.619      $3,216.93      230         06/01/2017          $3,228.95                                        $3,228.95
 198 Wisconsin Power & Light Company                                                 239         06/12/2017          $3,835.51                                        $3,835.51
TOTALS:                                                            $3,980,604.75                                $14,315,702.51                                    $4,247,276.62




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                                              EXHIBIT D

                             (Class 4 - Post-Effective Date Unsecured Claims)




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                                             Class 4 ‐ Post‐Effective Date Unsecured Claims
                                             SCHEDULE E/F                        PROOF OF CLAIM
  NO.                        CREDITOR NAME                  SCHEDULED AMOUNT                      DATE POC FILED   CLAIM AMOUNT                                   DISPUTED CLAIM AMOUNT STORE NO.
                                              CREDITOR #                              NO.
LANDLORD AND MALLS: CBL
    1  Ashville Mall CMBS LLC                   2.1*                 $4,958.33        181             5/15/2017                $69,416.66                                   $64,458.33     218
    2  Brookfield Square Joint Venture          2.1*                 $5,833.33        194             5/15/2017               $105,688.33                                   $99,855.00     207
    3  Burnsville Center SPE LLC                2.1*                 $6,400.28        192             5/15/2017                $83,203.64                                   $76,803.36     213
    4  CBL/Monroeville LP                       2.1*                 $6,629.53        175             5/15/2017                $86,183.89                                   $79,554.36     181
    5  Cherryvale Mall LLC                      2.1*                 $4,750.00        188             5/15/2017                $62,170.00                                   $57,420.00     143
    6  Dakota Square Mall CMBS LLC              2.1*                     $0.00        185             5/15/2017                 $9,451.00                                    $9,451.00     26
    7  Dakota Square Mall CMBS LLC              2.1*                $16,904.34        187             5/15/2017               $142,926.42                                  $126,679.08      26




                                                                                                                                           Case 17-30112
    8  Frontier Mall Assoc. LP                  2.1*                 $6,713.53        186             5/15/2017                $84,274.43                                   $77,560.90     129
    9  Honey Creek Mall LLC                     2.1*                $15,739.89        190             5/15/2017               $130,255.00                                  $114,515.11     271
   10  Janesville Mall LP                       2.1*                 $4,583.33        191             5/15/2017                $59,583.33                                   $55,000.00      46
   11  JG Winston‐Salem LLC                     2.1*                 $8,496.08        183             5/15/2017               $110,539.12                                  $102,043.04     219
   12  Kirkwood Mall Acquisition LLC            2.1*                $11,063.22        193             5/15/2017                $80,506.22                                   $69,936.69       4
   13  Layton Hills Mall CMBS LLC               2.1*                 $7,945.38        171             5/15/2017                $21,858.18                                   $13,912.80      94
   14  Madison/East Towne LLC                   2.1*                 $9,041.67        189             5/15/2017               $121,063.08                                  $112,021.41      98
   15  Meridian Mall LP                         2.1*                 $6,464.28        182             5/15/2017                $66,287.23                                   $60,276.09      96
   16  Mid Rivers Mall CMBS LLC                 2.1*                 $4,770.25        172             5/15/2017                $63,255.37                                   $58,485.12     234




                                                                                                                                           Doc 646
   17  Northpark Mall/Joplin LLC                2.1*                $12,711.74        174             5/15/2017                $52,338.56                                   $39,626.82     236
   18  Oak Park Mall LLC                        2.1*                     $0.00        173             5/15/2017               $165,791.30                                  $165,791.30     249
   19  Parkdale Crossing CMBS LLC               2.1*                $15,330.94        184             5/15/2017               $178,342.69                                  $163,011.75     174
   20  South County Shoppingtown LLC            2.1*                     $0.00        179             5/15/2017               $116,699.77                                  $116,699.77     235
   21  South County Shoppingtown LLC            2.1*                $10,794.70        180             5/15/2017                $19,747.98                                    $8,953.28     235
   22  St. Clair Square SPE LLC                 2.1*                 $4,687.50        178             5/15/2017                $60,937.50                                   $56,250.00     141




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LANDLORD AND MALLS: GGP
   23  Apache Mall LLC                          2.1*                $22,684.06        161             5/10/2017               $383,010.53                                  $360,326.47     220
   24  Bellis Fair Mall LLC                     2.1*                                  162             5/10/2017                 $1,510.50                                    $1,510.50      79
   25  Boise Mall LLC                           2.1*                $13,744.90        163             5/10/2017               $178,473.78                                  $164,728.88      74
   26  Columbia Mall LLC                        2.1*                 $6,667.50        159             5/10/2017               $102,472.80                                   $97,255.08     232
   27  Florence Mall LLC                        2.1*                $13,127.61        156             5/10/2017               $118,054.77                                  $104,927.16     148
   28  Fox River Shopping Center LLC            2.1*                     $0.00        155             5/10/2017                 $5,967.04                                    $5,967.04      47




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   29  Fox River Shopping Center LLC            2.1*                     $0.00        146             5/10/2017               $183,927.95                                  $183,927.95      47
   30  GGP‐Four Seasons LP                      2.1*                 $8,151.08        154             5/10/2017                $87,500.50                                   $80,739.00     217
   31  GGP‐Glenbrook LLC                        2.1*                 $1,783.08        144             5/10/2017                $43,303.03                                   $41,519.95     108
   32  GGP‐Grandville LLC                       2.1*                 $8,689.61        153             5/10/2017               $140,626.84                                  $131,937.23      80
   33  Grand Teton Mall LLC                     2.1*                $13,393.03        145             5/10/2017               $126,696.70                                  $113,303.67      71
   34  Greenwood Mall LLC                       2.1*                $14,917.20        142             5/10/2017               $190,474.44                                  $175,557.24      92
   35  Jordan Creek Town Center LLC             2.1*                $19,484.56        141             5/10/2017               $250,013.57                                  $231,375.36      73
   36  Lakeside Mall Property LLC               2.1*                 $9,880.46        143             5/10/2017                $79,566.51                                   $72,760.20     145
   37  North Town Mall LLC                      2.1*                $20,769.61        150             5/10/2017                $86,181.60                                   $65,411.99      75
   38  Oak View Mall LLC                        2.1*                $10,017.80        148             5/10/2017               $128,320.66                                  $118,449.84     221
   39  Oakwood Hills Mall LLC                   2.1*                $14,772.47        149             5/10/2017               $189,518.99                                  $174,746.52     104
   40  PDC‐Eastridge Mall LLC                   2.1*                $13,356.73        157             5/10/2017               $169,092.49                                  $155,735.76     128
   41  River Hills Mall LLC                     2.1*                $15,034.91        147             5/10/2017               $164,814.94                                  $149,780.03      12
   42  Spokane Mall LLC                         2.1*                $14,632.26        152             5/10/2017               $192,325.36                                  $177,693.10      76




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                                                Class 4 ‐ Post‐Effective Date Unsecured Claims
                                                SCHEDULE E/F                        PROOF OF CLAIM
  NO.                        CREDITOR NAME                     SCHEDULED AMOUNT                      DATE POC FILED   CLAIM AMOUNT                                   DISPUTED CLAIM AMOUNT STORE NO.
                                                 CREDITOR #                              NO.
   43  St. Cloud Mall LLC                          2.1*                $24,456.61        160             5/10/2017               $360,884.99                                  $336,914.61     27
   44  Westroads Mall LLC                          2.1*                 $6,308.33        151             5/10/2017                $69,278.15                                   $63,069.82     61
LANDLORD AND MALLS: SIMON PROPERTY GROUP
   45  Battlefield Mall LLC                        2.1*                $15,403.42        124              5/3/2017           $161,056.16                                      $146,048.52     230
   46  Bloomingdale Court, LLC                     2.1*                    $0.00         295             6/29/2017           $66,000.00                                        $66,000.00     146
   47  Columbia Mall P'Ship                        2.1*                $15,657.89        128              5/3/2017           $204,931.55                                      $191,294.03     167
   48  Empire Mall, LLC                            2.1*                $28,250.45        203             5/18/2017           $373,688.33                                      $345,437.88      11
   49  Greenwood Park Mall LLC                     2.1*                $17,977.76        123              5/3/2017           $235,760.01                                      $219,552.84     112




                                                                                                                                              Case 17-30112
   50  Mall at White Oaks LLC                      2.1*                 $9,401.93        121              5/3/2017           $132,188.72                                      $123,731.13     202
   51  Penn Square Mall, LLC                       2.1*                    $0.00         131              5/3/2017          $112,357.08                                       $112,357.08     288
   52  Simon Capital Limited P'Ship                2.1*                $14,205.80        133              5/3/2017           $183,300.64                                      $170,469.60     106
   53  Simon Property Group (TX) LP                2.1*                     $0.00        101             4/20/2017           $100,012.20                                      $100,012.20     177
   54  Simon Property Group (TX) LP                2.1*                     $0.00         99             4/20/2017           $135,118.44                                      $135,118.44     178
   55  Simon Property Group LP                     2.1*                $15,219.47        130              5/3/2017           $199,259.65                                      $185,536.44      2
   56  Simon Property Group LP                     2.1*                 $7,964.38        100             4/20/2017            $99,683.20                                       $95,572.56     109
   57  Simon Property Group LP                     2.1*                $13,641.23        122              5/3/2017           $118,452.71                                      $105,311.51     272
   58  Southdale Center, LLC                       2.1*                    $0.00         129              5/3/2017           $95,000.04                                        $95,000.04     286




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   59  Southridge Limited P'Ship                   2.1*                 $6,224.49        120              5/3/2017            $68,386.66                                       $62,965.33      48
   60  SPG Independence Ctr. LLC                   2.1*                $26,059.59        126              5/3/2017           $297,212.35                                      $271,883.64      54
   61  Woodland Hills Mall LLC                     2.1*                 $9,505.23        127              5/3/2017            $41,189.10                                       $32,532.20     199
LANDLORD AND MALLS: WASHINGTON PRIME
   62  Bloomingdale Court, LLC                     2.1*                     $0.00        295             6/29/2017                $66,000.00                                   $66,000.00     146
   63  Dayton Mall II, LLC                         2.1*                 $7,650.33        255             6/16/2017                $66,614.59                                   $61,537.26     115




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   64  Glimcher MJC LLC                            2.1*                 $9,877.22        254             6/16/2017                $22,669.72                                   $12,792.50      81
   65  Glimcher Northtown Venture LLC              2.1*                $14,019.07        253             6/16/2017               $180,648.39                                  $166,969.61     212
   66  Grand Central Parkersburg LLC               2.1*                 $8,830.33        252             6/16/2017                $30,506.12                                   $21,675.79     183
   67  Lindale Mall LLC                            2.1*                $11,184.27        261             6/16/2017                $49,261.73                                   $49,261.73     137
   68  Mall at Great Lakes LLC                     2.1*                 $9,041.67        248             6/16/2017               $117,993.79                                  $108,952.12      90
   69  Mall at Lima LLC                            2.1*                $13,791.19        249             6/16/2017                $94,855.75                                   $81,064.56     116
   70  Mall at Longview, LLC                       2.1*                 $6,511.32        110             4/25/2017                $87,415.86                                   $80,904.54     179




                                                                                                                                        Page 64 of 69
   71  Maplewood Mall LLC                          2.1*                $12,379.93        250             6/16/2017               $160,939.09                                  $148,559.16     226
   72  MFC Beavercreek LLC                         2.1*                $15,625.00        251             6/16/2017                $91,406.25                                   $75,781.25     114
   73  Morgantown Commons LP                       2.1*                $14,038.23        260             6/16/2017                $82,899.26                                   $70,174.96     184
   74  Muncie Mall LLC                             2.1*                $13,985.79        259             6/16/2017               $151,457.68                                  $140,143.73     110
   75  Northwoods Shopping Center LLC              2.1*                 $8,342.97        256             6/16/2017               $109,883.17                                  $101,540.20     203
   76  SM Mesa Mall LLC                            2.1*                $12,154.93        257             6/16/2017                $97,721.66                                   $85,566.73     167
   77  SM Rushmore Mall LLC                        2.1*                $13,996.42        258             6/16/2017               $181,090.31                                  $167,093.89      18
   78  Southern Park Mall LLC                      2.1*                 $7,500.00        265             6/16/2017               $100,125.00                                   $92,625.00     117
   79  West Ridge Mall LLC                         2.1*                 $8,034.18        262             6/16/2017               $106,135.14                                   $98,100.96     255
LANDLORD AND MALLS: MISC.
   80  Amarillo Mall LLC                           2.1*                 $1,414.70        166             5/11/2017                      $43,747.99                             $42,333.29     171
   81  Birchwood Mall LLC                          2.1*                 $4,200.52        287             6/26/2017                       $4,559.07                                $358.55     223
   82  C. Michelle Panovich as Court Receiver      2.1*                 $4,583.33        243             6/15/2017                      $64,421.29                             $59,837.96      51
   83  Cache Valley LLC                            2.1*                     $0.00        283             6/26/2017                      $84,102.39                             $84,102.39      88




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                                                  Class 4 ‐ Post‐Effective Date Unsecured Claims
                                                  SCHEDULE E/F                        PROOF OF CLAIM
  NO.                        CREDITOR NAME                       SCHEDULED AMOUNT                      DATE POC FILED   CLAIM AMOUNT                                   DISPUTED CLAIM AMOUNT STORE NO.
                                                   CREDITOR #                              NO.
   84   Central Mall Realty Holding LLC              2.1*                 $7,719.11        118              5/1/2017               $372,389.29                                  $364,670.18     251
   85   Colony Square Mall LLC                       2.1*                 $5,967.13        197             5/16/2017                $63,768.24                                   $57,801.11     152
   86   Conestoga Mall 2002 LLC                      2.1*                 $6,976.17        316              7/1/2017                $88,525.33                                   $81,549.16      65
   87   Crossroads Mall 1999 LLC                     2.1*                 $4,662.87        317              7/1/2017                $22,300.63                                   $17,637.76     132
   88   Fort Smith Mall LLC                          2.1*                $11,299.31        167             5/11/2017               $151,720.41                                  $140,421.10     210
   89   Frenchtown Square Partnership                2.1*                     $0.00        226              6/2/2017                $51,046.80                                   $51,046.80     275
   90   Great Plains Clinic Med. Enterpr. LLC        2.1*                 $5,237.23        140              5/9/2017                $69,563.35                                   $64,326.12      19
   91   Kennedy Mall Ltd                             2.1*                     $0.00        228              6/2/2017               $139,971.89                                  $139,971.89     138




                                                                                                                                                Case 17-30112
   92   Macerich South Plains LP                     2.1*                $11,564.95        310             6/30/2017               $150,477.60                                  $138,912.65     170
   93   Magic Valley Mall LLC                        2.1*                 $7,506.21        294             6/29/2017                $98,761.72                                   $91,482.52      72
   94   Newgate Mall Equities LLC                    2.1*                $14,823.40        319              7/3/2017               $173,440.80                                  $158,987.40      78
   95   North Platte Assoc. LP                       2.1*                 $3,243.59         7              3/17/2017                 $3,725.95                                      $482.36      69
   96   Ohio Valley Mall Company                     2.1*                     $0.00        224              6/2/2017               $107,145.63                                  $107,145.63     100
   97   PR Valley View LP                            2.1*                $14,402.60        107             4/24/2017               $160,312.91                                  $157,402.19     105
   98   Renaissance Partners I LLC                   2.1*                     $0.00        311             6/30/2017               $163,330.99                                  $163,330.99     165
   99   Rimrock Owner LP                             2.1*                $18,299.46        302             6/29/2017               $278,913.46                                  $260,614.00      15
  100 RPI Turtle Creek Mall LLC                      2.1*                $10,001.51        286             6/26/2017               $141,602.09                                  $131,600.58     209




                                                                                                                                                Doc 646
  101 Silver Lake Mall LLC                           2.1*                 $6,449.94        288             6/26/2017                $86,733.18                                   $80,283.24      13
  102 Southern Hills Mall LP                         2.1*                $26,905.51        313             6/30/2017               $403,910.80                                  $382,746.80      28
  103 Southgate Mall Associates LLP                  2.1*                $12,099.91        312             6/30/2017                $51,288.99                                   $51,288.99     126
  104 ST Mall Owner LLC                              2.1*                     $0.00        307             6/30/2017                $88,282.22                                   $88,282.22     122
  105 Star‐West Gateway LLC                          2.1*                $13,155.84        301             6/29/2017               $291,138.40                                  $277,982.56      60
  106 Taubman Auburn Hills Assoc LP                  2.1*                $28,291.02        169             5/12/2017               $122,570.08                                  $111,602.88      49




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  107 Taubman Auburn Hills Assoc LP                  2.1*                     $0.00        170             5/12/2017                 $9,105.18                                    $9,105.18      49
  108 The Marketplace                                2.1*                 $5,575.00        164             5/10/2017                $55,404.00                                   $49,829.00     185
  109 Urbanical Manhattan Town Center LLC            2.1*                $11,886.89        218             5/24/2017               $142,642.68                                  $130,755.79     254
TAXING AUTHORITY CLAIMS
  110 Arkansas: Sebastian County Tax Collector       2.231                    $0.00        17            03/20/2017                       $747.08                                   $560.31     210
  111 Arkansas: Washington County Tax Collector      2.285                    $0.00        116           05/01/2017                       $629.80                                   $498.61     209
  112 Colorado: El Paso County Treasurer                                                                                                  $757.41                                   $568.06     164




                                                                                                                                          Page 65 of 69
  113 Colorado: Mesa County Treasurer                                                                                                     $511.20                                   $383.40     167
  114 Colorado: Pueblo County Treasurer                                                                                                 $3,025.66                                 $2,269.25     165
  115 Idaho: Bonneville County Treasurer              2.19                    $0.00         21           03/20/2017                       $800.34                                   $333.48      71
  116 Idaho: Kootenai County Treasurer               2.141                    $0.00        210           05/19/2017                        $90.75                                    $68.06      13
  117 Idaho: Twin Falls County Treasurer                                                                                                   $10.40                                     $8.06     72
  118 Idaho: Ada County Treasurer                                                                                                         $612.38                                   $459.29      74
  119 Illinois Dept. of Employment Security          2.111                    $0.00        362                                          3/6/2018                                    $100.00
  120 Indiana: Allen County Treasurer                 2.5                     $0.00        195           05/16/2017                       $772.80                                   $547.37     108
  121 Indiana: County of Dubois                      2.67                     $0.00        200                                        05/15/2017                                  $1,896.67
  122 Kansas: Saline County Treasurer                                                                                                      $44.60                                    $33.45     251
  123 Kansas: Ellis County Treasurer                                                                                                      $183.92                                   $137.94     214
  124 Louisiana Dept of Revenue                                                                                                                                                  $14,195.67
  125 Michigan: Meridian Charter Township            2.157                    $0.00        165           05/10/2017                                        $561.10                  $420.83     96
  126 Michigan: City of Sterling Heights                                                                                                                   $504.84                  $378.63     145




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                                                              Class 4 ‐ Post‐Effective Date Unsecured Claims
                                                              SCHEDULE E/F                        PROOF OF CLAIM
NO.                          CREDITOR NAME                                   SCHEDULED AMOUNT                      DATE POC FILED   CLAIM AMOUNT                                   DISPUTED CLAIM AMOUNT STORE NO.
                                                               CREDITOR #                              NO.
127   Michigan: City of Sterling Heights                                                                                                               $88.81                                    $66.61     145
128   Michigan: Charter Township of Flint                                                                                                             $214.50                                   $160.88     276
129   Michigan: City of Auburn Hills                                                                                                                  $977.88                                   $692.67      49
130   Michigan: City of Grandville                                                                                                                  $1,710.37                                 $1,282.78      80
131   Michigan: City of Auburn Hills                                                                                                                  $527.19                                   $373.43      49
132   Michigan: Frenchtown Charter Township                                                                                                         $1,386.89                                 $1,040.17     275
133   Michigan: Charter Township of Flint                                                                                                             $126.05                                    $94.54     276
134   Missouri: Collector for County of Buchanan                                                                                                       $48.33                                    $36.25     233




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135   Missouri: Jasper County Collector                                                                                                                $65.38                                    $49.04     236
136   Missouri: St. Louis County Treasurer                                                                                                            $288.76                                   $216.57     235
137   Missouri: Greene County Treasurer                                                                                                               $216.92                                   $162.69     230
138   Missouri: Boone County Collector of Revenue                                                                                                     $752.45                                   $564.34     232
139   Missouri: Jackson County Collector                                                                                                              $604.65                                   $453.49      54
140   Missouri: St. Charles Collector of Revenue                                                                                                    $1,433.66                                 $1,075.25     234
141   Montana: Yellowstone County Treasurer                      2.303                    $0.00        334           08/07/2017                       $163.09                                   $115.52      15
142   Montana: Butte‐Silver Bow Treasurer                                                                                                             $110.48                                    $82.86     35
143   Montana: Missoula County Clerk                                                                                                                  $216.59                                   $153.42     126




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144   North Carolina: Guilford County Tax Department                                                                                                $2,660.12                                 $2,106.02     217
145   North Carolina: Forsyth County Tax Collector                                                     361              3/5/2018                    $2,275.22                                 $1,813.98     219
146   North Carolina: Buncombe County Tax Department                                                                                                $1,404.15                                 $1,111.67     218
147   Nebraska: Madison County Treasurer                                                                                                               $65.94                                    $49.46      68
148   Nebraska: Hall County Treasurer                                                                                                                 $223.14                                   $167.36      65
149   Nebraska: Buffalo County Treasurer                                                                                                               $19.38                                    $14.54      66




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150   New Mexico: Taxation & Revenue Department                  1.191                    $0.00        278                                        06/23/2017                                    $209.27
151   New Mexico: Taxation & Revenue Department                  2.191                    $0.00        278                                        06/23/2017                                    $163.69
152   New York: Worker's Compensation Board                                                                                                                                                     $513.67
153   Ohio: State of Ohio                                                                                                                                                                     $2,667.35
154   Ohio: Regional Income Tax Agency                                                                                                                                                          $242.95
155   Oklahoma: Tulsa County Treasurer                                                                                                                       $1,623.00                        $1,217.25     199
156   Oklahoma: Garfield County Treasurer                                                                                                                    $1,171.00                          $878.25




                                                                                                                                                      Page 66 of 69
157   Department of the Treasury ‐ Internal Revenue Service      2.12                     $0.00        72            04/10/2017                              $7,208.74                        $5,331.56     199
158   Tennessee Department of Revenue                            2.263                    $0.00        309           07/03/2017                       $10,810.00                                            190
159   Tennessee: Montgomery County Trustee                                                                                                               $220.00                               $165.00
160   Tennessee: Murfreesboro City Tax Collector                                                                                                          $17.00                                 $12.75
161   Tennessee: Rutherford County Trustee                                                                                                                $38.00                                 $28.50     83
162   Tennessee: Washington County Tax Collector                                                                                                        $106.12                                  $79.59     82
163   Tennessee: Johnson City Recorder                                                                                                                    $84.00                                 $63.00     82
164   Texas: Lubbock Central Appraisal District                  2.148                    $0.00     9 and 343         3/10/2017                        $1,558.46                              $1,168.85     81
                                                                                                                     & 10/13/17
165   Texas: Taxing Districts Collected by Potter County         2.217                    $0.00    22 and 344           3/20/17                              $3,238.09                        $2,428.57     81
                                                                                                                   & 10/27/2017
166   Texas: Smith County                                        2.238                    $0.00    28 and 348         3/24/2017                                        $415.06                  $328.60     179
                                                                                                                     & 11/27/17




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                                                                 Class 4 ‐ Post‐Effective Date Unsecured Claims
                                                                 SCHEDULE E/F                        PROOF OF CLAIM
  NO.                          CREDITOR NAME                                    SCHEDULED AMOUNT                      DATE POC FILED   CLAIM AMOUNT                                   DISPUTED CLAIM AMOUNT STORE NO.
                                                                  CREDITOR #                              NO.
  167   Texas: Jefferson County                                     2.129                    $0.00    91 and 349         4/17/2017                              $1,800.08                        $1,350.06     170
                                                                                                                         & 12/4/17
  168   Texas: El Paso County Treasurer                             2.271                    $0.00         92           04/17/2017                              $1,153.06                        $1,153.06
  169   Texas: Tom Green County Appraisal District                  2.268                    $0.00        196           05/16/2017                              $1,400.00                        $1,050.00     173
  170   Texas: Tyler Independent School District                                                      336 and 345        8/18/2017                               $757.41                          $599.64      178
                                                                                                                         & 11/2/17
  171   Texas: Midland Central Appraisal District                                                                                                               $1,151.07                          $965.06     176
  172   US Customs Service                                                                                                                                                                     $180,367.00




                                                                                                                                                               Case 17-30112
  173   Washington: Benton County Treasurer                         2.16                     $0.00        95            04/18/2017                               $365.20                           $124.96     163
  174   Wisconsin: City of Brookfield                                                                                                                          $1,737.38                         $1,563.06     264
  175   Wisconsin: City of Madison Treasurer                                                              346           11/13/2017                             $1,562.96                         $1,172.22      98
  176   Wisconsin: City of LaCrosse                                                                                                                              $681.57                           $511.18     105
  177   Wisconsin: City of Eau Claire                                                                                                                            $508.12                           $359.92     104
  178   Wisconsin: Brown County Treasurer                                                                                                                      $1,576.00                         $1,182.00     106
  179   Wisconsin: City of Wausau                                                                                                                                $192.36                           $144.27      51
  180   Wisconsin: Town of Grand Chute                                                                                                                           $169.17                           $126.88      47
  181   Wisconsin: Village of Greendale, Milwaukee City                                                                                                          $443.96                           $332.97     48




                                                                                                                                                               Doc 646
  182   Wisconsin: Village of Ashwaubenon, Green Bay                                                                                                           $1,607.52                         $1,205.64     106
  183   Wisconsin: Fond Du Lac County Treasurer                                                                                                                  $612.65                          $459.49
  184   Wisconsin: City of Janesville                                                                                                                            $397.04                          $297.78      46
  185   West Virginia: Wood County Treasurer                                                                                                                   $1,063.30                           $797.48     183
  186   West Virginia: Monongalia County Treasurer                                                                                                               $556.81                           $278.41     183
  187   Wyoming: Natrona County Treasurer                           2.184                    $0.00        12            03/13/2017                               $224.72                           $168.54     128




                                                                                                                                           Document
                                                                                                                                           Filed 04/11/18 Entered 04/11/18 10:07:26
  188   Wyoming: Larimore County Treasurer                                                                                                                       $354.07                           $265.55     129
MISC.
  189   American Solutions for Business                             3.39                                  267           05/18/2017                              $6,280.15                        $6,280.15
  190   Anderson Bottrell Sanden & Thompson                         3.45                  $292.50                                                                                                 $292.50
  191   BBC Apparel Group, LLC c/o Rosenthal & Rosenthal, Inc.      3.308               $63,869.33        137           05/08/2017                       $80,536.85                             $16,667.52
  192   Bottrell Family Investments, LP                                                               304 and 341        6/30/2017                $215,328.92                                  $215,328.92
                                                                                                                          amended




                                                                                                                                                         Page 67 of 69
                                                                                                                           10/4/17
  193   Bottrell Family Investments, LP                                                                   285           06/26/2017                        $3,588.40                              $3,588.40
  194   Contempo Limited                                            3.152               $22,032.05    37 and 340        03/28/2017                       $23,519.19                              $1,487.14
  195   Diamond B Companies, Inc.                                   3.174                                 280           06/26/2017                        $2,082.25                              $2,082.25
  196   Euler Hermes N.A. (Aimee Lynn)                              3.42                 $5,285.53        330           07/19/2017                        $5,412.00                                $126.47
        Euler Hermes N. A. Agent for Active USA Inc. Claim          3.19                 $2,825.04        45            03/31/2017                        $3,060.00                               $234.96
  197   000409289
  198   General Information Services                                3.23                 $3,559.00        168           05/12/2017                  $3,615.00                                       $56.00
  199   GreatAmerica Financial Services Corporation                                                       221           05/26/2017                $330,298.54                                  $330,298.54
  200   Guru Knits, Inc.                                            3.248                $1,212.75        306           06/30/2017                 $17,013.00                                   $17,013.00
  201   H. E. Neumann Company                                       3.249                  $196.10        322           07/06/2017                    $832.10                                      $636.00
  202   JC Security LLC                                             3.289                  $165.90        219           05/25/2017                    $717.15                                      $551.25
  203   Jenna Barton                                                3.292               $18,000.00                                                                                              $18,000.00
  204   Jiangsu Guotai Huasheng Industrial Co., Ltd.                3.296               $95,044.10        206           05/19/2017                       $95,206.10                                $162.00




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                                                                      Class 4 ‐ Post‐Effective Date Unsecured Claims
                                                                        SCHEDULE E/F                           PROOF OF CLAIM
NO.                          CREDITOR NAME                                                SCHEDULED AMOUNT                      DATE POC FILED   CLAIM AMOUNT                                   DISPUTED CLAIM AMOUNT STORE NO.
                                                                         CREDITOR #                                 NO.
205   Jiangsu Guotai International Group Guomao Co., Ltd                   3.297                  $59,065.00       207             05/19/2017         $88,714.53                                          $29,649.53
206   Just Julez Inc.                                                      3.309                   $8,367.24        84             04/11/2017          $8,538.00                                             $170.76
207   Katherine Baber                                                                                              315             07/01/2017      UNLIQUIDATED
208   Liaoning Chengda Co Ltd.                                             3.129                 $275,351.35      56/333            3/30/2017;       $305,731.15                                         $305,731.15
                                                                                                                                  amended on
                                                                                                                                     7/31/2017
209   Lozier Corporation                                                   3.343                  $26,708.34        298            06/29/2017               $204,290.18                                  $189,779.62
210   Marco Technologies LLC                                          Schedule G ‐ 2.38                             269            05/22/2017               $125,042.55                                   $83,689.39




                                                                                                                                                                         Case 17-30112
211   Palen Kimball, LLC                                                   3.438                   $7,218.00        332              7/28/2017                $8,573.76                                    $1,355.76
212   Pomeroy IT Solutions Sales Company, Inc.                                                                      290            06/28/2017                $84,790.35                                   $84,790.35
213   Sales Floor Live LLC                                                 3.497                   $4,760.00        284            06/26/2017                 $4,760.00                                    $4,760.00
214   Sales Floor Live, LLC                                                                                         303            06/30/2017                 $7,495.70                                    $7,495.70
215   State of California Department of Industrial Relations ‐ Aide        3.541                  $74,135.00                                                                                              $74,153.00
      Guadalupe Martinez‐Miranda
      (Case No. 633‐125331/OV)
216   State of California Department of Industrial Relations ‐ Alba        3.543                 $152,164.00                                                                                             $152,164.00
      Luz Hernandez Lopez




                                                                                                                                                                         Doc 646
      (Case No. WC‐CM‐182134)
217   State of California Department of Industrial Relations ‐ Diego       3.547                 $181,831.40                                                                                             $181,831.40
      Perez‐Meza
      (Case No. WC‐CM‐157416)
218   State of California Department of Industrial Relations ‐             3.542                  $83,738.50                                                                                              $83,738.50
      Gabriel Catalan Vargas




                                                                                                                                                     Document
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      (Case No. WC‐CM‐208859)
219   State of California Department of Industrial Relations ‐ Gloria      3.552                  $70,917.50                                                                                              $70,917.50
      Cendejas De Cachu
      (Case No. WC‐CM‐183664)
220   State of California Department of Industrial Relations ‐ Isabel      3.556                  $44,070.76                                                                                              $44,070.76
      Valazquez‐Guerra (Case No. WC‐CM‐158918)
221   State of California Department of Industrial Relations ‐ Ismael      3.554                 $105,470.00                                                                                             $105,470.00




                                                                                                                                                                   Page 68 of 69
      Veliz‐Herrera
      (Case No. WC‐CM‐156085)
222   State of California Department of Industrial Relations ‐ Jose        3.557                 $189,190.50                                                                                             $189,190.50
      Miguel Rodriguez (Case No. WC‐CM‐159253)
223   State of California Department of Industrial Relations ‐ Josue       3.548                 $114,149.50                                                                                             $114,149.50
      Garcia‐Cruz (Case No. WC‐CM‐156087)
224   State of California Department of Industrial Relations ‐             3.553                  $77,389.00                                                                                              $77,389.00
      Justina Cortes Reyna
      (Case No. WC‐CM‐159267)
225   State of California Department of Industrial Relations ‐             3.550                 $105,470.00                                                                                             $105,470.00
      Lucitana Chavac
      (Case No. WC‐CM‐156084)




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                                                                        Class 4 ‐ Post‐Effective Date Unsecured Claims
                                                                        SCHEDULE E/F                        PROOF OF CLAIM
   NO.                          CREDITOR NAME                                          SCHEDULED AMOUNT                      DATE POC FILED   CLAIM AMOUNT                                   DISPUTED CLAIM AMOUNT STORE NO.
                                                                         CREDITOR #                              NO.
  226    State of California Department of Industrial Relations ‐          3.544               $71,201.00                                                                                              $71,201.00
         Magdalena Antonio
         (Case No. WC‐CM‐159398)
   227 State of California Department of Industrial Relations ‐            3.546               $99,131.50                                                                                              $99,131.50
         Magdalena Solis
         (Case No. WC‐CM‐157222)
   228 State of California Department of Industrial Relations ‐            3.555               $61,017.00                                                                                              $61,017.00
         Manuel Demetrio Sosa




                                                                                                                                                                      Case 17-30112
         (Case No. WC‐CM‐184641)
   229 State of California Department of Industrial Relations ‐ Maria      3.545               $69,132.00                                                                                              $69,123.00
         de Monserrat Leyva‐Gonzalez
         (Case No. WC‐CM‐159228)
   230 State of California Department of Industrial Relations ‐            3.551              $201,552.50                                                                                             $201,552.50
         Miriam Perez
         (Case No. WC‐CM‐156086)
   231 State of California Department of Industrial Relations ‐            3.549               $38,816.40                                                                                              $38,816.40
         Patricia Gomez‐Arellano




                                                                                                                                                                      Doc 646
         (Case No. WC‐CM‐158973)
   232 TGC, LP                                                             D 2.1            $5,248,777.43        281            6/26/2017        $5,248,777.43                                      $5,248,777.43
   233 The CIT Group/Commercial Services, Inc.                                                                   38            03/29/2017         $155,608.85                                          $17,409.90
LATE OR DUPLICATIVE
   234 Quincy Mall Inc.                                                    2.1*                     $0.00         34            3/28/2017            $8,856.35                                          $8,856.35     147
   235 Cheryl Maxwell                                                      3.1                                   338           08/25/2017              $58.76                                              $58.76




                                                                                                                                                  Document
                                                                                                                                                  Filed 04/11/18 Entered 04/11/18 10:07:26
   236 Guru Knits, Inc.                                                                                          308           07/03/2017           $17,013.00                                         $17,013.00
   237 Lindsay Doyle                                                        3.1                                  342           10/12/2017              $200.00                                            $200.00
   238 Mary Jo Crandell                                                     3.1                                  355            1/16/2018               $32.22                                             $32.22
   239 Melissa Clement                                                      3.1                                  331           07/24/2017              $25.00                                              $25.00
   240 Nellie Ouellet                                                       3.1                                  339            9/18/2017              $100.00                                            $100.00
   241 Project 28 Clothing LLC                                             3.467                $1,896.00         67           04/07/2017            $3,577.50                                          $1,681.50
   242 Planet Gold Clothing Co, Inc. (Golden Touch)                        3.237                                 328           07/18/2017            $1,782.00                                          $1,782.00




                                                                                                                                                                Page 69 of 69
   243 Ranae Wiggins                                                        3.1                                  354             1/4/2018              $100.00                                            $100.00
   244 Trina Anderson                                                       3.1                                  356             2/6/2018               $50.00                                             $50.00
   245 Jaclyn Mize                                                          3.1                                  357            1/22/2018              $150.00                                            $150.00
   246 Patricia Ann Draper                                                  3.1                                  358            1/23/2018               $50.00                                             $50.00
   247 Jessica Wegner                                                       3.1                                  359            2/13/2018              $150.00                                            $150.00
   248 Jennifer Brettschneider                                              3.1                                  360            2/16/2018               $52.08                                             $52.08
 TOTALS:                                                                                    $8,602,433.04                                       $20,552,157.76                                     $20,920,219.13




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